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                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY

                                                :
   STATE OF MINNESOTA, BY ITS                   :   Civil Action No.: 18-cv-14999-BRM-LHG
   ATTORNEY GENERAL, KEITH                      :
   ELLISON,                                     :
                                                :
                           Plaintiff,           :
                                                :       FIRST AMENDED COMPLAINT
                  v.                            :
                                                :
   SANOFI-AVENTIS U.S. LLC, NOVO                :
   NORDISK, INC., AND ELI LILLY AND             :
   CO.,                                         :
                                                :
                           Defendants.          :
                                                :

        The State of Minnesota, by its Attorney General, Keith Ellison (“State” or “AGO”), for

 its Complaint against Sanofi-Aventis U.S. LLC, Novo Nordisk, Inc., and Eli Lilly and Co.

 (collectively “Defendants”), alleges as follows:

                                         INTRODUCTION

        1.      Hundreds of thousands of Minnesota residents live with diabetes. For many of

 them, analog insulin products are their best hope for treating this chronic disease. These patients

 spend significant sums of money to purchase this medication.
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        2.      Defendants are three of the largest insulin manufacturers in the world. They set

 two different prices for their analog insulin products. The first, often colloquially referred to as

 Defendants’ “benchmark” or “list” price, is directly set by Defendants and published by a

 number of price reporting services. The second, typically labeled the “net” price, is the actual

 price that Defendants negotiate with pharmacy benefit managers (“PBMs”), which is confidential

 and not publicly disclosed. PBMs are companies that manage prescription drug benefits for

 health plans and self-insured employers. Defendants negotiate the net price by offering rebates

 to PBMs in exchange for the PBM covering the drug on behalf of health plan members.

 Ostensibly, PBMs are supposed to pass on these rebates to their health plan clients, which then

 use them to lower their health plan members’ out-of-pocket expenses. In theory, the rebates

 Defendants pay PBMs should thus result in lower health care costs.

        3.      In reality, however, the opposite has happened. In recent years, the price of

 analog insulin has skyrocketed. Rather than compete to offer the lowest prices for their products,

 as one would expect in a competitive market, Defendants compete to offer the largest rebates to

 PBMs. In order to do so while still maintaining their profit margins, Defendants publish and

 disseminate deceptively and misleadingly inflated benchmark prices for their products, which

 allow them to offer higher rebates to PBMs while still earning approximately the same, secret net

 price that they previously received. Defendants do not disclose to the public the amount they

 pay to PBMs in rebates, or the fact that their benchmark prices are no longer accurate

 representations of the actual price Defendants receive for analog insulin. The difference between

 Defendants’ deceptive benchmark prices and the net price that they actually receive for their

 insulin is often colloquially referred to as the “spread” between the prices.




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        4.      Defendants have harmed those whose payments for insulin are based on

 Defendants’ deceptive, misleading, and misrepresentative benchmark prices.          This includes

 Minnesota residents without insurance, Minnesota residents with high-deductible health plans,

 Minnesota residents who pay coinsurance, Minnesota Medicare beneficiaries, and the Minnesota

 Department of Corrections, all of whom have paid more for a life-saving medication because of

 Defendants’ conduct. The State brings this action to enjoin Defendants from continuing their

 deceptive drug pricing practices, to collect monetary relief for its residents and the Minnesota

 Department of Corrections, and to impose civil penalties against Defendants.

                                            PARTIES

        5.      Keith Ellison, Attorney General of the State of Minnesota, is authorized under

 Minnesota Statutes chapter 8; the Uniform Deceptive Trade Practices Act, Minnesota

 Statutes sections 325D.43–.48; the Consumer Fraud Act, Minnesota Statutes sections

 325F.68-.694; the False Statement in Advertising Act, Minnesota Statutes section 325F.67; and

 has common law authority, including parens patriae authority, to bring this action to enforce

 Minnesota’s laws, to vindicate the State’s sovereign and quasi-sovereign interests in the integrity

 of its marketplace and the health and economic well-being of its residents, and to remediate all

 harm arising out of—and provide full relief for—violations of Minnesota and federal law.

        6.      Novo Nordisk, Inc. (“Novo Nordisk”) is a Delaware corporation and has a

 principal place of business at 800 Scudders Mill Road, Plainsboro, New Jersey 08536.

        7.      Sanofi-Aventis U.S. LLC (“Sanofi”) is a Delaware limited liability corporation

 with a principal place of business at 55 Corporate Drive, Bridgewater, New Jersey 08807.

        8.      Eli Lilly and Company (“Eli Lilly”) is an Indiana corporation and has a principal

 place of business at Lilly Corporate Center, Indianapolis, Indiana 46285.




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                                      JURISDICTION AND VENUE

         9.       This Court’s jurisdiction arises under the Racketeer Influenced and Corrupt

 Organizations Act, 18 U.S.C. §§ 1962 and 1964, and 28 U.S.C. §§ 1331 and 1337.

         10.      Defendants all transact substantial business in the District of New Jersey and/or

 are found in the District of New Jersey and are thus subject to personal jurisdiction therein.

 Venue therefore is proper in this District under 28 U.S.C. § 1391(b) and (c).

         11.      Pursuant to 28 U.S.C. § 1367, the Court has supplemental jurisdiction over the

 State’s claims brought under Minn. Stat. §§ 325D.44, 325F.67, and 325F.69, as well as its claim

 brought under Minnesota common law.

                                       FACTUAL BACKGROUND

 THE IMPACT OF DIABETES.

         12.      According to the American Diabetes Association, approximately 445,000 people,

 or nearly 10 percent of Minnesota residents, have diabetes. 1 Over 1.4 million additional adults—

 more than one-third of the adult population in Minnesota—have blood glucose levels that are

 higher than normal, but not high enough to be diagnosed as diabetes. 2 Every year, an additional

 19,000 new cases of diabetes are diagnosed in Minnesota. 3

         13.      Patients diagnosed with diabetes must cope with a rigorous and invasive treatment

 schedule. Many have to undergo daily injection therapy, constant monitoring of their blood

 glucose levels, and adherence to a strict diet.




 1
       The Burden of Diabetes in Minnesota, American Diabetes Association, available at
 http://main.diabetes.org/dorg/assets/pdfs/advocacy/state-fact-sheets/Minnesota2018.pdf (last accessed October 10,
 2018).
 2
   Id.
 3
   Id.



                                                        4
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        14.     Insulin treatments are a necessary part of life for those who have diabetes. Insulin

 is a hormone usually made by the pancreas that allows a person’s body to process glucose from

 carbohydrates in food. Patients diagnosed with type 1 diabetes are unable to make insulin and

 require insulin injections to allow their bodies to process glucose. People with type 2 diabetes do

 not respond well or are resistant to insulin. They often require insulin shots to help process sugar

 and prevent long-term complications from diabetes.

        15.     Insulin was first discovered in 1922, when researchers used insulin from animals

 to provide treatment to diabetic patients. To ensure insulin would be open and available to the

 public, the scientists who created this method for insulin treatments sold the original patent for

 $1 to the University of Toronto.

        16.     Over time, scientists discovered ways to produce human insulin as well as

 treatments that would last longer and improve the dosage strength of their products. By the mid-

 1990s, scientists had created man-made, or analog, insulin, which could be adjusted to allow for

 different absorption times and more effective management of blood sugar. Analog insulins now

 dominate the market and are the preferred method of treatment for both type 1 and type 2

 diabetes patients.

        17.     There are currently both rapid-acting and long-acting forms of analog insulin

 available. Rapid-acting insulin starts working approximately 15 minutes after injection and

 continues to work for two to four more hours. Patients normally take rapid-acting insulin before

 a meal, and usually in conjunction with long-acting insulin. Current rapid-acting analog insulin

 products include Humalog, manufactured by Eli Lilly; NovoLog and Fiasp, manufactured by

 Novo Nordisk; and Apidra, manufactured by Sanofi. All of these insulin products are branded

 drugs. Rapid-acting analogues make up approximately 35 percent of the insulin market.




                                                  5
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        18.     Long-acting insulin begins working several hours after injection and lasts

 approximately 24 hours. Until recently, only two long-acting insulin analog products were

 available: Lantus, manufactured by Sanofi; and Levemir, manufactured by Novo Nordisk. Over

 the last two years, however, Sanofi has released a new product, Toujeo, and Novo Nordisk has

 also released a product, Tresiba. Eli Lilly has also released Basaglar, a follow-on biologic of

 Lantus. All of these insulin products are likewise branded drugs. Long-acting insulin analog

 products make up approximately 50 percent of the insulin market.

        19.     Because of the deceptive, misleading, and misrepresentative benchmark prices

 that Defendants have published, many patients now have to deal with the exorbitant costs of their

 insulin. Since 2008, Defendants have increased the benchmark price of their analog insulin

 products at least 10 times. The benchmark price of a 10-milliliter vial of Lantus, which was

 $99.35 in 2010, is now $269.54. The benchmark price of a vial of Levemir, which was $113.81

 in 2008, is now $293.75.

        20.     The price of rapid-acting insulins has also increased dramatically.           The

 benchmark price of a vial of the most popular rapid-acting insulin, NovoLog, was $132.74 in

 2008. Today, it lists for $289.36. Similarly, a vial of Humalog, priced at $122.60 in 2011, now

 has a benchmark price of $274.70. The benchmark price of Apidra, another rapid-acting insulin,

 was $93.05 in 2010. It now is listed at $269.91.

        21.     The following charts show the manner in which Defendants’ benchmark prices

 have increased over the past several years:




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 according to a report from the Minnesota Department of Health. 4              Total diabetes-related

 expenses in Minnesota now exceed $4 billion on an annual basis.

         24.    Pharmaceutical costs are largely to blame for the spike in diabetes-related

 expenses. Per-person medical costs related to the treatment of diabetes in Minnesota actually

 declined more than 14% between 2009 and 2014, according to a Minnesota Department of

 Health report. 5 During the same time period, however, per-person pharmacy costs related to the

 treatment of diabetes in Minnesota residents increased more than 36%, with the costs for those

 between the ages of 18 and 64 increasing more than 52%. 6 Total diabetes-related pharmacy

 spending in Minnesota is projected to increase an additional 30% by the year 2023. 7

         25.    Some patients are unable to access insulin products because of high insulin prices.

 Some simply cannot afford to keep up with their treatment. One Minnesota physician reported

 that he now spends more time discussing with his patients what insulin they can afford, rather

 than determining what insulin will best treat the patient. To help patients cope with high prices,

 some doctors now prescribe their patients older forms of insulin, which are not as effective.

 Other patients forgo insulin treatment.

         26.    Patients who do not take their prescribed dose of insulin face increased risks of

 kidney dialysis, heart attacks, nerve damage, amputation, and ketoacidosis. They end up with

 more doctor visits, hospitalizations, and medications. This increases their medical expenses even

 more.




 4
    Minnesota Department of Health, Treated Chronic Disease Costs in Minnesota – a Look Back and a Look
 Forward (Dec. 2017), available at http://www health.state.mn.us/divs/hpsc/hep/chronicdisease.pdf.
 5
   Id.
 6
   Id.
 7
   Id.



                                                   9
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  MANY MINNESOTA PATIENTS STILL PAY FOR THE DRUGS THEY NEED OUT-OF-POCKET.

         27.     Pharmacies distribute drugs to patients.    If the patient does not have health

  insurance, the patient may be required to pay the entire price of the drug out-of-pocket.

  Typically, pharmacies refer to the price they charge cash-paying customers as the “Usual and

  Customary Charge,” or more informally their “cash price.” A pharmacy’s cash price for insulin

  is directly connected to Defendants’ benchmark prices for insulin, as discussed further below.

         28.     If the patient has health insurance, both the patient and the health plan may

  partially reimburse the pharmacy for the drug. The patient’s share of the reimbursement may be

  either a flat fee, known as a copay, or a percentage of the drug’s price, known as coinsurance.

  The health plan’s share of the fee paid to the pharmacy is based on its contract with the

  pharmacy, or its PBM’s contract with the pharmacy. Patients indirectly subsidize the health

  plan’s share of the fee by paying monthly premiums to the health plan in exchange for coverage.

         29.     Many patients are covered by health plans with an annual deductible. Patients

  with such a plan do not receive any contribution toward pharmaceutical costs from their health

  plan until they have paid the amount of their deductible out-of-pocket. For example, a patient

  with a $500 deductible must pay his or her first $500 worth of medical expenses before the

  health plan provides coverage. Once the patient has satisfied the deductible, the health plan will

  generally pay the remainder of the consumer’s medical costs, minus the copay or coinsurance

  amount.

         30.     As health insurance costs increase, employers and individuals have turned

  increasingly to high-deductible plans as a way to reduce the premiums they must pay. IRS

  regulations define a high deductible health plan as any plan with a deductible of at least $1,350




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  for an individual or $2,700 for a family. More than 16% of Minnesota residents are now covered

  by such a plan, according to a survey by America’s Health Insurance Plans.

  DEFENDANTS PUBLISH PRICES FOR THEIR INSULIN PRODUCTS THAT THEY KNOW WILL BE
  USED AS BENCHMARKS TO ESTABLISH THE PRICES THAT ARE SUBSEQUENTLY CHARGED TO
  PATIENTS.

         31.     Drug manufacturers, including Defendants, generally directly set a price for their

  products, referred to as the Wholesale Acquisition Cost (“WAC”). WAC is the approximate

  price at which a manufacturer sells a drug to a wholesale drug distributor. Importantly, however,

  WAC does not include any rebates or other discounts the manufacturer provides to a PBM

  regarding the drug, which reduces the actual price a manufacturer receives for the drug.

  Wholesale drug distributors typically mark-up a manufacturer’s WAC before they sell the

  products to pharmacies.

         32.      The manufacturer-set WAC is generally used to establish a product’s Average

  Wholesale Price (“AWP”). AWP is either also directly set by the manufacturer, or is established

  by adding a certain mark-up to the manufacturer’s WAC price, usually around 20%. In other

  words, AWP is merely a mathematical function of WAC and a manufacturer setting WAC also

  effectively sets AWP. WAC/AWP are often colloquially referred to as drug manufacturers’

  “list” or “benchmark” prices.

         33.     At the time of its inception, AWP was intended to represent the average price at

  which drug wholesalers sell medications to pharmacies, physicians, and other customers. Today,

  AWP is used as a benchmark for calculating the price at which health plans (or their PBMs on

  their behalf) reimburse pharmacies for prescriptions that they fill for plan members. Generally,

  for brand-name products like Defendants’ insulin, PBMs will reimburse pharmacies the AWP of

  a product, minus a certain percent, plus a dispensing fee.




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          34.    Defendants disseminate and publish the benchmark prices they set for their

  products, including insulin, with a variety of reporting services for further public dissemination.

  These reporting services make no independent effort to verify the price that any entity actually

  receives for the drugs, and instead rely solely on Defendants’ representations about the price they

  receive. Defendants know, however, that many other entities rely on the publications containing

  the benchmark prices they have disseminated to reporting services to set their own prices.

  Indeed, many PBMs expressly rely on these published benchmark prices to determine the

  reimbursement rates that they pay to pharmacies.

          35.    Defendants further publish their benchmark prices in various promotional and

  marketing materials, in addition to with price reporting services.

          36.    Defendants thus set and publicly disseminate their list prices knowing that these

  prices directly operate as a benchmark that health plans/PBMs, wholesalers, and pharmacies will

  use to set the prices that they charge (or rates they reimburse) when a Minnesota patient

  purchases Defendants’ insulin. Accordingly, if Defendants raise their benchmark prices they

  know this will directly cause the prices paid by certain Minnesota patients and others who

  purchase insulin out-of-pocket to increase, as well as causing coinsurance payments to increase.

  This remains true regardless of any mark ups that may be added to Defendants’ benchmark

  prices by wholesalers or pharmacies, or any insurer’s alteration of coinsurance amounts, because

  Defendants’ benchmark prices are the lodestar for the price charged during all subsequent sales

  of insulin.




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  PBMS LEVERAGE THEIR ABILITY TO DRIVE DEMAND FOR COMPETING DRUGS TO EXTRACT
  REBATES FROM DEFENDANTS THAT REDUCE THE PRICE DEFENDANTS’ RECEIVE FOR THEIR
  INSULIN.

         37.     Most health plans hire PBMs to manage their members’ pharmaceutical benefits.

  PBMs create contractual networks of pharmacies on behalf of their health plan clients and

  negotiate the rates at which the health plans reimburse pharmacies in the PBMs’ networks for the

  prescriptions the pharmacies fill.

         38.     Three large PBMs control most of the market: Express Scripts, Inc. (“Express

  Scripts”), a Delaware corporation with its principal place of business located at 1 Express Way,

  St. Louis, Missouri, 63121, OptumRx, Inc. (“OptumRx”), a California Company with a principal

  place of business located at 2300 Main Street, Irvine, California, 92614, and CVS Health

  Corporation (“CVS”), a Delaware corporation with its principal place of business located at One

  CVS Drive, Woonsocket, Rhode Island, 02895. In Minnesota, Prime Therapeutics LLC (“Prime

  Therapeutics”), a Delaware Limited Liability Corporation with a principal place of business

  located at 1305 Corporate Center Drive, Eagan, Minnesota 55121, is owned in part by Blue

  Cross and Blue Shield of Minnesota and also serves a substantial portion of the market.

         39.     PBMs also create drug “formularies” for their health plan clients.            A drug

  formulary is industry jargon for a list of prescription drugs for which the health plan will

  reimburse pharmacies on behalf of the plan’s members. If a drug is not included on a formulary,

  the health plan generally will not cover it. If a doctor prescribes a drug to a patient that is not on

  the formulary, the patient must generally pay the entire cost of the drug out-of-pocket.

         40.     For many years, PBMs included nearly all available drugs in their formularies.

  Recently, PBMs began to                                          by

                                                                            . PBMs began




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                                                                                   to ostensibly

                                                   . 8 Through such conduct, PBMs have thus become

  important drivers of demand for competing drugs made by different manufacturers—including

  Defendants and their insulin products—by giving a particular manufacturer’s drug favorable (or

  unfavorable) treatment on their formularies.

          41.     Today, this has led to manufacturers obtaining placement of their products on

  PBMs’ formularies by paying rebates to PBMs in exchange for favorable formulary treatment.

  These rebates are typically calculated by taking a percentage of the drug’s benchmark price and

  multiplying it by the number of health plan members who utilized that drug in a given time

  period. So, for example, if a drug had a benchmark price of $100 and the manufacturer agreed to

  a 10% rebate, the manufacturer would pay the PBM $10 for every health plan member who

  purchased the drug during the relevant time period. PBMs collect these rebates, retain all or a

  portion of them as compensation for their services, and distribute the remainder, if any, to their

  health plan clients. PBMs claim to lower their health plan clients’ prescription drug costs by

  negotiating these rebates.

          42.     Manufacturers usually offer PBMs larger rebates for giving their product

  preferred status over a competing one. Preferred status often means a health plan’s member will

  pay less out-of-pocket for one drug compared to another competing drug. In some cases, it may

  mean that the PBM will exclude a competing drug from its formulary altogether and only

  provide coverage for the preferred product. The greater the preference the PBM gives a

  particular drug on its formulary, the more the manufacturer will pay the PBM in rebates.

  8
    Since 2014, the number of drugs that PBMs have excluded from their formularies has increased by nearly 65%.
  Formulary exclusions rising for drug makers, Decision Resources Group, available at https://
  decisionresourcesgroup.com/drg-blog/health-reform/formulary-exclusions-rising-drug-makers/ (June 10, 2016).
  From              , the total rebates secured by one large PBM,  , increased from            to            .



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  Because of this dynamic, PBMs generally make formulary decisions—and thus drive demand for

  a drug among the health plan members that the PBM services—based on which manufacturer

  offers the most favorable rebate terms to the PBM.

          43.     Neither manufacturers or PBMs disclose the amount or nature of the rebates paid

  for favorable formulary placement, including to wholesalers and pharmacies. They closely guard

  this information and consider it to be a “trade secret.” Health plans know the price pharmacies

  are reimbursed for a given drug, as well as the amount of the rebate the PBM passes along to the

  health plan for the drug, but they often do not know the total rebate for the drug that the PBM is

  paid by a manufacturer. This is because PBMs generally do not disclose the portion of the rebate

  that they retain before passing on the balance (if they pass on any balance at all) to their health

  plan clients.

          44.     Given these circumstances, neither health plans or the public knows the true

  prices that PBMs have negotiated with pharmacies when a health plan member purchases a

  manufacturer’s drug. Similarly, after taking into account the rebates they pay, the actual or “net”

  sales price a manufacturer receives when selling a drug is concealed from and not known by

  wholesalers, pharmacies, health plans, or the public. Thus, the only information regarding

  Defendants’ insulin prices that are publicly available to patients are Defendants’ published

  benchmark prices.

  THE REBATES DEFENDANTS PAY TO PBMS BASED ON SALES                 OF   THEIR INSULIN PRODUCTS
  HAVE INCREASED DRAMATICALLY OVER THE YEARS.

          45.     The complex system by which health plans reimburse pharmacies through their

  PBMs and also receive a portion of any manufacturer rebate through their PBMs—with little if

  any transparency into manufacturer side of these arrangements—has resulted in a system that

  Defendants have exploited for their benefit.



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         46.     Defendants’ analog insulin products are largely interchangeable and PBMs do not

  have to include each analog insulin product in their formularies. Typically, to satisfy their health

  plan clients’ needs, PBMs must include one long-acting insulin (until recently, either Sanofi’s

  Lantus or Novo Nordisk’s Levemir) and one rapid-acting insulin (Sanofi’s Apidra, Novo

  Nordisk’s NovoLog or Fiasp, or Eli Lilly’s Humalog).

         47.     It is important to Defendants that their drugs be included on PBMs’ formularies.

  Patients are unlikely to use Defendants’ products if their health plan does not cover it.

  Defendants sell more, and earn more, when PBMs list Defendants’ insulin products on the PBM

  formularies.        , for example, calculated that it would                       if

                            over                       . As a result, Defendants have an incentive to

  offer the best deals to PBMs for favorable formulary placements. The current practice of

  downstream prices being set based directly on Defendants’ published benchmark prices—which

  Defendants have dramatically increased to enable them to offer larger rebates to PBMs off of

  these prices without lowering their net price, as described further below—further incentivizes

  Defendants and PBMs to perpetuate these pricing practices.

         48.     Defendants know that PBM revenue is based in part on the PBMs retaining a

  portion of the rebates that drug manufacturers pay PBMs. As a result, Defendants further know

  that PBMs are likely to favor products on their formularies that will earn them the greatest

  rebates. Defendants thus focus their marketing and negotiating efforts with PBMs not on the

  benchmark price that they set for their insulin products, but on the rebate—or “spread” from

  Defendants’ benchmark price—that the PBM can earn in exchange for including Defendants’

  products in the PBM’s formularies. As a result, the rebates Defendants have offered have

  increased dramatically over the past number of years. For example:




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            49.              In an                             presentation regarding                                 bid for

                                    ,           employees                                                             recognized the

  risk that                             would                                                                                          for

                    . To                             and                     ,             decided to

  for its                                                  products, including offering

            .

            50.             In a          agreement signed by

                ,            agreed to pay                                                                               , so long as

  certain formulary-related and other criteria were satisfied.                                         subsequently

            that it paid to                                    for                   in           .

            51.             Similarly, in a                agreement,               agreed to pay

                    only                                             . But by        ,                had                             that

  it paid to                                               in its                                                       to

       .

            52.                             , in a                      agreement with                      , agreed to pay a rebates

  of                       on its                                            , with the                                                 to

                                                                                                                  .             ,

                    had                                    it paid to                for                                     under the

  contract to                                   .

            53.             Similarly,                              agreed to pay                                                   on its

                                   in a             agreement, with the

                                                                         . In that same agreement,                                    also

  agreed to pay                                      if                                  in its                   and           if




                                                                        17
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                                                                          .   In a            amendment to that

  contract,                  agreed to increase the rebates it paid

  product and                      .

         54.                   rebate agreement,

  agreed to pay                         to                     in exchange for

                     . By         , in an agreement signed by                                             agreed

  to                                                                          if it was

                   on                   formulary for                                     .

         55.                 also agreed, in a          rebate agreement, to pay                               for

  its           product to                         for its                                      , provided those

                                                             . By     ,              had

                                to as much as       .

  DEFENDANTS MANIPULATE THE PRICE OF THEIR INSULIN PRODUCTS SO IT                                IS   EASIER   FOR
  THEM TO OFFER PBMS LARGER REBATES WITHOUT SACRIFICING PROFITS.

         56.      The above rebate arrangements are not unusual. They are merely examples of the

  extent to which Defendants rely on rebates to secure preferred formulary placements with major

  PBMs for their insulin products. Defendants have recognized, however, that they can exploit

  this dynamic to both obtain market share while also avoiding lowering the net prices they receive

  for their insulin. Defendants know that when the benchmark price of their products increase,

  they can offer a larger rebate to the PBM, which allows them to maintain their desired formulary

  placements with PBMs while continuing to receive the same net price for a product as they did

  previously.




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          57.       For example,          increased the price of                   by           and

        by           in                   .                , in an internal presentation regarding this

  decision, that a                                      because

                    in      . Essentially,           concluded that a                      would

                                                             .

          58.       In response to scrutiny surrounding its drug prices, Novo Nordisk acknowledged

  that it inflates its benchmark prices to protect its revenue. In a blog post on its website in

  November 2016, Novo Nordisk stated:

                    For Novo Nordisk, those price increases were our response to changes in
                    the healthcare system, including a greater focus on cost savings, and trying
                    to keep up with inflation. PBMs and payers have been asking for greater
                    savings – as they should. However, as the rebates, discounts and price
                    concessions got steeper, we were losing considerable revenue – revenue
                    we use for R&D, sales and marketing, education, disease awareness
                    activities and medical information support. So, we would continue to
                    increase the list in an attempt to offset the increased rebates, discounts
                    and price concessions to maintain a profitable and sustainable business.
                    We also monitored market conditions to ensure our prices were
                    competitive with other medicines as part of our business model. 9

          59.       Likewise, Eli Lilly has also admitted that it increases its benchmark prices

  because “PBMs demand higher rebates in exchange for including the drug on their preferred-

  drug lists.” 10

          60.       Despite these acknowledgements, no Defendant has publicly disclosed the amount

  it pays in rebates, or the magnitude by which their benchmark price differs from the actual, net

  price that Defendants receive for their insulin products after accounting for rebates paid to




  9
     Our perspectives on pricing and affordability, Novo Nordisk US, (Nov. 30, 2016), http://www.novonordisk-
  us.com/blog/perspectives/2016/november/our_perspectives.html.
  10
     Denise Roland & Peter Loftus, Middlemen Fuel Insulin Price Rise, Wall St. J., Oct. 10, 2016, at B1.



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  PBMs. Defendants continue to publish only their deceptive, misleading, and misrepresentative

  benchmark prices.

         61.      By way of example, the charts below detail recent adjustments that Defendants

  have made to WAC for some of their analog insulin products.             In each case, Defendants

  published or knew that their new WAC would be published and disseminated publicly in a

  variety of price reporting services, either on the date they changed the WAC or shortly thereafter.

  In each case, Defendants did not disclose that they had negotiated a dramatically different and

  lower net price with the PBMs.

   Novo Nordisk       NovoLog 100 Units/mL Vial         NovoLog Flexpen Syringe 100 Units/Ml

      7/31/2012                 $132.40                                   $255.74
     12/20/2012                 $141.67                                   $273.64
      7/19/2013                 $153.00                                   $295.53
      12/3/2013                 $168.15                                   $324.80
      5/28/2014                 $184.85                                   $357.10
     11/18/2014                 $203.24                                   $392.63
      5/19/2015                 $223.45                                   $431.60
     11/25/2015                 $236.70                                   $457.10
      7/6/2016                  $255.40                                   $493.25
      2/23/2017                 $275.58                                   $532.22
      7/3/2018                  $289.36                                   $558.83


            Novo Nordisk                               Levemir 100 Units/mL Vial

               11/22/2011                                       $113.81
                4/4/2012                                        $120.64
               10/3/2012                                        $135.12
                5/3/2013                                        $148.49



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             8/27/2013                                 $166.42
            12/19/2013                                 $191.28
             5/31/2014                                 $222.08
            11/18/2014                                 $248.51
             8/20/2015                                 $269.00
             1/3/2018                                  $279.76
             7/3/2018                                  $293.75
             1/8/2019                                  $308.14


     Eli Lilly     HumaLog 100 Units/mL Vial        HumaLog KwikPen 100 Units/mL


    11/30/2011                $122.60                            $236.80
     7/11/2012                  $130                              $251
    12/28/2012                $140.40                            $271.10
     7/26/2013                $152.90                            $295.36
    12/12/2013                $167.70                            $323.95
     6/5/2014                 $184.30                            $356.10
    11/25/2014                $202.60                            $391.50
     5/29/2015                $222.70                            $430.20
     12/1/2015                  $237                             $457.65
     7/13/2016                $254.80                             $492
     5/2/2017                 $274.70                            $530.40


       Sanofi            Lantus 100 Units/mL Vial     Lantus SoloStar 100 Units/mL


     12/17/2010                   $99.35                          $191.96
     12/16/2011                  $114.51                          $205.40
      4/27/2012                  $122.14                          $211.56
      10/5/2012                  $131.79                          $228.27



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       4/26/2013                     $144.84                                $250.87
        8/2/2013                     $166.42                                $275.71
      12/13/2013                     $191.28                                $303.12
       5/30/2014                     $222.08                                $333.12
       11/7/2014                     $248.51                                $372.76
       9/29/2017                     $255.97                                $383.94
       4/13/2018                     $269.54                                $404.29
        1/4/2019                     $283.56                                $425.31


                 Sanofi                                 Apidra 100 Units/mL Vial

               12/17/2010                                          $93.05
               10/5/2012                                          $106.91
                4/5/2013                                          $120.80
                9/6/2013                                          $138.80
               12/13/2013                                         $156.76
               6/27/2014                                          $184.85
                1/9/2015                                          $203.15
               6/12/2015                                          $223.26
                1/8/2016                                          $236.21
               8/12/2016                                          $255.11
                1/5/2018                                          $269.91
                1/4/2019                                          $308.14

         62.       Defendants produce other variations of the above-referenced insulin products with

  their own unique National Drug Codes—as well as the insulin products Fiasp, Toujeo, Tresiba,

  and Basaglar that likewise have varying NDCs—all of which have seen similar increases in their

  benchmark price and/or reflect significant spreads between these products’ respective benchmark

  and actual price, and all of which are the subject of this complaint.




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         63.     Given Defendants’ publishing and public dissemination of their list prices, this is

  not merely a case of Defendants telling a potential buyer the price at which they are willing to

  sell their insulin products to that person. To the contrary, it is one were Defendants have falsely

  and deceptively represented to the patients, payers, and the public the price that they receive for

  their insulin products, and have done so knowing their misleadingly inflated pricing

  representations would be used as benchmarks to establish the price of subsequent sales of their

  insulin products.

         64.     PBMs do not mind that Defendants publish deceptive and misleading benchmark

  prices. In fact, their own revenues increase when Defendants do so. In         ,         conducted

  an analysis in which it concluded that PBMs would                                  and

  in                   if        were to

          . In addition, many PBMs also protect themselves from price increases by including

  price protection clauses in their rebate agreements with Defendants. These clauses provide that,

  should Defendants increase the benchmark price of their drug by more than a certain amount, a

  portion of that increase will be rebated back to PBMs.

         65.     As a result, when Defendants increase their benchmark prices, PBMs obtain

  greater rebates, a portion—or in some instances, all—of which they pocket as additional revenue.

  PBMs avoid scrutiny from their health plan clients because the PBMs can inform those clients

  that they have secured greater savings for the plans’ members. Because PBMs generally do not

  share with their health plan clients the total rebates they have received from manufacturers,

  health plans are unaware that the net price paid for Defendants’ insulin products has hardly

  changed.




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          66.     By publishing and disseminating deceptive and misleading benchmark prices,

  marketing to PBMs the rebate they will earn from the sale of their products, and concealing their

  net prices from the public, Defendants have created a marketplace where they do not have to

  compete with one another to set the lowest price. In fact, because Defendants compete to offer

  the largest rebates to PBMs, they monitor each other’s benchmark prices closely and often

  increase them in near perfect unison.                     , for example, acknowledged in an

                              meeting that it would                                        to

                 and                                                      .” Eli Lilly has also explained

  that Defendants need to monitor and match each other’s benchmark prices because they would

  otherwise be unable to offer the same rebates as their competitors. 11

          67.     Industry observers refer to this trend as “shadow pricing.” Defendants do this

  because they know that if a competitor raises its benchmark prices, it can obtain greater market

  share by offering larger rebates to PBMs from those prices. Defendants therefore match each

  other’s benchmark prices so they can continue competing to offer the largest rebates without

  affecting the net prices of their products. The following charts provide examples of how the

  benchmark prices of major rapid- and long-acting insulin products correlate.




  11
    Paul Barrett & Robert Langreth, The Crazy Math Behind Drug Prices, Bloomberg Businessweek, June 29, 2017,
  available at https://www.bloomberg.com/news/articles/2017-06-29/the-crazy-math-behind-drug-prices.



                                                      24
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  stated that                                     because                     would

                                            , which it concealed from the public. Sanofi’s former chief

  executive officer, Chris Viehbacher, also indicated, in an October 28, 2014 earnings call, that

  “pricing on a WAC basis” was “not so relevant” because it “largely followed what Levemir has

  done.” In addition, when asked whether shadow pricing was indicative of collusion among

  Defendants, Eli Lilly did not even claim to compete on benchmark prices. It instead insisted that

  it was “aggressively competing on net (or negotiated) price.” 12

          69.      Because of the deceptive pricing scheme that Defendants have perpetuated, the

  gap between their benchmark and net prices has skyrocketed. For example, between                           and

       , the difference, or “spread,” between the benchmark price and net price of

  increased from            to         . An independent analysis of the same product found that the

  spread between the benchmark price and the net price increased from 30% to 56% between 2011

  and 2014. 13 Likewise, an independent analysis conducted by Bloomberg found that between

  2009 and 2015, the difference between the benchmark price and net price of Lantus increased

  from 16.05% to 135.77%. 14 The same analysis also found that between 2009 and 2015, the

  spread between the benchmark price and net price of HumaLog increased from 23%to 66%.15

  Novo Nordisk has also admitted that the difference between its NovoLog benchmark and net

  prices has increased to more than 315% since NovoLog first entered the market. 16


  12
      CBS News, Lawsuit accuses makers of conspiring to hike insulin prices (Feb. 22, 2017), available at
  https://www.cbsnews.com/news/insulin-price-hike-lawsuit-accuses-drug-makers-of-conspiring/.
  13
     See Jeffrey Balin, et al., Global Pharma: Rising US Rebates Limit Margin Expansion, Credit Suisse, 23 (May 1,
  2015).
  14
      Decoding Big Pharma’s Secret Drug Pricing Practices, Robert Langreth, Michael Keller, and Christopher
  Cannon, available at https://www.bloomberg.com/graphics/2016-drug-prices/ (June 29, 2016).
  15
     Id.
  16
      Our perspectives on pricing and affordability, Novo Nordisk US, (Nov. 30, 2016), http://www.novonordisk-
  us.com/blog/perspectives/2016/november/our_perspectives.html.



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          70.     The end result: the benchmark prices that Defendants set and publish are now so

  removed from the actual, net prices that Defendants’ receive for their insulin that the they are no

  longer are an accurate approximation of this price, and are thus falsely, deceptively, and

  misleadingly inflated. In fact, the chief executive officer of Novo Nordisk now admits that the

  benchmark prices it sets are meant only to be the starting point for negotiations with PBMs and

  that “[i]t was never the intention that individual patients should end up paying the list price.” 17

  DEFENDANTS’ DECEPTIVE AND MISLEADING BENCHMARK PRICES HARM MOST THOSE WHO
  CANNOT AFFORD THEM.

          71.     Many patients and entities do, however, pay for their drugs based on Defendants’

  deceptively and misleadingly inflated benchmark prices. This is because Defendants publish

  those prices with various price reporting services and in various promotional and marketing

  materials, knowing those prices serve as direct benchmarks for the price that those people and

  entities pay. These affirmative pricing misrepresentations by Defendants are the only prices that

  Defendants make publicly available regarding their insulin products.               In publishing their

  benchmark prices, Defendants do not disclose that the actual, net prices they receive for their

  insulin products are far less than the publicly-available benchmark price. Instead, Defendants

  knowingly permit their inflated benchmark prices to deceptively and misleadingly be understood

  to be the actual price they receive for their analog insulin products and to be treated as such. The

  vast majority of Minnesota diabetics were unaware that Defendants’ benchmark prices were

  deceptively inflated due to the fraudulent scheme described in this complaint, and did not know

  the size of the spread between Defendants’ benchmark prices and the real prices they received.



  17
      James Paton, Drug CEO Has Problem With U.S. Patients Paying His Prices (Mar. 14, 2017), available at
  https://www.bloomberg.com/news/articles/2017-03-14/drug-ceo-has-big-problem-with-u-s-patients-paying-his-
  prices.



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         72.     PBMs do not disclose that Defendants’ benchmark prices are deceptive and not

  representative of the actual net price that Defendants charge for their products. Instead, PBMs

  conceal the rebates they receive from Defendants, both from the general public and, in many

  cases, from their own health plan clients. PBMs contend that, through payment of these rebates,

  they have secured greater savings for their health plan clients and lowered health care costs

  nationwide. They do this knowing that the net prices their health plan clients pay have hardly

  changed.

         73.     But, as described above, Defendants know that their published and publicly

  disseminated benchmark prices directly serve as the benchmark on which many Minnesota

  patients pay for their medications, including insulin.       The uninsured, patients with high-

  deductible health plans, those who pay coinsurance, and Medicare Part D beneficiaries do not

  have access to information regarding the rebates that Defendants pay PBMs. Such persons are

  unaware of the fact that the benchmark prices that Defendants publish and publicly disseminate

  are deceptively and misleadingly inflated. These Minnesota patients cannot stop taking insulin

  because they need it to manage their diabetes, will have to continue purchasing Defendants’

  insulin for the rest of their lives, will continue to pay inflated prices benchmarked to Defendants’

  false and misleading list prices, and thus have already or will soon find that the life-saving

  insulin they need is becoming unaffordable.

         74.     Patients without health insurance typically pay a “cash price” to retail pharmacies

  directly for their medications. The cash price that most retail pharmacies charge is directly set

  based on Defendants’ benchmark prices. This is in part because manufacturers do not provide

  rebates to pharmacies for selling their drugs; they do so only to PBMs for placement of drugs on

  their formularies. The cash price that a retail pharmacy pays a wholesaler is often directly based




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  on the benchmark price the manufacturer charges the wholesaler, plus a small mark-up. Retail

  pharmacies must also change their prices when the benchmark price of a product increases.

  Essentially, retail pharmacies are stuck charging a price directly based on Defendants’

  benchmark price, and must sell insulin to cash patients at that deceptive and misleading price or

  higher to recoup their costs.

          75.    Patients with high-deductible health plans also pay out-of-pocket a price that is

  directly based on the benchmark price that Defendants set for their insulin products, until those

  patients have satisfied their deductible. Even though these patients have insurance, they do not

  receive the benefit of rebates that their health plan’s PBM has negotiated with Defendants. Most

  rebate contracts between manufacturers and PBMs require the

                      ,                      , even though the PBM

                    . Because PBMs typically do not

          , they are stuck paying a price based directly on Defendants’ deceptively and

  misleadingly inflated benchmark price.

          76.    In addition, most PBMs include terms in their contracts                       that

  allow

                                                              . Because the PBM reimbursement

  rate is usually tied to the WAC or AWP of a product,                                         that

  are                                                  . Because Defendants set the AWP either

  directly or effectively through setting their WAC, their benchmark prices become the basis for

  the price that cash customers pay to retail pharmacies. By way of example, the following charts

  detail the relationship between the benchmark price of some of Defendants’ analog insulin

  products and the cash price that a major Minnesota pharmacy set for that product:




                                                 29
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            79.   Patients on Medicare Part D are also affected by Defendants’ scheme of

  publishing deceptive and misleading benchmark prices.           Medicare Part D is a voluntary

  prescription drug benefit available to patients on Medicare. People who receive this benefit must

  pay for their medications out-of-pocket until they have spent $405. After reaching this threshold,

  these individuals must pay 25% of the cost of their drugs until they and their plan have spent a

  combined total of $3,750. Once this level is reached, the individual is in the “donut hole.” At

  this stage, the individual pays 35% of the cost of the brand-name drug until the beneficiary’s out-

  of-pocket spending totals $5,000. At that point, the person’s Medicare Part D plan kicks in

  again, and the person must only pay 5% of their costs out-of-pocket.

            80.   While enrollees in Medicare Part D receive the benefit of a manufacturer discount

  for insulin products while in the donut hole, for multiple reasons, this benefit does not begin to

  cover the inflated costs that enrollees incur because of Defendants’ misrepresentative benchmark

  prices.    First, the portion the Medicare Part D patient pays is a percentage of the drug’s

  benchmark price, which is inflated because of Defendants’ deceptive conduct.              Second,

  Defendants’ deceptive benchmark prices mean enrollees exhaust their benefits more quickly than

  they otherwise would and enter the donut hole more quickly than they should. Finally, if

  Defendants actually competed with one another to offer the lowest price, the total cost of

  enrollees’ Part D benefits would generally decline over time.

            81.   Even health plan members who have the benefit of a PBM negotiating on behalf

  of their health plan suffer because of Defendants’ conduct. Many Minnesota patients have health

  insurance that requires them to pay coinsurance out-of-pocket when they fill a prescription.

  Typically, the amount the patient must pay as coinsurance is calculated as a percentage of a price




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  that is based on the drug’s benchmark price. The amount that those patients pay, as a result, is

  inflated because of Defendants’ deceptive and misleading benchmark prices.

          82.     The Minnesota Department of Corrections has incurred additional costs to provide

  insulin to the offenders it supervises as a result of Defendants’ deceptive and misleading

  benchmark prices. The Minnesota Department of Corrections has purchased insulin from a

  wholesaler whose price, like those of other wholesalers, is based on the benchmark price that the

  manufacturer sets or passes through to the wholesaler.         The inflated prices at which the

  department has purchased insulin through this wholesaler has either reduced the amount of its

  claims-related underspend that it is entitled to have returned to it or has increased its obligation

  to pay excess claims-related spend, as applicable, under the governing contracts. In other words,

  Defendants’ misrepresentative insulin benchmark prices have financially harmed the Minnesota

  Department of Corrections by reducing its health care-related savings, increasing its health care-

  related costs, or both.

          83.     Finally, if Defendants actually competed to offer the lowest price, the benchmark

  price of their products should be lower due to competition between the various manufacturers.

  Currently, because Defendants increase both their rebates and their benchmark prices, they are

  able to hold their net prices relatively steady. Competition on price, which is currently lacking,

  should cause the actual price of Defendants’ products to be lower over time, saving health plans

  and their members money. Defendants competition over which one can offer PBMs the biggest

  rebates from their benchmark prices instead of competing on price itself is economically

  preferable to them, however, because this makes it easier for Defendants to hold net prices for

  their insulin products relatively steady.




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         84.    Minnesota residents and the Minnesota Department of Corrections have

  purchased analog insulin products at higher prices and/or incurred additional insulin-related

  expenses than they otherwise would have because of the deceptive and misleading benchmark

  prices that Defendants knowingly published and publicly disseminated.

  STATUTE OF LIMITATIONS TOLLING.

         85.    All relevant statutes of limitations have been tolled by Defendants’ fraudulent

  concealment and denial of the facts alleged herein. Defendants published, or caused to be

  published, benchmark prices for their products that they knew to be inaccurate. Defendants

  knew their benchmark prices were deceptive, misleading, and not representative of the actual, net

  prices they receive for those products because of the rebates they pay to the PBMs. Defendants

  did not disclose the existence or magnitude of those rebates to the State, its residents, or the

  Minnesota Department of Corrections.

         86.    Defendants affirmatively and purposely crafted contracts that prohibited both

  Defendants and the PBMs from disclosing information related to the rebates that they paid to the

  PBMs. Defendants also concealed information regarding the impact that those rebates had on

  the accuracy of the benchmark prices they published.

         87.    The deceptive nature of Defendants’ benchmark prices, the extent to which those

  benchmark prices differed from Defendants’ actual prices, the fact that Defendants significantly

  inflated their benchmark prices to market larger spreads to PBMs, and Defendants’ affirmative

  efforts to conceal the spread between their benchmark and actual prices were not apparent or

  obvious to the State, its residents, or the Minnesota Department of Corrections, and could not

  have been discovered through reasonable diligence.




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                                        COUNT I
                          RICO ACT VIOLATION; 18 U.S.C. § 1962(c)
                                 (AS TO NOVO NORDISK)

         88.     The State re-alleges all prior paragraphs of this Complaint.

         89.     Novo Nordisk is a person as defined by 18 U.S.C. § 1961(3).

         90.     CVS is a person as defined by 18 U.S.C. § 1961(3).

         91.     The State, its residents, and the Minnesota Department of Corrections are all

  persons as defined by 18 U.S.C. § 1961(3) who were injured by Novo Nordisk’s conduct.

         92.     At all times relevant to this Complaint, Novo Nordisk and CVS constituted an

  enterprise as defined by 18 U.S.C. § 1961(4). For purposes of this count, this enterprise is

  referred to as the “Novo-CVS Enterprise.”

         93.     The Novo-CVS Enterprise consists of an association-in-fact between Novo

  Nordisk, including its directors, employees, and other agents, and CVS, including its directors,

  employees, and other agents.

         94.     The shared and common purpose of the association is to arrange for the sale,

  purchase, and distribution of Novo Nordisk’s NovoLog, Levemir, and Tresiba insulin products

  through the fraudulent scheme described in this Complaint of publishing deceptively inflated

  benchmark prices for these products that were not reasonably reflective of the secret, undisclosed

  net prices that Novo Nordisk actually received for these products due to the rebates and other

  concessions made to CVS—including by arranging placements for these products on CVS’s

  formularies through the negotiation of rebates, price protection factors, and discounts for these

  products with CVS, and through the exclusion of competing insulin products from CVS’s

  formulary—so that both entities could profit, in violation of 18 U.S.C. § 1962(c). Perpetuating

  the use of such fraudulent pricing practices was in the common interest of Novo Nordisk and




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  CVS because they enhanced CVS’s ability to demand—and Novo Nordisk’s ability to offer—

  larger rebates off of Novo Nordisk’s benchmark prices (to the financial benefit of CVS), while

  also allowing Novo Nordisk to hold its net insulin prices relatively steady (to the financial

  benefit of Novo Nordisk). In other words, Novo Nordisk and CVS had both the mutual incentive

  to and the common purpose of perpetuating the fraudulent benchmark pricing practices described

  herein—which neither could have accomplished alone—for the financial gain of both.

          95.     To accomplish the common purpose of the Novo-CVS Enterprise, the component

  entities, Novo Nordisk and CVS, developed extensive relationships, both contractually and

  financially.   The component entities communicated regularly through the wires and mail

  regarding the deceptively and misleadingly inflated benchmark price of NovoLog, Levemir, and

  Tresiba, the rebates that Novo Nordisk would provide CVS for favorable formulary placement,

  and the price protection terms CVS demanded to protect against any increase in the benchmark

  prices of Levemir, NovoLog, and Tresiba.

          96.     The Novo-CVS enterprise affected interstate commerce. Through their respective

  negotiations, they determined the price of Levemir, NovoLog, and Tresiba sold throughout the

  United States and its territories.

          97.     CVS participated in the conduct of the Novo-CVS Enterprise in a variety of ways,

  including but not limited to:

                  (a) Negotiating significant rebates from the benchmark prices set by Novo
                      Nordisk for Levemir, NovoLog, and Tresiba;

                  (b) Developing formularies that provided Novo Nordisk favorable placements for
                      Levemir, NovoLog, and Tresiba based on the rebates CVS would earn from
                      the sale of those products;

                  (c) Excluding competing insulin products from certain formularies in exchange
                      for increased rebates;




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                 (d) Marketing formularies to health plan clients and making material
                     representations that the rebates negotiated from Novo Nordisk saved those
                     clients and their members money;

                 (e) Making material misrepresentations that the benchmark prices that Novo
                     Nordisk published approximated the actual prices of these insulin products
                     and that those prices were an accurate basis on which out-of-pocket payments
                     should be based; and

                 (f) Concealing the actual rebates earned from Novo Nordisk from health plan
                     clients and the general public, and therefore concealing the actual, net price
                     Novo Nordisk received for these insulin products.

         98.     CVS’s conduct and participation is essential to the success of the enterprise. For

  Novo Nordisk to maintain its net prices for these products, it required CVS to select the products

  based on the rebates offered, rather than on which ones had the lowest benchmark prices. It also

  required CVS to market to its health plan clients that the rebates Novo Nordisk offered saved the

  clients and their members money to conceal the actual rebates paid by Novo Nordisk. CVS’s

  participation allowed Novo Nordisk to inflate its benchmark prices, offer larger rebates to CVS

  to maintain access to that portion of the market, and still earn additional profits from those who

  could not take advantage of those rebates.

         99.     Novo Nordisk participated in, controlled, and conducted the affairs of the Novo-

  CVS Enterprise by, among other ways:

                 (a) Setting deceptive, misleading, and misrepresentative benchmark prices for its
                     Levemir, NovoLog, and Tresiba insulin products;

                 (b) Marketing to CVS the rebates that it could earn for favorable formulary
                     placements of Levemir, NovoLog, and Tresiba, including in some cases, for
                     omitting competing products from certain of its formularies;

                 (c) Including price protection terms in its contracts with CVS, which allowed
                     CVS to earn additional rebates when Novo Nordisk increased its benchmark
                     prices;

                 (d) Paying rebates to CVS for each prescription filled for Levemir, NovoLog, and
                     Tresiba by a CVS health plan member;



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                 (e) Reporting to the general public and various price reporting services the
                     benchmark price of Levemir, NovoLog, and Tresiba while claiming that such
                     prices represented the actual approximate price it received for those products;

                 (f) Inflating the benchmark price of Levemir, NovoLog, and Tresiba to account
                     for the rebates that it paid to CVS; and

                 (g) Misrepresenting and concealing from the general public the magnitude of the
                     rebates that it paid to CVS.

  In so conducting the Novo-CVS Enterprise’s affairs, Novo Nordisk engaged in unlawful conduct

  that it could not have accomplished without CVS—securing through fraud and deception

  favorable treatment on CVS’s formulary for its insulin products without having to reduce or

  otherwise compete on price with rival insulin manufacturers, as Novo Nordisk would have had to

  do in normal commercial circumstances.

         100.    The component entities are all willing and knowing participants in the Novo-CVS

  Enterprise. Novo Nordisk negotiated rebates with CVS for favorable formulary placement and

  entered into contracts with CVS that concealed both the extent of those rebates and the price

  protection that Novo Nordisk provided CVS. CVS represented to its health plan clients that it

  secured significant savings because of those rebates and solicited those clients to select its

  formularies. All component entities of the Novo-CVS Enterprise reaped increased profits from

  Novo Nordisk’s deceptive and misleading representations regarding its benchmark prices. Novo

  Nordisk and CVS could not have successfully conducted the activities of the Novo-CVS

  Enterprise individually.

         101.    The Novo-CVS Enterprise is on-going and has been in existence for all times

  relevant to this Complaint. CVS continues to have contractual relationships with Novo Nordisk;

  continues to negotiate rebates with Novo Nordisk regarding Levemir, NovoLog, and Tresiba;

  and continues to develop formularies that provide varying levels of preference to those products



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  based on the rebates that Novo Nordisk pays CVS. CVS also continues to make substantial

  profits on the rebates that it earns from sale of Novo Nordisk’s products.

         102.    To accomplish this conduct, and to further the goals of the Novo-CVS Enterprise,

  Novo Nordisk participated in a pattern of racketeering activity, including acts indictable as mail

  fraud, pursuant to 18 U.S.C. § 1341, and wire fraud, pursuant to 18 U.S.C. § 1343. Novo

  Nordisk’s conduct included multiple uses of the U.S. Mail and interstate wire facilities with the

  intent to defraud the State, its residents, and the Minnesota Department of Corrections. Each

  such use constitutes “racketeering activity,” as defined by 18 U.S.C. § 1961(1), and collectively,

  these uses amount to a “pattern of racketeering conduct,” as defined by 18 U.S.C. § 1961(5).

  The use of the U.S. Mail and interstate wire facilities was related to the same purpose (i.e.,

  inflating the benchmark price of Levemir, Tresiba, and NovoLog and deceptively and

  misleadingly publicly disseminating these inflated prices), involved the same victims, and

  involved similar actors and methods. It was carried out across state boundaries.

         103.    Through the use of the U.S. Mail and interstate wire facilities, Novo Nordisk

  negotiated rebates for its Levemir, NovoLog, and Tresiba products with CVS. Novo Nordisk

  repeatedly communicated with CVS regarding Novo Nordisk’s benchmark prices, the rebates

  that Novo Nordisk would provide in exchange for favorable formulary placement, and price

  protection agreements to protect CVS from increases in Novo Nordisk’s benchmark prices.

         104.    Novo Nordisk then published deceptive, misleading, and misrepresentative

  benchmark prices of Levemir, NovoLog, and Tresiba and used the U.S. Mail and interstate wire

  facilities to transmit information regarding those inflated prices to various price reporting

  services. Novo Nordisk knew that other entities, including retail pharmacies, would rely on

  those benchmark prices to determine the price that many Minnesota residents and the Minnesota




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  Department of Corrections would pay for Levemir, NovoLog, and Tresiba. In making these

  transmissions, Novo Nordisk did not disclose the existence, nature, or magnitude of the rebates

  that it paid CVS for favorable formulary placements, nor did it disclose the substantial difference

  between its inflated benchmark prices and net prices. Instead, by publishing only its benchmark

  prices, Novo Nordisk represented that these prices constituted an accurate price for its Levemir,

  Tresiba, and NovoLog products.

          105.    It was also foreseeable to Novo Nordisk that CVS would use the U.S. Mail and

  interstate wire facilities to transmit information regarding the magnitude of the rebates that Novo

  Nordisk paid and to use the U.S. Mail and interstate wire facilities to market those rebates as a

  cost-savings benefit to its health plan clients.

          106.    The number of transmissions that Novo Nordisk sent or caused to be sent

  numbers in the hundreds, if not thousands. They were made by numerous employees of Novo

  Nordisk and CVS, working throughout the country and were repeatedly sent across state lines.

          107.    Through this pattern of racketeering conduct, Novo Nordisk was able to publish

  and disseminate deceptive and misleading benchmark prices for Levemir, NovoLog, and Tresiba,

  avoid competing on price with its competitors, and reap increased profits by deceiving those who

  could not take advantage of the rebates that Novo Nordisk provided to CVS. This pattern of

  racketeering conduct is separate and distinct from the Novo-CVS Enterprise. Novo Nordisk is a

  separate and distinct entity from the Novo-CVS Enterprise.

          108.    Novo Nordisk continues to engage in this pattern of racketeering conduct and will

  continue to do so unless the Court enjoins such activity.




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         109.     Novo Nordisk’s pattern of racketeering activity has caused monetary harm both

  directly and indirectly to the State, its residents, and the Minnesota Department of Corrections,

  all of whom have paid deceptively inflated prices for insulin products.

         110.     As previously described, many patients pay all or a portion of their insulin costs

  out-of-pocket. Those with high-deductible health plans pay all of the drug’s cost until their

  deductible is satisfied and do not receive the benefit of the rebate their health plan negotiated.

  Uninsured patients also pay the entire cost of the drug out-of-pocket.         Those covered by

  Medicare Part D also must pay varying amounts out-of-pocket depending on the total amount

  spent. In addition, those with coinsurance pay a percent of their drug’s total cost out-of-pocket.

  Finally, the Minnesota Department of Corrections pays for pharmaceuticals on behalf of inmates

  housed within the correctional system. Each amount that these persons pay is based directly on

  the deceptive and misleading benchmark price that Novo Nordisk set and publicly disseminated.

  Novo Nordisk also knew that payments by these persons were based directly on the benchmark

  price it set, and thus could foresee that such persons would pay more for its insulin products

  when it publicly disseminated its deceptive and misleading benchmark prices.

         111.     Because Novo Nordisk published deceptive and misleading benchmark prices for

  the purpose of marketing larger, undisclosed rebates to CVS and inflated its benchmark prices to

  preserve the actual, net prices that it received for insulin, Minnesota residents and the Minnesota

  Department of Corrections paid more than they otherwise would have for NovoLog, Levemir,

  and Tresiba. But for this conduct, Novo Nordisk would be forced to compete with other analog

  insulin manufacturers on the actual price of their products and the price of insulin would decline

  for everyone.




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          112.   The benchmark prices that Novo Nordisk set did not drastically harm other

  components of the pharmaceutical supply chain (such as wholesalers, health plans, and retail

  pharmacies). Each of those entities could pass the deceptively inflated benchmark price on to

  patients.

          113.   Novo Nordisk’s deceptive and misleading conduct, practices, and actions

  described in this Complaint constitute multiple, separate violations of 18 U.S.C. §§ 1961 et seq.

          114.   Novo Nordisk is therefore liable for treble the damage suffered by the State’s

  residents and the Minnesota Department of Corrections, costs, and reasonable attorneys’ fees,

  and should be enjoined from further unlawful conduct as a result of its violations of 18 U.S.C. §

  1962(c).

                                        COUNT II
                          RICO ACT VIOLATION; 18 U.S.C. § 1962(c)
                                 (AS TO NOVO NORDISK)

          115.   The State re-alleges all prior paragraphs of this Complaint.

          116.   Novo Nordisk is a person as defined by 18 U.S.C. § 1961(3).

          117.   OptumRx is a person as defined by 18 U.S.C. § 1961(3).

          118.   The State, its residents, and the Minnesota Department of Corrections are all

  persons as defined by 18 U.S.C. § 1961(3) who were injured by Novo Nordisk’s conduct.

          119.   At all times relevant to this Complaint, Novo Nordisk and OptumRx constituted

  an enterprise as defined by 18 U.S.C. § 1961(4). For purposes of this count, this enterprise is

  referred to as the “Novo-Optum Enterprise.”

          120.   The Novo-Optum Enterprise consists of an association-in-fact between Novo

  Nordisk, including its directors, employees, and other agents, and OptumRx, including its

  directors, employees, and other agents.




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         121.     The shared and common purpose of the association is to arrange for the sale,

  purchase, and distribution of Novo Nordisk’s NovoLog, Levemir, and Tresiba insulin products

  through the fraudulent scheme described in this Complaint of publishing deceptively inflated

  benchmark prices for these products that were not reasonably reflective of the secret, undisclosed

  net prices that Novo Nordisk actually received for these products due to the rebates and other

  concessions made to OptumRx—including by arranging placements for these products on

  OptumRx’s formularies through the negotiation of rebates, price protection factors, and

  discounts for these products with OptumRx, and through the exclusion of competing insulin

  products from OptumRx’s formulary—so that both entities could profit, in violation of 18 U.S.C.

  § 1962(c).    Perpetuating the use of such fraudulent pricing practices was in the common interest

  of Novo Nordisk and OptumRx because they enhanced OptumRx’s ability to demand—and

  Novo Nordisk’s ability to offer—larger rebates off of Novo Nordisk’s benchmark prices (to the

  financial benefit of OptumRx), while also allowing Novo Nordisk to hold its net insulin prices

  relatively steady (to the financial benefit of Novo Nordisk). In other words, Novo Nordisk and

  OptumRx had both the mutual incentive to and the common purpose of perpetuating the

  fraudulent benchmark pricing practices described herein for the financial gain of both.

         122.     To accomplish the common purpose of the Novo-Optum Enterprise, the

  component entities, Novo Nordisk and OptumRx, developed extensive relationships, both

  contractually and financially. The component entities communicated regularly through the wires

  and mail regarding the deceptively and misleadingly inflated benchmark price of NovoLog,

  Levemir, and Tresiba, the rebates that Novo Nordisk would provide OptumRx for favorable

  formulary placement, and the price protection terms OptumRx demanded to protect against any

  increase in the benchmark prices of Levemir, NovoLog, and Tresiba.




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         123.    The Novo-Optum enterprise affected interstate commerce.            Through their

  respective negotiations, they determined the price of Levemir, NovoLog, and Tresiba sold

  throughout the United States and its territories.

         124.    OptumRx participated in the conduct of the Novo-Optum Enterprise in a variety

  of ways, including, but not limited to:

                 (a) Negotiating significant rebates from the benchmark prices set by Novo
                     Nordisk for Levemir, NovoLog, and Tresiba;

                 (b) Developing formularies that provided Novo Nordisk favorable placements for
                     Levemir, NovoLog, and Tresiba based on the rebates OptumRx would earn
                     from the sale of those products;

                 (c) Excluding competing insulin products from certain formularies in exchange
                     for increased rebates;

                 (d) Marketing formularies to health plan clients and making material
                     representations that the rebates negotiated from Novo Nordisk saved those
                     clients and their members money;

                 (e) Making material misrepresentations that the benchmark prices that Novo
                     Nordisk published approximated the actual prices of these insulin products
                     and that those prices were an accurate basis on which out-of-pocket payments
                     should be based; and

                 (f) Concealing the actual rebates earned from Novo Nordisk from health plan
                     clients and the general public, and therefore concealing the actual, net price
                     Novo Nordisk received for these insulin products.

         125.    OptumRx’s conduct and participation is essential to the success of the enterprise.

  For Novo Nordisk to maintain its net prices for these products, it required OptumRx to select the

  products based on the rebates offered, rather on which ones had the lowest benchmark prices. It

  also required OptumRx to market to its health plan clients that the rebates Novo Nordisk offered

  saved the clients and their members money to conceal the actual rebates paid by Novo Nordisk.

  OptumRx’s participation allowed Novo Nordisk to inflate its benchmark prices, offer larger




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  rebates to OptumRx to maintain access to that portion of the market, and still earn additional

  profits from those who could not take advantage of those rebates.

         126.   Novo Nordisk participated in, controlled, and conducted the affairs of the Novo-

  Optum Enterprise by, among other ways:

                (a) Setting deceptive, misleading, and misrepresentative benchmark prices for its
                    Levemir, NovoLog, and Tresiba insulin products;

                (b) Marketing to OptumRx the rebates that it could earn for favorable formulary
                    placements of Levemir, NovoLog, and Tresiba, including in some cases, for
                    omitting competing products from certain of its formularies;

                (c) Including price protection terms in its contracts with OptumRx, which
                    allowed OptumRx to earn additional rebates when Novo Nordisk increased its
                    benchmark prices;

                (d) Paying rebates to OptumRx for each prescription filled for Levemir,
                    NovoLog, and Tresiba by a OptumRx health plan member;

                (e) Reporting to the general public and various price reporting services the
                    benchmark price of Levemir, NovoLog, and Tresiba while claiming that such
                    prices represented the actual approximate price it received for those products;

                (f) Inflating the benchmark price of Levemir, NovoLog, and Tresiba to account
                    for the rebates that it paid to OptumRx; and

                (g) Misrepresenting and concealing from the general public the magnitude of the
                    rebates that it paid to OptumRx.

  In so conducting the Novo-OptumRx Enterprise’s affairs, Novo Nordisk engaged in unlawful

  conduct that it could not have accomplished without OptumRx—securing through fraud and

  deception favorable treatment on OptumRx’s formulary for its insulin products without having to

  reduce or otherwise compete on price with rival insulin manufacturers, as Novo Nordisk would

  have had to do in normal commercial circumstances.

         127.   The component entities are all willing and knowing participants in the Novo-

  Optum Enterprise. Novo Nordisk negotiated rebates with OptumRx for favorable formulary




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  placement and entered into contracts with OptumRx that concealed both the extent of those

  rebates and the price protection that Novo Nordisk provided OptumRx. OptumRx represented to

  its health plan clients that it secured significant savings because of those rebates and solicited

  those clients to select its formularies. All component entities of the Novo-Optum Enterprise

  reaped increased profits from Novo Nordisk’s deceptive and misleading representations

  regarding its benchmark prices.     Novo Nordisk and OptumRx could not have successfully

  conducted the activities of the Novo-Optum Enterprise individually.

         128.    The Novo-Optum Enterprise is on-going and has been in existence for all times

  relevant to this Complaint. OptumRx continues to have contractual relationships with Novo

  Nordisk; continues to negotiate rebates with Novo Nordisk regarding Levemir, NovoLog, and

  Tresiba; and continues to develop formularies that provide varying levels of preference to those

  products based on the rebates that Novo Nordisk pays OptumRx. OptumRx also continues to

  make substantial profits on the rebates that it earns from sale of Novo Nordisk’s products.

         129.    To accomplish this conduct, and to further the goals of the Novo-Optum

  Enterprise, Novo Nordisk participated in a pattern of racketeering activity, including acts

  indictable as mail fraud, pursuant to 18 U.S.C. § 1341, and wire fraud, pursuant to 18 U.S.C. §

  1343. Novo Nordisk’s conduct included multiple uses of the U.S. Mail and interstate wire

  facilities with the intent to defraud the State, its residents, and the Minnesota Department of

  Corrections.   Each such use constitutes “racketeering activity,” as defined by 18 U.S.C. §

  1961(1), and collectively, these uses amount to a “pattern of racketeering conduct,” as defined by

  18 U.S.C. § 1961(5). The use of the U.S. Mail and interstate wire facilities was related to the

  same purpose (i.e., inflating the benchmark price of Levemir, Tresiba, and NovoLog and




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  deceptively and misleadingly publicly disseminating these inflated prices), involved the same

  victims, and involved similar actors and methods. It was carried out across state boundaries.

          130.    Through the use of the U.S. Mail and interstate wire facilities, Novo Nordisk

  negotiated rebates for its Levemir, NovoLog, and Tresiba products with OptumRx.             Novo

  Nordisk repeatedly communicated with OptumRx regarding Novo Nordisk’s benchmark prices,

  the rebates that Novo Nordisk would provide in exchange for favorable formulary placement,

  and price protection agreements to protect OptumRx from increases in Novo Nordisk’s

  benchmark prices.

          131.    Novo Nordisk then published deceptive, misleading, and misrepresentative

  benchmark prices of Levemir, NovoLog, and Tresiba and used the U.S. Mail and interstate wire

  facilities to transmit information regarding those inflated prices to various price reporting

  services. Novo Nordisk knew that other entities, including retail pharmacies, would rely on

  those benchmark prices to determine the price that many Minnesota residents and the Minnesota

  Department of Corrections would pay for Levemir, NovoLog, and Tresiba. In making these

  transmissions, Novo Nordisk did not disclose the existence, nature, or magnitude of the rebates

  that it paid OptumRx for favorable formulary placements, nor did it disclose the substantial

  difference between its inflated benchmark prices and net prices. Instead, by publishing only its

  benchmark prices, Novo Nordisk represented that these prices constituted an accurate price for

  its Levemir, Tresiba, and NovoLog products.

          132.    It was also foreseeable to Novo Nordisk that OptumRx would use the U.S. Mail

  and interstate wire facilities to transmit information regarding the magnitude of the rebates that

  Novo Nordisk paid and to use the U.S. Mail and interstate wire facilities to market those rebates

  as a cost-savings benefit to its health plan clients.




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           133.   The number of transmissions that Novo Nordisk sent or caused to be sent

  numbers in the hundreds, if not thousands. They were made by numerous employees of Novo

  Nordisk and OptumRx, working throughout the country and were repeatedly sent across state

  lines.

           134.   Through this pattern of racketeering conduct, Novo Nordisk was able to publish

  and disseminate deceptive and misleading benchmark list prices for Levemir, NovoLog, and

  Tresiba, avoid competing on price with its competitors, and reap increased profits by deceiving

  those who could not take advantage of the rebates that Novo Nordisk provided to OptumRx.

  This pattern of racketeering conduct is separate and distinct from the Novo-Optum Enterprise.

  Novo Nordisk is a separate and distinct entity from the Novo-Optum Enterprise.

           135.   Novo Nordisk continues to engage in this pattern of racketeering conduct and will

  continue to do so unless the Court enjoins such activity.

           136.   Novo Nordisk’s pattern of racketeering activity has caused monetary harm both

  directly and indirectly to the State, its residents, and the Minnesota Department of Corrections,

  all of whom have paid deceptively inflated prices for insulin products.

           137.   As previously described, many patients pay all or a portion of their insulin costs

  out-of-pocket. Those with high-deductible health plans pay all of the drug’s cost until their

  deductible is satisfied and do not receive the benefit of the rebate their health plan negotiated.

  Uninsured patients also pay the entire cost of the drug out-of-pocket.        Those covered by

  Medicare Part D also must pay varying amounts out-of-pocket depending on the total amount

  spent. In addition, those with coinsurance pay a percent of their drug’s total cost out-of-pocket.

  Finally, the Minnesota Department of Corrections pays for pharmaceuticals on behalf of inmates

  housed within the correctional system. Each amount that these persons pay is based directly on




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  the deceptive and misleading benchmark price that Novo Nordisk set and publicly disseminated.

  Novo Nordisk also knew that payments by these persons were based directly on the benchmark

  price it set, and thus could foresee that such persons would pay more for its insulin products

  when it publicly disseminated its deceptive and misleading benchmark prices.

          138.   Because Novo Nordisk published deceptive and misleading benchmark prices for

  the purpose of marketing larger, undisclosed rebates to OptumRx and inflated its benchmark

  prices to preserve the actual net prices that it received for insulin, Minnesota residents and the

  Minnesota Department of Corrections paid more than they otherwise would have for NovoLog,

  Levemir, and Tresiba. But for this conduct, Novo Nordisk would be forced to compete with

  other analog insulin manufacturers on the actual price of their products and the price of insulin

  would decline for everyone.

          139.   The benchmark prices that Novo Nordisk set did not drastically harm other

  components of the pharmaceutical supply chain (such as wholesalers, health plans, and retail

  pharmacies). Each of those entities could pass the deceptively inflated benchmark price on to

  patients.

          140.   Novo Nordisk’s deceptive and misleading conduct, practices, and actions

  described in this Complaint constitute multiple, separate violations of 18 U.S.C. §§ 1961 et seq.

          141.   Novo Nordisk is therefore liable for treble the damage suffered by the State’s

  residents and the Minnesota Department of Corrections, costs, and reasonable attorneys’ fees,

  and should be enjoined from further unlawful conduct as a result of its violations of 18 U.S.C. §

  1962(c).




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                                       COUNT III
                          RICO ACT VIOLATION; 18 U.S.C. § 1962(c)
                                 (AS TO NOVO NORDISK)

         142.    The State re-alleges all prior paragraphs of this Complaint.

         143.    Novo Nordisk is a person as defined by 18 U.S.C. § 1961(3).

         144.    Express Scripts is a person as defined by 18 U.S.C. § 1961(3).

         145.    The State, its residents, and the Minnesota Department of Corrections are all

  persons as defined by 18 U.S.C. § 1961(3) who were injured by Novo Nordisk’s conduct.

         146.    At all times relevant to this Complaint, Novo Nordisk and Express Scripts

  constituted an enterprise as defined by 18 U.S.C. § 1961(4). For purposes of this count, this

  enterprise is referred to as the “Novo-Express Scripts Enterprise.”

         147.    The Novo-Express Scripts Enterprise consists of an association-in-fact between

  Novo Nordisk, including its directors, employees, and other agents, and Express Scripts,

  including its directors, employees, and other agents.

         148.    The shared and common purpose of the association is to arrange for the sale,

  purchase, and distribution of Novo Nordisk’s NovoLog, Levemir, and Tresiba insulin products

  through the fraudulent scheme described in this Complaint of publishing deceptively inflated

  benchmark prices for these products that were not reasonably reflective of the secret, undisclosed

  net prices that Novo Nordisk actually received for these products due to the rebates and other

  concessions made to Express Scripts—including by arranging placements for these products on

  Express Scripts’s formularies through the negotiation of rebates, price protection factors, and

  discounts for these products with Express Scripts, and through the exclusion of competing

  insulin products from Express Scripts’s formulary—so that both entities could profit, in violation

  of 18 U.S.C. § 1962(c). Perpetuating the use of such fraudulent pricing practices was in the




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  common interest of Novo Nordisk and Express Scripts because they enhanced Express Scripts’s

  ability to demand—and Novo Nordisk’s ability to offer—larger rebates off of Novo Nordisk’s

  benchmark prices (to the financial benefit of Express Scripts), while also allowing Novo Nordisk

  to hold its net insulin prices relatively steady (to the financial benefit of Novo Nordisk). In other

  words, Novo Nordisk and Express Scripts had both the mutual incentive to and the common

  purpose of perpetuating the fraudulent benchmark pricing practices described herein for the

  financial gain of both.

         149.    To accomplish the common purpose of the Novo-Express Scripts Enterprise, the

  component entities, Novo Nordisk and Express Scripts, developed extensive relationships, both

  contractually and financially. The component entities communicated regularly through the wires

  and mail regarding the deceptively and misleadingly inflated benchmark price of NovoLog,

  Levemir, and Tresiba, the rebates that Novo Nordisk would provide Express Scripts for

  favorable formulary placement, and the price protection terms Express Scripts demanded to

  protect against any increase in the benchmark prices of Levemir, NovoLog, and Tresiba.

         150.    The Novo-Express Scripts enterprise affected interstate commerce. Through their

  respective negotiations, they determined the price of Levemir, NovoLog, and Tresiba sold

  throughout the United States and its territories.

         151.    Express Scripts participated in the conduct of the Novo-Express Scripts Enterprise

  in a variety of ways, including, but not limited to:

                 (a) Negotiating significant rebates from the benchmark prices set by Novo
                     Nordisk for Levemir, NovoLog, and Tresiba;

                 (b) Developing formularies that provided Novo Nordisk favorable placements for
                     Levemir, NovoLog, and Tresiba based on the rebates Express Scripts would
                     earn from the sale of those products;




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                 (c) Excluding competing insulin products from certain formularies in exchange
                     for increased rebates;

                 (d) Marketing formularies to health plan clients and making material
                     representations that the rebates negotiated from Novo Nordisk saved those
                     clients and their members money;

                 (e) Making material misrepresentations that the benchmark prices that Novo
                     Nordisk published approximated the actual prices of these insulin products
                     and that those prices were an accurate basis on which out-of-pocket payments
                     should be based; and

                 (f) Concealing the actual rebates earned from Novo Nordisk from health plan
                     clients and the general public, and therefore concealing the net price Novo
                     Nordisk received for these insulin products.

         152.    Express Scripts’s conduct and participation is essential to the success of the

  enterprise. For Novo Nordisk to maintain its net prices for these products, it required Express

  Scripts to select the products based on the rebates offered, rather than on which ones had the

  lowest benchmark prices. It also required Express Scripts to market to its health plan clients that

  the rebates Novo Nordisk offered saved the clients and their members money to conceal the

  actual rebates paid by Novo Nordisk. Express Scripts’s participation allowed Novo Nordisk to

  inflate its benchmark prices, offer larger rebates to Express Scripts to maintain access to that

  portion of the market, and still earn additional profits from those who could not take advantage

  of those rebates.

         153.    Novo Nordisk participated in, controlled, and conducted the affairs of the Novo-

  Express Scripts Enterprise by, among other ways:

                 (a) Setting deceptive, misleading, and misrepresentative benchmark prices for its
                     Levemir, NovoLog, and Tresiba insulin products;

                 (b) Marketing to Express Scripts the rebates that it could earn for favorable
                     formulary placements of Levemir, NovoLog, and Tresiba, including in some
                     cases, for omitting competing products from certain of its formularies;




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                  (c) Including price protection terms in its contracts with Express Scripts, which
                      allowed Express Scripts to earn additional rebates when Novo Nordisk
                      increased its benchmark prices;

                  (d) Paying rebates to Express Scripts for each prescription filled for Levemir,
                      NovoLog, and Tresiba by a Express Scripts health plan member;

                  (e) Reporting to the general public and various price reporting services the
                      benchmark price of Levemir, NovoLog, and Tresiba while claiming that such
                      prices represented the actual approximate price it received for those products;

                  (f) Inflating the benchmark price of Levemir, NovoLog, and Tresiba to account
                      for the rebates that it paid to Express Scripts; and

                  (g) Misrepresenting and concealing from the general public the magnitude of the
                      rebates that it paid to Express Scripts.

  In so conducting the Novo-Express Scripts Enterprise’s affairs, Novo Nordisk engaged in

  unlawful conduct that it could not have accomplished without Express Scripts—securing through

  fraud and deception favorable treatment on Express Scripts’s formulary for its insulin products

  without having to reduce or otherwise compete on price with rival insulin manufacturers, as

  Novo Nordisk would have had to do in normal commercial circumstances.

         154.     The component entities are all willing and knowing participants in the Novo-

  Express Scripts Enterprise. Novo Nordisk negotiated rebates with Express Scripts for favorable

  formulary placement and entered into contracts with Express Scripts that concealed both the

  extent of those rebates and the price protection that Novo Nordisk provided Express Scripts.

  Express Scripts represented to its health plan clients that it secured significant savings because of

  those rebates and solicited those clients to select its formularies. All component entities of the

  Novo-Express Scripts Enterprise reaped increased profits from Novo Nordisk’s deceptive and

  misleading representations regarding its benchmark prices. Novo Nordisk and Express Scripts

  could not have successfully conducted the activities of the Novo-Express Scripts Enterprise

  individually.



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         155.    The Novo-Express Scripts Enterprise is on-going and has been in existence for all

  times relevant to this Complaint. Express Scripts continues to have contractual relationships

  with Novo Nordisk; continues to negotiate rebates with Novo Nordisk regarding Levemir,

  NovoLog, and Tresiba; and continues to develop formularies that provide varying levels of

  preference to those products based on the rebates that Novo Nordisk pays Express Scripts.

  Express Scripts also continues to make substantial profits on the rebates that it earns from sale of

  Novo Nordisk’s products.

         156.    To accomplish this conduct, and to further the goals of the Novo-Express Scripts

  Enterprise, Novo Nordisk participated in a pattern of racketeering activity, including acts

  indictable as mail fraud, pursuant to 18 U.S.C. § 1341, and wire fraud, pursuant to 18 U.S.C. §

  1343. Novo Nordisk’s conduct included multiple uses of the U.S. Mail and interstate wire

  facilities with the intent to defraud The State, its residents, and the Minnesota Department of

  Corrections. Each such use constitutes “racketeering activity,” as defined by 18 U.S.C. §

  1961(1), and collectively, these uses amount to a “pattern of racketeering conduct,” as defined by

  18 U.S.C. § 1961(5). The use of the U.S. Mail and interstate wire facilities was related to the

  same purpose (i.e., inflating the benchmark price of Levemir, Tresiba, and NovoLog and

  deceptively and misleadingly publicly disseminating these inflated prices), involved the same

  victims, and involved similar actors and methods. It was carried out across state boundaries.

         157.    Through the use of the U.S. Mail and interstate wire facilities, Novo Nordisk

  negotiated rebates for its Levemir, NovoLog, and Tresiba products with Express Scripts. Novo

  Nordisk repeatedly communicated with Express Scripts regarding Novo Nordisk’s benchmark

  prices, the rebates that Novo Nordisk would provide in exchange for favorable formulary




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  placement, and price protection agreements to protect Express Scripts from increases in Novo

  Nordisk’s benchmark prices.

          158.    Novo Nordisk then published deceptive, misleading, and misrepresentative

  benchmark prices of Levemir, NovoLog, and Tresiba and used the U.S. Mail and interstate wire

  facilities to transmit information regarding those inflated benchmark prices to various price

  reporting services. Novo Nordisk knew that other entities, including retail pharmacies, would

  rely on those benchmark prices to determine the price that many Minnesota residents and the

  Minnesota Department of Corrections would pay for Levemir, NovoLog, and Tresiba.                In

  making these transmissions, Novo Nordisk did not disclose the existence, nature, or magnitude

  of the rebates that it paid Express Scripts for favorable formulary placements, nor did it disclose

  the substantial difference between its inflated benchmark prices and net prices. Instead, by

  publishing only its benchmark prices, Novo Nordisk represented that these prices constituted an

  accurate price for its Levemir, Tresiba, and NovoLog products.

          159.    It was also foreseeable to Novo Nordisk that Express Scripts would use the U.S.

  Mail and interstate wire facilities to transmit information regarding the magnitude of the rebates

  that Novo Nordisk paid and to use the U.S. Mail and interstate wire facilities to market those

  rebates as a cost-savings benefit to its health plan clients.

          160.    The number of transmissions that Novo Nordisk sent or caused to be sent

  numbers in the hundreds, if not thousands. They were made by numerous employees of Novo

  Nordisk and Express Scripts, working throughout the country and were repeatedly sent across

  state lines.

          161.    Through this pattern of racketeering conduct, Novo Nordisk was able to publish

  and disseminate deceptive and misleading benchmark prices for Levemir, NovoLog, and Tresiba,




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  avoid competing on price with its competitors, and reap increased profits by deceiving those who

  could not take advantage of the rebates that Novo Nordisk provided to Express Scripts. This

  pattern of racketeering conduct is separate and distinct from the Novo-Express Scripts

  Enterprise.   Novo Nordisk is a separate and distinct entity from the Novo-Express Scripts

  Enterprise.

         162.    Novo Nordisk continues to engage in this pattern of racketeering conduct and will

  continue to do so unless the Court enjoins such activity.

         163.    Novo Nordisk’s pattern of racketeering activity has caused monetary harm both

  directly and indirectly to the State, its residents, and the Minnesota Department of Corrections,

  all of whom have paid deceptively inflated prices for insulin products.

         164.    As previously described, many patients pay all or a portion of their insulin costs

  out-of-pocket. Those with high-deductible health plans pay all of the drug’s cost until their

  deductible is satisfied and do not receive the benefit of the rebate their health plan negotiated.

  Uninsured patients also pay the entire cost of the drug out-of-pocket.         Those covered by

  Medicare Part D also must pay varying amounts out-of-pocket depending on the total amount

  spent. In addition, those with coinsurance pay a percent of their drug’s total cost out-of-pocket.

  Finally, the Minnesota Department of Corrections pays for pharmaceuticals on behalf of inmates

  housed within the correctional system. Each amount that these persons pay is based directly on

  the deceptive and misleading benchmark price that Novo Nordisk set and publicly disseminated.

  Novo Nordisk also knew that payments by these persons were based directly on the benchmark

  price it set, and thus could foresee that such persons would pay more for its insulin products

  when it publicly disseminated its deceptive and misleading benchmark prices.




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          165.   Because Novo Nordisk published deceptive and misleading benchmark prices for

  the purpose of marketing larger, undisclosed rebates to Express Scripts and inflated its

  benchmark prices to preserve the actual, net prices that it received for insulin, Minnesota

  residents and the Minnesota Department of Corrections paid more than they otherwise would

  have for NovoLog, Levemir, and Tresiba. But for this conduct, Novo Nordisk would be forced

  to compete with other analog insulin manufacturers on the actual price of their products and the

  price of insulin would decline for everyone.

          166.   The benchmark prices that Novo Nordisk set did not drastically harm other

  components of the pharmaceutical supply chain (such as wholesalers, health plans, and retail

  pharmacies). Each of those entities could pass the deceptively inflated benchmark price on to

  patients.

          167.   Novo Nordisk’s deceptive and misleading conduct, practices, and actions

  described in this Complaint constitute multiple, separate violations of 18 U.S.C. §§ 1961 et seq.

          168.   Novo Nordisk is therefore liable for treble the damage suffered by the State’s

  residents and the Minnesota Department of Corrections, costs, and reasonable attorneys’ fees,

  and should be enjoined from further unlawful conduct as a result of its violations of 18 U.S.C. §

  1962(c).

                                       COUNT IV
                          RICO ACT VIOLATION; 18 U.S.C. § 1962(c)
                                 (AS TO NOVO NORDISK)

          169.   The State re-alleges all prior paragraphs of this Complaint.

          170.   Novo Nordisk is a person as defined by 18 U.S.C. § 1961(3).

          171.   Prime Therapeutics is a person as defined by 18 U.S.C. § 1961(3).




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         172.    The State, its residents, and the Minnesota Department of Corrections are all

  persons as defined by 18 U.S.C. § 1961(3) who were injured by Novo Nordisk’s conduct.

         173.    At all times relevant to this Complaint, Novo Nordisk and Prime Therapeutics

  constituted an enterprise as defined by 18 U.S.C. § 1961(4). For purposes of this count, this

  enterprise is referred to as the “Novo-Prime Enterprise.”

         174.    The Novo-Prime Enterprise consists of an association-in-fact between Novo

  Nordisk, including its directors, employees, and other agents, and Prime Therapeutics, including

  its directors, employees, and other agents.

         175.    The shared and common purpose of the association is to arrange for the sale,

  purchase, and distribution of Novo Nordisk’s NovoLog, Levemir, and Tresiba insulin products

  through the fraudulent scheme described in this Complaint of publishing deceptively inflated

  benchmark prices for these products that were not reasonably reflective of the secret, undisclosed

  net prices that Novo Nordisk actually received for these products due to the rebates and other

  concessions made to Prime Therapeutics—including by arranging placements for these products

  on Prime Therapeutics’ formularies through the negotiation of rebates, price protection factors,

  and discounts for these products with Prime Therapeutics, and through the exclusion of

  competing insulin products from Prime Therapeutics’ formulary—so that both entities could

  profit, in violation of 18 U.S.C. § 1962(c). Perpetuating the use of such fraudulent pricing

  practices was in the common interest of Novo Nordisk and Prime Therapeutics because they

  enhanced Prime Therapeutics’ ability to demand—and Novo Nordisk’s ability to offer—larger

  rebates off of Novo Nordisk’s benchmark prices (to the financial benefit of Prime Therapeutics),

  while also allowing Novo Nordisk to hold its net insulin prices relatively steady (to the financial

  benefit of Novo Nordisk). In other words, Novo Nordisk and Prime Therapeutics had both the




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  mutual incentive to and the common purpose of perpetuating the fraudulent benchmark pricing

  practices described herein for the financial gain of both.

         176.    To accomplish the common purpose of the Novo-Prime Enterprise, the

  component entities, Novo Nordisk and Prime Therapeutics, developed extensive relationships,

  both contractually and financially. The component entities communicated regularly through the

  wires and mail regarding the deceptively and misleadingly inflated benchmark price of

  NovoLog, Levemir, and Tresiba, the rebates that Novo Nordisk would provide Prime

  Therapeutics for favorable formulary placement, and the price protection terms Prime

  Therapeutics demanded to protect against any increase in the benchmark prices of Levemir,

  NovoLog, and Tresiba.

         177.    The Novo-Prime Enterprise affected interstate commerce.          Through their

  respective negotiations, they determined the price of Levemir, NovoLog, and Tresiba sold

  throughout the United States and its territories.

         178.    Prime Therapeutics participated in the conduct of the Novo-Prime Enterprise in a

  variety of ways, including, but not limited to:

                 (a) Negotiating significant rebates from the benchmark prices set by Novo
                     Nordisk for Levemir, NovoLog, and Tresiba;

                 (b) Developing formularies that provided Novo Nordisk favorable placements for
                     Levemir, NovoLog, and Tresiba based on the rebates Prime Therapeutics
                     would earn from the sale of those products;

                 (c) Excluding competing insulin products from certain formularies in exchange
                     for increased rebates;

                 (d) Marketing formularies to health plan clients and making material
                     representations that the rebates negotiated from Novo Nordisk saved those
                     clients and their members money;

                 (e) Making material misrepresentations that the benchmark prices that Novo
                     Nordisk published approximated the actual prices of these insulin products



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                    and that those prices were an accurate basis on which out-of-pocket payments
                    should be based; and

                 (f) Concealing the actual rebates earned from Novo Nordisk from health plan
                     clients and the general public, and therefore concealing the actual, net price
                     Novo Nordisk received for these insulin products.

         179.    Prime Therapeutics’ conduct and participation is essential to the success of the

  enterprise. For Novo Nordisk to maintain its net prices for these products, it required Prime

  Therapeutics to select the products based on the rebates offered, rather than on which ones had

  the lowest benchmark prices. It also required Prime Therapeutics to market to its health plan

  clients that the rebates Novo Nordisk offered saved the clients and their members money to

  conceal the actual rebates paid by Novo Nordisk. Prime Therapeutics’ participation allowed

  Novo Nordisk to inflate its benchmark prices, offer larger rebates to Prime Therapeutics to

  maintain access to that portion of the market, and still earn additional profits from those who

  could not take advantage of those rebates.

         180.    Novo Nordisk participated in, controlled, and conducted the affairs of the Novo-

  Prime Enterprise by, among other ways:

                 (a) Setting deceptive, misleading, and misrepresentative benchmark prices for its
                     Levemir, NovoLog, and Tresiba insulin products;

                 (b) Marketing to Prime Therapeutics the rebates that it could earn for favorable
                     formulary placements of Levemir, NovoLog, and Tresiba, including in some
                     cases, for omitting competing products from certain of its formularies;

                 (c) Including price protection terms in its contracts with Prime Therapeutics,
                     which allowed Prime Therapeutics to earn additional rebates when Novo
                     Nordisk increased its benchmark prices;

                 (d) Paying rebates to Prime Therapeutics for each prescription filled for Levemir,
                     NovoLog, and Tresiba by a Prime Therapeutics health plan member;

                 (e) Reporting to the general public and various price reporting services the
                     benchmark price of Levemir, NovoLog, and Tresiba while claiming that such
                     prices represented the actual approximate price it received for those products;



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                  (f) Inflating the benchmark price of Levemir, NovoLog, and Tresiba to account
                      for the rebates that it paid to Prime Therapeutics; and

                  (g) Misrepresenting and concealing from the general public the magnitude of the
                      rebates that it paid to Prime Therapeutics.

  In so conducting the Novo-Prime Enterprise’s affairs, Novo Nordisk engaged in unlawful

  conduct that it could not have accomplished without Prime Therapeutics—securing through

  fraud and deception favorable treatment on Prime Therapeutics’ formulary for its insulin

  products without having to reduce or otherwise compete on price with rival insulin

  manufacturers, as Novo Nordisk would have had to do in normal commercial circumstances.

         181.     The component entities are all willing and knowing participants in the Novo-

  Prime Enterprise.    Novo Nordisk negotiated rebates with Prime Therapeutics for favorable

  formulary placement and entered into contracts with Prime Therapeutics that concealed both the

  extent of those rebates and the price protection that Novo Nordisk provided Prime Therapeutics.

  Prime Therapeutics represented to its health plan clients that it secured significant savings

  because of those rebates and solicited those clients to select its formularies. All component

  entities of the Novo-Prime Enterprise reaped increased profits from Novo Nordisk’s deceptive

  and misleading representations regarding its benchmark prices.      Novo Nordisk and Prime

  Therapeutics could not have successfully conducted the activities of the Novo-Prime Enterprise

  individually.

         182.     The Novo-Prime Enterprise is on-going and has been in existence for all times

  relevant to this Complaint. Prime Therapeutics continues to have contractual relationships with

  Novo Nordisk; continues to negotiate rebates with Novo Nordisk regarding Levemir, NovoLog,

  and Tresiba; and continues to develop formularies that provide varying levels of preference to

  those products based on the rebates that Novo Nordisk pays Prime Therapeutics.           Prime



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  Therapeutics also continues to make substantial profits on the rebates that it earns from sale of

  Novo Nordisk’s products.

         183.    To accomplish this conduct, and to further the goals of the Novo-Prime

  Enterprise, Novo Nordisk participated in a pattern of racketeering activity, including acts

  indictable as mail fraud, pursuant to 18 U.S.C. § 1341, and wire fraud, pursuant to 18 U.S.C. §

  1343. Novo Nordisk’s conduct included multiple uses of the U.S. Mail and interstate wire

  facilities with the intent to defraud the State, its residents, and the Minnesota Department of

  Corrections. Each such use constitutes “racketeering activity,” as defined by 18 U.S.C. §

  1961(1), and collectively, these uses amount to a “pattern of racketeering conduct,” as defined by

  18 U.S.C. § 1961(5). The use of the U.S. Mail and interstate wire facilities was related to the

  same purpose (i.e., inflating the benchmark price of Levemir, Tresiba, and NovoLog and

  deceptively and misleadingly publicly disseminating these inflated prices), involved the same

  victims, and involved similar actors and methods. It was carried out across state boundaries.

         184.    Through the use of the U.S. Mail and interstate wire facilities, Novo Nordisk

  negotiated rebates for its Levemir, NovoLog, and Tresiba products with Prime Therapeutics.

  Novo Nordisk repeatedly communicated with Prime Therapeutics regarding Novo Nordisk’s

  benchmark prices, the rebates that Novo Nordisk would provide in exchange for favorable

  formulary placement, and price protection agreements to protect Prime Therapeutics from

  increases in Novo Nordisk’s benchmark prices.

         185.    Novo Nordisk then published deceptive, misleading, and misrepresentative

  benchmark prices of Levemir, NovoLog, and Tresiba and used the U.S. Mail and interstate wire

  facilities to transmit information regarding those inflated benchmark prices to various price

  reporting services. Novo Nordisk knew that other entities, including retail pharmacies, would




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  rely on those benchmark prices to determine the price that many Minnesota residents and the

  Minnesota Department of Corrections would pay for Levemir, NovoLog, and Tresiba.               In

  making these transmissions, Novo Nordisk did not disclose the existence, nature, or magnitude

  of the rebates that it paid Prime Therapeutics for favorable formulary placements, nor did it

  disclose the substantial difference between its inflated benchmark prices and net prices. Instead,

  by publishing only its benchmark prices, Novo Nordisk represented that these prices constituted

  an accurate price for its Levemir, Tresiba, and NovoLog products.

          186.    It was also foreseeable to Novo Nordisk that Prime Therapeutics would use the

  U.S. Mail and interstate wire facilities to transmit information regarding the magnitude of the

  rebates that Novo Nordisk paid and to use the U.S. Mail and interstate wire facilities to market

  those rebates as a cost-savings benefit to its health plan clients.

          187.    The number of transmissions that Novo Nordisk sent or caused to be sent

  numbers in the hundreds, if not thousands. They were made by numerous employees of Novo

  Nordisk and Prime Therapeutics, working throughout the country and were repeatedly sent

  across state lines.

          188.    Through this pattern of racketeering conduct, Novo Nordisk was able to publish

  and disseminate deceptive and misleading benchmark prices for Levemir, NovoLog, and Tresiba,

  avoid competing on price with its competitors, and reap increased profits by deceiving those who

  could not take advantage of the rebates that Novo Nordisk provided to Prime Therapeutics. This

  pattern of racketeering conduct is separate and distinct from the Novo-Prime Enterprise. Novo

  Nordisk is a separate and distinct entity from the Novo-Prime Enterprise.

          189.    Novo Nordisk continues to engage in this pattern of racketeering conduct and will

  continue to do so unless the Court enjoins such activity.




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         190.    Novo Nordisk’s pattern of racketeering activity has caused monetary harm both

  directly and indirectly to the State, its residents, and the Minnesota Department of Corrections,

  all of whom have paid deceptively inflated prices for insulin products.

         191.    As previously described, many patients pay all or a portion of their insulin costs

  out-of-pocket. Those with high-deductible health plans pay all of the drug’s cost until their

  deductible is satisfied and do not receive the benefit of the rebate their health plan negotiated.

  Uninsured patients also pay the entire cost of the drug out-of-pocket.         Those covered by

  Medicare Part D also must pay varying amounts out-of-pocket depending on the total amount

  spent. In addition, those with coinsurance pay a percent of their drug’s total cost out-of-pocket.

  Finally, the Minnesota Department of Corrections pays for pharmaceuticals on behalf of inmates

  housed within the correctional system. Each amount that these persons pay is based directly on

  the deceptive and misleading benchmark price that Novo Nordisk set and publicly disseminated.

  Novo Nordisk also knew that payments by these persons were based directly on the benchmark

  price it set, and thus could foresee that such persons would pay more for its insulin products

  when it publicly disseminated its deceptive and misleading benchmark prices.

         192.    Because Novo Nordisk published deceptive and misleading benchmark prices for

  the purpose of marketing larger, undisclosed rebates to Prime Therapeutics and inflated its

  benchmark prices to preserve the actual, net prices that it received for insulin, Minnesota

  residents and the Minnesota Department of Corrections paid more than they otherwise would

  have for NovoLog, Levemir, and Tresiba. But for this conduct, Novo Nordisk would be forced

  to compete with other analog insulin manufacturers on the actual price of their products and the

  price of insulin would decline for everyone.




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          193.   The benchmark prices that Novo Nordisk set did not drastically harm other

  components of the pharmaceutical supply chain (such as wholesalers, health plans, and retail

  pharmacies). Each of those entities could pass the deceptively inflated benchmark price on to

  patients.

          194.   Novo Nordisk’s deceptive and misleading conduct, practices, and actions

  described in this Complaint constitute multiple, separate violations of 18 U.S.C. §§ 1961 et seq.

          195.   Novo Nordisk is therefore liable for treble the damage suffered by the State’s

  residents and the Minnesota Department of Corrections, costs, and reasonable attorneys’ fees,

  and should be enjoined from further unlawful conduct as a result of its violations of 18 U.S.C. §

  1962(c).

                                       COUNT V
                          RICO ACT VIOLATION; 18 U.S.C. § 1962(c)
                                    (AS TO SANOFI)

          196.   The State re-alleges all prior paragraphs of this Complaint.

          197.   Sanofi is a person as defined by 18 U.S.C. § 1961(3).

          198.   CVS is a person as defined by 18 U.S.C. § 1961(3).

          199.   The State, its residents, and the Minnesota Department of Corrections are all

  persons as defined by 18 U.S.C. § 1961(3) who were injured by Sanofi’s conduct.

          200.   At all times relevant to this Complaint, Sanofi and CVS constituted an enterprise

  as defined by 18 U.S.C. § 1961(4). For purposes of this count, this enterprise is referred to as the

  “Sanofi-CVS Enterprise.”

          201.   The Sanofi-CVS Enterprise consists of an association-in-fact between Sanofi,

  including its directors, employees, and other agents, and CVS, including its directors, employees,

  and other agents.




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         202.    The shared and common purpose of the association is to arrange for the sale,

  purchase, and distribution of Sanofi’s Lantus, Apidra, and Toujeo insulin products through the

  fraudulent scheme described in this Complaint of publishing deceptively inflated benchmark

  prices for these products that were not reasonably reflective of the secret, undisclosed net prices

  that Sanofi actually received for these products due to the rebates and other concessions made to

  CVS—including by arranging placements for these products on CVS’s formularies through the

  negotiation of rebates, price protection factors, and discounts for these products with CVS, and

  through the exclusion of competing insulin products from CVS’s formulary—so that both

  entities could profit, in violation of 18 U.S.C. § 1962(c). Perpetuating the use of such fraudulent

  pricing practices was in the common interest of Sanofi and CVS because they enhanced CVS’s

  ability to demand—and Sanofi’s ability to offer—larger rebates off of Sanofi’s benchmark prices

  (to the financial benefit of CVS), while also allowing Sanofi to hold its net insulin prices

  relatively steady (to the financial benefit of Sanofi). In other words, Sanofi and CVS had both

  the mutual incentive to and the common purpose of perpetuating the fraudulent benchmark

  pricing practices described herein for the financial gain of both.

         203.    To accomplish the common purpose of the Sanofi-CVS Enterprise, the

  component entities, Sanofi and CVS, developed extensive relationships, both contractually and

  financially.   The component entities communicated regularly through the wires and mail

  regarding the deceptively and misleadingly inflated benchmark price of Lantus, Apidra, and

  Toujeo, the rebates that Sanofi would provide CVS for favorable formulary placement, and the

  price protection terms CVS demanded to protect against any increase in the benchmark prices of

  Lantus, Apidra, and Toujeo.




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          204.    The Sanofi-CVS Enterprise affected interstate commerce.            Through their

  respective negotiations, they determined the price of Lantus, Apidra, and Toujeo sold throughout

  the United States and its territories.

          205.    CVS participated in the conduct of the Sanofi-CVS Enterprise in a variety of

  ways, including, but not limited to:

                  (a) Negotiating significant rebates from the benchmark prices set by Sanofi for
                      Lantus, Apidra, and Toujeo;

                  (b) Developing formularies that provided Sanofi favorable placements for Lantus,
                      Apidra, and Toujeo based on the rebates CVS would earn from the sale of
                      those products;

                  (c) Excluding competing insulin products from certain formularies in exchange
                      for increased rebates;

                  (d) Marketing formularies to health plan clients and making material
                      representations that the rebates negotiated from Sanofi saved those clients and
                      their members money;

                  (e) Making material misrepresentations that the benchmark prices that Sanofi
                      published approximated the actual prices of these insulin products and that
                      those prices were an accurate basis on which out-of-pocket payments should
                      be based; and

                  (f) Concealing the actual rebates earned from Sanofi from health plan clients and
                      the general public, and therefore concealing the actual, net price Sanofi
                      received for these insulin products.

          206.    CVS’s conduct and participation is essential to the success of the enterprise. For

  Sanofi to maintain its net prices for these products, it required CVS to select the products based

  on the rebates offered, rather than on which ones had the lowest benchmark prices. It also

  required CVS to market to its health plan clients that the rebates Sanofi offered saved the clients

  and their members money to conceal the actual rebates paid by Sanofi. CVS’s participation

  allowed Sanofi to inflate its benchmark prices, offer larger rebates to CVS to maintain access to




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  that portion of the market, and still earn additional profits from those who could not take

  advantage of those rebates.

         207.   Sanofi participated in, controlled, and conducted the affairs of the Sanofi-CVS

  Enterprise by, among other ways:

                (a) Setting deceptive, misleading, and misrepresentative benchmark prices for its
                    Lantus, Apidra, and Toujeo insulin products;

                (b) Marketing to CVS the rebates that it could earn for favorable formulary
                    placements of Lantus, Apidra, and Toujeo, including in some cases, for
                    omitting competing products from certain of its formularies;

                (c) Including price protection terms in its contracts with CVS, which allowed
                    CVS to earn additional rebates when Sanofi increased its benchmark prices;

                (d) Paying rebates to CVS for each prescription filled for Lantus, Apidra, and
                    Toujeo by a CVS health plan member;

                (e) Reporting to the general public and various price reporting services the
                    benchmark price of Lantus, Apidra, and Toujeo while claiming that such
                    prices represented the actual approximate price it received for those products;

                (f) Inflating the benchmark price of Lantus, Apidra, and Toujeo to account for the
                    rebates that it paid to CVS; and

                (g) Misrepresenting and concealing from the general public the magnitude of the
                    rebates that it paid to CVS.

  In so conducting the Sanofi-CVS Enterprise’s affairs, Sanofi engaged in unlawful conduct that it

  could not have accomplished without CVS—securing through fraud and deception favorable

  treatment on CVS’s formulary for its insulin products without having to reduce or otherwise

  compete on price with rival insulin manufacturers, as Sanofi would have had to do in normal

  commercial circumstances.

         208.   The component entities are all willing and knowing participants in the Sanofi-

  CVS Enterprise. Sanofi negotiated rebates with CVS for favorable formulary placement and

  entered into contracts with CVS that concealed both the extent of those rebates and the price



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  protection that Sanofi provided CVS. CVS represented to its health plan clients that it secured

  significant savings because of those rebates and solicited those clients to select its formularies.

  All component entities of the Sanofi-CVS Enterprise reaped increased profits from Sanofi’s

  deceptive and misleading representations regarding its benchmark prices. Sanofi and CVS could

  not have successfully conducted the activities of the Sanofi-CVS Enterprise individually.

         209.    The Sanofi-CVS Enterprise is on-going and has been in existence for all times

  relevant to this Complaint.     CVS continues to have contractual relationships with Sanofi;

  continues to negotiate rebates with Sanofi regarding Lantus, Apidra, and Toujeo; and continues

  to develop formularies that provide varying levels of preference to those products based on the

  rebates that Sanofi pays CVS. CVS also continues to make substantial profits on the rebates that

  it earns from sale of Sanofi’s products.

         210.    To accomplish this conduct, and to further the goals of the Sanofi-CVS

  Enterprise, Sanofi participated in a pattern of racketeering activity, including acts indictable as

  mail fraud, pursuant to 18 U.S.C. § 1341, and wire fraud, pursuant to 18 U.S.C. § 1343. Sanofi’s

  conduct included multiple uses of the U.S. Mail and interstate wire facilities with the intent to

  defraud the State, its residents, and the Minnesota Department of Corrections. Each such use

  constitutes “racketeering activity,” as defined by 18 U.S.C. § 1961(1), and collectively, these

  uses amount to a “pattern of racketeering conduct,” as defined by 18 U.S.C. § 1961(5). The use

  of the U.S. Mail and interstate wire facilities was related to the same purpose (i.e., inflating the

  benchmark price of Lantus, Apidra, and Toujeo and deceptively and misleadingly publicly

  disseminating these inflated prices), involved the same victims, and involved similar actors and

  methods. It was carried out across state boundaries.




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          211.    Through the use of the U.S. Mail and interstate wire facilities, Sanofi negotiated

  rebates for its Lantus, Apidra, and Toujeo products with CVS. Sanofi repeatedly communicated

  with CVS regarding Sanofi’s benchmark prices, the rebates that Sanofi would provide in

  exchange for favorable formulary placement, and price protection agreements to protect CVS

  from increases in Sanofi’s benchmark prices.

          212.    Sanofi then published deceptive, misleading, and misrepresentative benchmark

  prices of Lantus, Apidra, and Toujeo and used the U.S. Mail and interstate wire facilities to

  transmit information regarding those inflated benchmark prices to various price reporting

  services. Sanofi knew that other entities, including retail pharmacies, would rely on those

  benchmark prices to determine the price that many Minnesota residents and the Minnesota

  Department of Corrections would pay for Lantus, Apidra, and Toujeo.               In making these

  transmissions, Sanofi did not disclose the existence, nature, or magnitude of the rebates that it

  paid CVS for favorable formulary placements, nor did it disclose the substantial difference

  between its inflated benchmark prices and net prices. Instead, by publishing only its benchmark

  prices, Sanofi represented that these prices constituted an accurate price for its Lantus, Apidra,

  and Toujeo products.

          213.    It was also foreseeable to Sanofi that CVS would use the U.S. Mail and interstate

  wire facilities to transmit information regarding the magnitude of the rebates that Sanofi paid and

  to use the U.S. Mail and interstate wire facilities to market those rebates as a cost-savings benefit

  to its health plan clients.

          214.    The number of transmissions that Sanofi sent or caused to be sent numbers in the

  hundreds, if not thousands. They were made by numerous employees of Sanofi and CVS,

  working throughout the country and were repeatedly sent across state lines.




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         215.    Through this pattern of racketeering conduct, Sanofi was able to publish and

  disseminate deceptive and misleading benchmark prices for Lantus, Apidra, and Toujeo, avoid

  competing on price with its competitors, and reap increased profits by deceiving those who could

  not take advantage of the rebates that Sanofi provided to CVS. This pattern of racketeering

  conduct is separate and distinct from the Sanofi-CVS Enterprise. Sanofi is a separate and

  distinct entity from the Sanofi-CVS Enterprise.

         216.    Sanofi continues to engage in this pattern of racketeering conduct and will

  continue to do so unless the Court enjoins such activity.

         217.    Sanofi’s pattern of racketeering activity has caused monetary harm both directly

  and indirectly to the State, its residents, and the Minnesota Department of Corrections, all of

  whom have paid deceptively inflated prices for insulin products.

         218.    As previously described, many patients pay all or a portion of their insulin costs

  out-of-pocket. Those with high-deductible health plans pay all of the drug’s cost until their

  deductible is satisfied and do not receive the benefit of the rebate their health plan negotiated.

  Uninsured patients also pay the entire cost of the drug out-of-pocket.        Those covered by

  Medicare Part D also must pay varying amounts out-of-pocket depending on the total amount

  spent. In addition, those with coinsurance pay a percent of their drug’s total cost out-of-pocket.

  Finally, the Minnesota Department of Corrections pays for pharmaceuticals on behalf of inmates

  housed within the correctional system. Each amount that these persons pay is based directly on

  the deceptive and misleading benchmark price that Sanofi set and publicly disseminated. Sanofi

  also knew that payments by these persons were based directly on the benchmark price it set, and

  thus could foresee that such persons would pay more for its insulin products when it publicly

  disseminated its deceptive and misleading benchmark prices.




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         219.    Because Sanofi published deceptive and misleading benchmark prices for the

  purpose of marketing larger, undisclosed rebates to CVS and inflated its benchmark prices to

  preserve the actual, net prices that it received for insulin, Minnesota residents and the Minnesota

  Department of Corrections paid more than they otherwise would have for Lantus, Apidra, and

  Toujeo. But for this conduct, Sanofi would be forced to compete with other analog insulin

  manufacturers on the actual price of their products and the price of insulin would decline for

  everyone.

         220.    The benchmark prices that Sanofi set did not drastically harm other components

  of the pharmaceutical supply chain (such as wholesalers, health plans, and retail pharmacies).

  Each of those entities could pass the deceptively inflated benchmark price on to patients.

         221.    Sanofi’s deceptive and misleading conduct, practices, and actions described in

  this Complaint constitute multiple, separate violations of 18 U.S.C. §§ 1961 et seq.

         222.    Sanofi is therefore liable for treble the damage suffered by the State’s residents

  and the Minnesota Department of Corrections, costs, and reasonable attorneys’ fees, and should

  be enjoined from further unlawful conduct as a result of its violations of 18 U.S.C. § 1962(c).

                                       COUNT VI
                          RICO ACT VIOLATION; 18 U.S.C. § 1962(c)
                                    (AS TO SANOFI)

         223.    The State re-alleges all prior paragraphs of this Complaint.

         224.    Sanofi is a person as defined by 18 U.S.C. § 1961(3).

         225.    OptumRx is a person as defined by 18 U.S.C. § 1961(3).

         226.    The State, its residents, and the Minnesota Department of Corrections are all

  persons as defined by 18 U.S.C. § 1961(3) who were injured by Sanofi’s conduct.




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         227.    At all times relevant to this Complaint, Sanofi and OptumRx constituted an

  enterprise as defined by 18 U.S.C. § 1961(4). For purposes of this count, this enterprise is

  referred to as the “Sanofi-Optum Enterprise.”

         228.    The Sanofi-Optum Enterprise consists of an association-in-fact between Sanofi,

  including its directors, employees, and other agents, and OptumRx, including its directors,

  employees, and other agents.

         229.    The shared and common purpose of the association is to arrange for the sale,

  purchase, and distribution of Sanofi’s Lantus, Apidra, and Toujeo insulin products through the

  fraudulent scheme described in this Complaint of publishing deceptively inflated benchmark

  prices for these products that were not reasonably reflective of the secret, undisclosed net prices

  that Sanofi actually received for these products due to the rebates and other concessions made to

  OptumRx—including by arranging placements for these products on OptumRx’s formularies

  through the negotiation of rebates, price protection factors, and discounts for these products with

  OptumRx, and through the exclusion of competing insulin products from OptumRx’s

  formulary—so that both entities could profit, in violation of 18 U.S.C. § 1962(c). Perpetuating

  the use of such fraudulent pricing practices was in the common interest of Sanofi and OptumRx

  because they enhanced OptumRx’s ability to demand—and Sanofi’s ability to offer—larger

  rebates off of Sanofi’s benchmark prices (to the financial benefit of OptumRx), while also

  allowing Sanofi to hold its net insulin prices relatively steady (to the financial benefit of Sanofi).

  In other words, Sanofi and OptumRx had both the mutual incentive to and the common purpose

  of perpetuating the fraudulent benchmark pricing practices described herein for the financial gain

  of both.




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          230.    To accomplish the common purpose of the Sanofi-Optum Enterprise, the

  component entities, Sanofi and OptumRx, developed extensive relationships, both contractually

  and financially. The component entities communicated regularly through the wires and mail

  regarding the deceptively and misleadingly inflated benchmark price of Lantus, Apidra, and

  Toujeo, the rebates that Sanofi would provide OptumRx for favorable formulary placement, and

  the price protection terms OptumRx demanded to protect against any increase in the benchmark

  prices of Lantus, Apidra, and Toujeo.

          231.    The Sanofi-Optum enterprise affected interstate commerce.           Through their

  respective negotiations, they determined the price of Lantus, Apidra, and Toujeo sold throughout

  the United States and its territories.

          232.    OptumRx participated in the conduct of the Sanofi-Optum Enterprise in a variety

  of ways, including, but not limited to:

                  (a) Negotiating significant rebates from the benchmark prices set by Sanofi for
                      Lantus, Apidra, and Toujeo;

                  (b) Developing formularies that provided Sanofi favorable placements for Lantus,
                      Apidra, and Toujeo based on the rebates OptumRx would earn from the sale
                      of those products;

                  (c) Excluding competing insulin products from certain formularies in exchange
                      for increased rebates;

                  (d) Marketing formularies to health plan clients and making material
                      representations that the rebates negotiated from Sanofi saved those clients and
                      their members money;

                  (e) Making material misrepresentations that the benchmark prices that Sanofi
                      published approximated the actual prices of these insulin products and that
                      those prices were an accurate basis on which out-of-pocket payments should
                      be based; and

                  (f) Concealing the actual rebates earned from Sanofi from health plan clients and
                      the general public, and therefore concealing the actual, net price Sanofi
                      received for these insulin products.



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         233.   OptumRx’s conduct and participation is essential to the success of the enterprise.

  For Sanofi to maintain its net prices for these products, it required OptumRx to select the

  products based on the rebates offered, rather than on which ones had the lowest benchmark

  prices. It also required OptumRx to market to its health plan clients that the rebates Sanofi

  offered saved the clients and their members money to conceal the actual rebates paid by Sanofi.

  OptumRx’s participation allowed Sanofi to inflate its benchmark prices, offer larger rebates to

  OptumRx to maintain access to that portion of the market, and still earn additional profits from

  those who could not take advantage of those rebates.

         234.   Sanofi participated in, controlled, and conducted the affairs of the Sanofi-Optum

  Enterprise by, among other ways:

                (a) Setting deceptive, misleading, and misrepresentative benchmark prices for its
                    Lantus, Apidra, and Toujeo insulin products;

                (b) Marketing to OptumRx the rebates that it could earn for favorable formulary
                    placements of Lantus, Apidra, and Toujeo, including in some cases, for
                    omitting competing products from certain of its formularies;

                (c) Including price protection terms in its contracts with OptumRx, which
                    allowed OptumRx to earn additional rebates when Sanofi increased its
                    benchmark prices;

                (d) Paying rebates to OptumRx for each prescription filled for Lantus, Apidra,
                    and Toujeo by a OptumRx health plan member;

                (e) Reporting to the general public and various price reporting services the
                    benchmark price of Lantus, Apidra, and Toujeo while claiming that such
                    prices represented the actual approximate price it received for those products;

                (f) Inflating the benchmark price of Lantus, Apidra, and Toujeo to account for the
                    rebates that it paid to OptumRx; and

                (g) Misrepresenting and concealing from the general public the magnitude of the
                    rebates that it paid to OptumRx.




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  In so conducting the Sanofi-Optum Enterprise’s affairs, Sanofi engaged in unlawful conduct that

  it could not have accomplished without OptumRx—securing through fraud and deception

  favorable treatment on OptumRx’s formulary for its insulin products without having to reduce or

  otherwise compete on price with rival insulin manufacturers, as Sanofi would have had to do in

  normal commercial circumstances.

         235.    The component entities are all willing and knowing participants in the Sanofi-

  Optum Enterprise. Sanofi negotiated rebates with OptumRx for favorable formulary placement

  and entered into contracts with OptumRx that concealed both the extent of those rebates and the

  price protection that Sanofi provided OptumRx. OptumRx represented to its health plan clients

  that it secured significant savings because of those rebates and solicited those clients to select its

  formularies. All component entities of the Sanofi-Optum Enterprise reaped increased profits

  from Sanofi’s deceptive and misleading representations regarding its benchmark prices. Sanofi

  and OptumRx could not have successfully conducted the activities of the Sanofi-Optum

  Enterprise individually.

         236.    The Sanofi-Optum Enterprise is on-going and has been in existence for all times

  relevant to this Complaint. OptumRx continues to have contractual relationships with Sanofi;

  continues to negotiate rebates with Sanofi regarding Lantus, Apidra, and Toujeo; and continues

  to develop formularies that provide varying levels of preference to those products based on the

  rebates that Sanofi pays OptumRx. OptumRx also continues to make substantial profits on the

  rebates that it earns from sale of Sanofi’s products.

         237.    To accomplish this conduct, and to further the goals of the Sanofi-Optum

  Enterprise, Sanofi participated in a pattern of racketeering activity, including acts indictable as

  mail fraud, pursuant to 18 U.S.C. § 1341, and wire fraud, pursuant to 18 U.S.C. § 1343. Sanofi’s




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  conduct included multiple uses of the U.S. Mail and interstate wire facilities with the intent to

  defraud the State, its residents, and the Minnesota Department of Corrections. Each such use

  constitutes “racketeering activity,” as defined by 18 U.S.C. § 1961(1), and collectively, these

  uses amount to a “pattern of racketeering conduct,” as defined by 18 U.S.C. § 1961(5). The use

  of the U.S. Mail and interstate wire facilities was related to the same purpose (i.e., inflating the

  benchmark price of Lantus, Apidra, and Toujeo and deceptively and misleadingly publicly

  disseminating these inflated prices), involved the same victims, and involved similar actors and

  methods. It was carried out across state boundaries.

         238.    Through the use of the U.S. Mail and interstate wire facilities, Sanofi negotiated

  rebates for its Lantus, Apidra, and Toujeo products with OptumRx.                Sanofi repeatedly

  communicated with OptumRx regarding Sanofi’s benchmark prices, the rebates that Sanofi

  would provide in exchange for favorable formulary placement, and price protection agreements

  to protect OptumRx from increases in Sanofi’s benchmark prices.

         239.    Sanofi then published deceptive, misleading, and misrepresentative benchmark

  prices of Lantus, Apidra, and Toujeo and used the U.S. Mail and interstate wire facilities to

  transmit information regarding those inflated benchmark prices to various price reporting

  services. Sanofi knew that other entities, including retail pharmacies, would rely on those

  benchmark prices to determine the price that many Minnesota residents and the Minnesota

  Department of Corrections would pay for Lantus, Apidra, and Toujeo.               In making these

  transmissions, Sanofi did not disclose the existence, nature, or magnitude of the rebates that it

  paid OptumRx for favorable formulary placements, nor did it disclose the substantial difference

  between its inflated benchmark prices and net prices. Instead, by publishing only its benchmark




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  prices, Sanofi represented that these prices constituted an accurate price for its Lantus, Apidra,

  and Toujeo products.

          240.    It was also foreseeable to Sanofi that OptumRx would use the U.S. Mail and

  interstate wire facilities to transmit information regarding the magnitude of the rebates that

  Sanofi paid and to use the U.S. Mail and interstate wire facilities to market those rebates as a

  cost-savings benefit to its health plan clients.

          241.    The number of transmissions that Sanofi sent or caused to be sent numbers in the

  hundreds, if not thousands. They were made by numerous employees of Sanofi and OptumRx,

  working throughout the country and were repeatedly sent across state lines.

          242.    Through this pattern of racketeering conduct, Sanofi was able to publish and

  disseminate deceptive and misleading benchmark prices for Lantus, Apidra, and Toujeo, avoid

  competing on price with its competitors, and reap increased profits by deceiving those who could

  not take advantage of the rebates that Sanofi provided to OptumRx. This pattern of racketeering

  conduct is separate and distinct from the Sanofi-Optum Enterprise. Sanofi is a separate and

  distinct entity from the Sanofi-Optum Enterprise.

          243.    Sanofi continues to engage in this pattern of racketeering conduct and will

  continue to do so unless the Court enjoins such activity.

          244.    Sanofi’s pattern of racketeering activity has caused monetary harm both directly

  and indirectly to the State, its residents, and the Minnesota Department of Corrections, all of

  whom have paid deceptively inflated prices for insulin products.

          245.    As previously described, many patients pay all or a portion of their insulin costs

  out-of-pocket. Those with high-deductible health plans pay all of the drug’s cost until their

  deductible is satisfied and do not receive the benefit of the rebate their health plan negotiated.




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  Uninsured patients also pay the entire cost of the drug out-of-pocket.         Those covered by

  Medicare Part D also must pay varying amounts out-of-pocket depending on the total amount

  spent. In addition, those with coinsurance pay a percent of their drug’s total cost out-of-pocket.

  Finally, the Minnesota Department of Corrections pays for pharmaceuticals on behalf of inmates

  housed within the correctional system. Each amount that these persons pay is based directly on

  the deceptive and misleading benchmark price that Sanofi set and publicly disseminated. Sanofi

  also knew that payments by these persons were based directly on the benchmark price it set, and

  thus could foresee that such persons would pay more for its insulin products when it publicly

  disseminated its deceptive and misleading benchmark prices.

         246.     Because Sanofi published deceptive and misleading benchmark prices for the

  purpose of marketing larger, undisclosed rebates to OptumRx and inflated its benchmark prices

  to preserve the actual, net prices that it received for insulin, Minnesota residents and the

  Minnesota Department of Corrections paid more than they otherwise would have for Lantus,

  Apidra, and Toujeo. But for this conduct, Sanofi would be forced to compete with other analog

  insulin manufacturers on the actual price of their products and the price of insulin would decline

  for everyone.

         247.     The benchmark prices that Sanofi set did not drastically harm other components

  of the pharmaceutical supply chain (such as wholesalers, health plans, and retail pharmacies).

  Each of those entities could pass the deceptively inflated benchmark price on to patients.

         248.     Sanofi’s deceptive and misleading conduct, practices, and actions described in

  this Complaint constitute multiple, separate violations of 18 U.S.C. §§ 1961 et seq.




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         249.    Sanofi is therefore liable for treble the damage suffered by the State’s residents

  and the Minnesota Department of Corrections, costs, and reasonable attorneys’ fees, and should

  be enjoined from further unlawful conduct as a result of its violations of 18 U.S.C. § 1962(c).

                                      COUNT VII
                          RICO ACT VIOLATION; 18 U.S.C. § 1962(c)
                                    (AS TO SANOFI)

         250.    The State re-alleges all prior paragraphs of this Complaint.

         251.    Sanofi is a person as defined by 18 U.S.C. § 1961(3).

         252.    Express Scripts is a person as defined by 18 U.S.C. § 1961(3).

         253.    The State, its residents, and the Minnesota Department of Corrections are all

  persons as defined by 18 U.S.C. § 1961(3) who were injured by Sanofi’s conduct.

         254.    At all times relevant to this Complaint, Sanofi and Express Scripts constituted an

  enterprise as defined by 18 U.S.C. § 1961(4). For purposes of this count, this enterprise is

  referred to as the “Sanofi-Express Scripts Enterprise.”

         255.    The Sanofi-Express Scripts Enterprise consists of an association-in-fact between

  Sanofi, including its directors, employees, and other agents, and Express Scripts, including its

  directors, employees, and other agents.

         256.    The shared and common purpose of the association is to arrange for the sale,

  purchase, and distribution of Sanofi’s Lantus, Apidra, and Toujeo insulin products through the

  fraudulent scheme described in this Complaint of publishing deceptively inflated benchmark

  prices for these products that were not reasonably reflective of the secret, undisclosed net prices

  that Sanofi actually received for these products due to the rebates and other concessions made to

  Express Scripts—including by arranging placements for these products on Express Scripts’s

  formularies through the negotiation of rebates, price protection factors, and discounts for these




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  products with Express Scripts, and through the exclusion of competing insulin products from

  Express Scripts’s formulary—so that both entities could profit, in violation of 18 U.S.C. §

  1962(c). Perpetuating the use of such fraudulent pricing practices was in the common interest of

  Sanofi and Express Scripts because they enhanced Express Scripts’ ability to demand—and

  Sanofi’s ability to offer—larger rebates off of Sanofi’s benchmark prices (to the financial benefit

  of Express Scripts), while also allowing Sanofi to hold its net insulin prices relatively steady (to

  the financial benefit of Sanofi). In other words, Sanofi and Express Scripts had both the mutual

  incentive to and the common purpose of perpetuating the fraudulent benchmark pricing practices

  described herein for the financial gain of both.

         257.    To accomplish the common purpose of the Sanofi-Express Scripts Enterprise, the

  component entities, Sanofi and Express Scripts, developed extensive relationships, both

  contractually and financially. The component entities communicated regularly through the wires

  and mail regarding the deceptively and misleadingly inflated benchmark price of Lantus, Apidra,

  and Toujeo, the rebates that Sanofi would provide Express Scripts for favorable formulary

  placement, and the price protection terms Express Scripts demanded to protect against any

  increase in the benchmark prices of Lantus, Apidra, and Toujeo.

         258.    The Sanofi-Express Scripts enterprise affected interstate commerce. Through

  their respective negotiations, they determined the price of Lantus, Apidra, and Toujeo which

  were sold throughout the United States and its territories.

         259.    Express Scripts participated in the conduct of the Sanofi-Express Scripts

  Enterprise in a variety of ways, including, but not limited to:

                 (a) Negotiating significant rebates from the benchmark prices set by Sanofi for
                     Lantus, Apidra, and Toujeo;




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                 (b) Developing formularies that provided Sanofi favorable placements for Lantus,
                     Apidra, and Toujeo based on the rebates Express Scripts would earn from the
                     sale of those products;

                 (c) Excluding competing insulin products from certain formularies in exchange
                     for increased rebates;

                 (d) Marketing formularies to health plan clients and making material
                     representations that the rebates negotiated from Sanofi saved those clients and
                     their members money;

                 (e) Making material misrepresentations that the benchmark prices that Sanofi
                     published approximated the actual prices of these insulin products and that
                     those prices were an accurate basis on which out-of-pocket payments should
                     be based; and

                 (f) Concealing the actual rebates earned from Sanofi from health plan clients and
                     the general public, and therefore concealing the actual, net price Sanofi
                     received charged for these insulin products.

         260.    Express Scripts’s conduct and participation is essential to the success of the

  enterprise. For Sanofi to maintain its net prices for these products, it required Express Scripts to

  select the products based on the rebates offered, rather than on which ones had the lowest

  benchmark prices. It also required Express Scripts to market to its health plan clients that the

  rebates Sanofi offered saved the clients and their members money to conceal the actual rebates

  paid by Sanofi. Express Scripts’s participation allowed Sanofi to inflate its benchmark prices,

  offer larger rebates to Express Scripts to maintain access to that portion of the market, and still

  earn additional profits from those who could not take advantage of those rebates.

         261.    Sanofi participated in, controlled, and conducted the affairs of the Sanofi-Express

  Scripts Enterprise by, among other ways:

                 (a) Setting deceptive, misleading, and misrepresentative benchmark prices for its
                     Lantus, Apidra, and Toujeo insulin products;

                 (b) Marketing to Express Scripts the rebates that it could earn for favorable
                     formulary placements of Lantus, Apidra, and Toujeo, including in some cases,
                     for omitting competing products from certain of its formularies;



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                 (c) Including price protection terms in its contracts with Express Scripts, which
                     allowed Express Scripts to earn additional rebates when Sanofi increased its
                     benchmark prices;

                 (d) Paying rebates to Express Scripts for each prescription filled for Lantus,
                     Apidra, and Toujeo by a Express Scripts health plan member;

                 (e) Reporting to the general public and various price reporting services the
                     benchmark price of Lantus, Apidra, and Toujeo while claiming that such
                     prices represented the actual approximate price it receives for those products;

                 (f) Inflating the benchmark price of Lantus, Apidra, and Toujeo to account for the
                     rebates that it paid to Express Scripts; and

                 (g) Misrepresenting and concealing from the general public the magnitude of the
                     rebates that it paid to Express Scripts.

  In so conducting the Sanofi-Express Scripts Enterprise’s affairs, Sanofi engaged in unlawful

  conduct that it could not have accomplished without Express Scripts—securing through fraud

  and deception favorable treatment on Express Scripts’s formulary for its insulin products without

  having to reduce or otherwise compete on price with rival insulin manufacturers, as Sanofi

  would have had to do in normal commercial circumstances.

         262.    The component entities are all willing and knowing participants in the Sanofi-

  Express Scripts Enterprise.     Sanofi negotiated rebates with Express Scripts for favorable

  formulary placement and entered into contracts with Express Scripts that concealed both the

  extent of those rebates and the price protection that Sanofi provided Express Scripts. Express

  Scripts represented to its health plan clients that it secured significant savings because of those

  rebates and solicited those clients to select its formularies. All component entities of the Sanofi-

  Express Scripts Enterprise reaped increased profits from Sanofi’s deceptive and misleading

  representations regarding its benchmark prices. Sanofi and Express Scripts could not have

  successfully conducted the activities of the Sanofi-Express Scripts Enterprise individually.




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         263.    The Sanofi-Express Scripts Enterprise is on-going and has been in existence for

  all times relevant to this Complaint. Express Scripts continues to have contractual relationships

  with Sanofi; continues to negotiate rebates with Sanofi regarding Lantus, Apidra, and Toujeo;

  and continues to develop formularies that provide varying levels of preference to those products

  based on the rebates that Sanofi pays Express Scripts. Express Scripts also continues to make

  substantial profits on the rebates that it earns from sale of Sanofi’s products.

         264.    To accomplish this conduct, and to further the goals of the Sanofi-Express Scripts

  Enterprise, Sanofi participated in a pattern of racketeering activity, including acts indictable as

  mail fraud, pursuant to 18 U.S.C. § 1341, and wire fraud, pursuant to 18 U.S.C. § 1343. Sanofi’s

  conduct included multiple uses of the U.S. Mail and interstate wire facilities with the intent to

  defraud the State, its residents, and the Minnesota Department of Corrections. Each such use

  constitutes “racketeering activity,” as defined by 18 U.S.C. § 1961(1), and collectively, these

  uses amount to a “pattern of racketeering conduct,” as defined by 18 U.S.C. § 1961(5). The use

  of the U.S. Mail and interstate wire facilities was related to the same purpose (i.e., inflating the

  benchmark price of Lantus, Apidra, and Toujeo and deceptively and misleadingly publicly

  disseminating these inflated prices), involved the same victims, and involved similar actors and

  methods. It was carried out across state boundaries.

         265.    Through the use of the U.S. Mail and interstate wire facilities, Sanofi negotiated

  rebates for its Lantus, Apidra, and Toujeo products with Express Scripts. Sanofi repeatedly

  communicated with Express Scripts regarding Sanofi’s benchmark prices, the rebates that Sanofi

  would provide in exchange for favorable formulary placement, and price protection agreements

  to protect Express Scripts from increases in Sanofi’s benchmark prices.




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          266.    Sanofi then published deceptive, misleading, and misrepresentative benchmark

  prices of Lantus, Apidra, and Toujeo and used the U.S. Mail and interstate wire facilities to

  transmit information regarding those inflated prices to various price reporting services. Sanofi

  knew that other entities, including retail pharmacies, would rely on those benchmark prices to

  determine the price that many Minnesota residents and the Minnesota Department of Corrections

  would pay for Lantus, Apidra, and Toujeo. In making these transmissions, Sanofi did not

  disclose the existence, nature, or magnitude of the rebates that it paid Express Scripts for

  favorable formulary placements, nor did it disclose the substantial difference between its inflated

  benchmark prices and net prices. Instead, by publishing only its benchmark prices, Sanofi

  represented that these prices constituted an accurate price for its Lantus, Apidra, and Toujeo

  products.

          267.    It was also foreseeable to Sanofi that Express Scripts would use the U.S. Mail and

  interstate wire facilities to transmit information regarding the magnitude of the rebates that

  Sanofi paid and to use the U.S. Mail and interstate wire facilities to market those rebates as a

  cost-savings benefit to its health plan clients.

          268.    The number of transmissions that Sanofi sent or caused to be sent numbers in the

  hundreds, if not thousands. They were made by numerous employees of Sanofi and Express

  Scripts, working throughout the country and were repeatedly sent across state lines.

          269.    Through this pattern of racketeering conduct, Sanofi was able to publish and

  disseminate deceptive and misleading benchmark prices for Lantus, Apidra, and Toujeo, avoid

  competing on price with its competitors, and reap increased profits by deceiving those who could

  not take advantage of the rebates that Sanofi provided to Express Scripts. This pattern of




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  racketeering conduct is separate and distinct from the Sanofi-Express Scripts Enterprise. Sanofi

  is a separate and distinct entity from the Sanofi-Express Scripts Enterprise.

         270.    Sanofi continues to engage in this pattern of racketeering conduct and will

  continue to do so unless the Court enjoins such activity.

         271.    Sanofi’s pattern of racketeering activity has caused monetary harm both directly

  and indirectly to the State, its residents, and the Minnesota Department of Corrections, all of

  whom have paid deceptively inflated prices for insulin products.

         272.    As previously described, many patients pay all or a portion of their insulin costs

  out-of-pocket. Those with high-deductible health plans pay all of the drug’s cost until their

  deductible is satisfied and do not receive the benefit of the rebate their health plan negotiated.

  Uninsured patients also pay the entire cost of the drug out-of-pocket.          Those covered by

  Medicare Part D also must pay varying amounts out-of-pocket depending on the total amount

  spent. In addition, those with coinsurance pay a percent of their drug’s total cost out-of-pocket.

  Finally, the Minnesota Department of Corrections pays for pharmaceuticals on behalf of inmates

  housed within the correctional system. Each amount that these persons pay is based directly on

  the deceptive and misleading benchmark price that Sanofi set and publicly disseminated. Sanofi

  also knew that payments by these persons were based directly on the benchmark price it set, and

  thus could foresee that such persons would pay more for its insulin products when it publicly

  disseminated its deceptive and misleading benchmark prices.

         273.    Because Sanofi published deceptive and misleading benchmark prices for the

  purpose of marketing larger, undisclosed rebates to Express Scripts and inflated its benchmark

  prices to preserve the net prices that it received for insulin, Minnesota residents and the

  Minnesota Department of Corrections paid more than they otherwise would have for Lantus,




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  Apidra, and Toujeo. But for this conduct, Sanofi would be forced to compete with other analog

  insulin manufacturers on the actual price of their products and the price of insulin would decline

  for everyone.

         274.     The benchmark prices that Sanofi set did not drastically harm other components

  of the pharmaceutical supply chain (such as wholesalers, health plans, and retail pharmacies).

  Each of those entities could pass the deceptively inflated benchmark price on to patients.

         275.     Sanofi’s deceptive and misleading conduct, practices, and actions described in

  this Complaint constitute multiple, separate violations of 18 U.S.C. §§ 1961 et seq.

         276.     Sanofi is therefore liable for treble the damage suffered by the State’s residents

  and the Minnesota Department of Corrections, costs, and reasonable attorneys’ fees, and should

  be enjoined from further unlawful conduct as a result of its violations of 18 U.S.C. § 1962(c).

                                       COUNT VIII
                           RICO ACT VIOLATION; 18 U.S.C. § 1962(c)
                                     (AS TO SANOFI)

         277.     The State re-alleges all prior paragraphs of this Complaint.

         278.     Sanofi is a person as defined by 18 U.S.C. § 1961(3).

         279.     Prime Therapeutics is a person as defined by 18 U.S.C. § 1961(3).

         280.     The State, its residents, and the Minnesota Department of Corrections are all

  persons as defined by 18 U.S.C. § 1961(3) who were injured by Sanofi’s conduct.

         281.     At all times relevant to this Complaint, Sanofi and Prime Therapeutics constituted

  an enterprise as defined by 18 U.S.C. § 1961(4). For purposes of this count, this enterprise is

  referred to as the “Sanofi-Prime Enterprise.”




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          282.   The Sanofi-Prime Enterprise consists of an association-in-fact between Sanofi,

  including its directors, employees, and other agents, and Prime Therapeutics, including its

  directors, employees, and other agents.

          283.   The shared and common purpose of the association is to arrange for the sale,

  purchase, and distribution of Sanofi’s Lantus, Apidra, and Toujeo insulin products through the

  fraudulent scheme described in this Complaint of publishing deceptively inflated benchmark

  prices for these products that were not reasonably reflective of the secret, undisclosed net prices

  that Sanofi actually received for these products due to the rebates and other concessions made to

  Prime Therapeutics—including by arranging placements for these products on Prime

  Therapeutics’ formularies through the negotiation of rebates, price protection factors, and

  discounts for these products with Prime Therapeutics, and through the exclusion of competing

  insulin products from Prime Therapeutics’ formulary—so that both entities could profit, in

  violation of 18 U.S.C. § 1962(c). Perpetuating the use of such fraudulent pricing practices was

  in the common interest of Sanofi and Prime Therapeutics because they enhanced Prime

  Therapeutics’ ability to demand—and Sanofi’s ability to offer—larger rebates off of Sanofi’s

  benchmark prices (to the financial benefit of Prime Therapeutics), while also allowing Sanofi to

  hold its net insulin prices relatively steady (to the financial benefit of Sanofi). In other words,

  Sanofi and Prime Therapeutics had both the mutual incentive to and the common purpose of

  perpetuating the fraudulent benchmark pricing practices described herein for the financial gain of

  both.

          284.   To accomplish the common purpose of the Sanofi-Prime Enterprise, the

  component entities, Sanofi and Prime Therapeutics, developed extensive relationships, both

  contractually and financially. The component entities communicated regularly through the wires




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  and mail regarding the deceptively and misleadingly inflated benchmark price of Lantus, Apidra,

  and Toujeo, the rebates that Sanofi would provide Prime Therapeutics for favorable formulary

  placement, and the price protection terms Prime Therapeutics demanded to protect against any

  increase in the benchmark prices of Lantus, Apidra, and Toujeo.

          285.    The Sanofi-Prime Enterprise affected interstate commerce.           Through their

  respective negotiations, they determined the price of Lantus, Apidra, and Toujeo sold throughout

  the United States and its territories.

          286.    Prime Therapeutics participated in the conduct of the Sanofi-Prime Enterprise in a

  variety of ways, including, but not limited to:

                  (a) Negotiating significant rebates from the benchmark prices set by Sanofi for
                      Lantus, Apidra, and Toujeo;

                  (b) Developing formularies that provided Sanofi favorable placements for Lantus,
                      Apidra, and Toujeo based on the rebates Prime Therapeutics would earn from
                      the sale of those products;

                  (c) Excluding competing insulin products from certain formularies in exchange
                      for increased rebates;

                  (d) Marketing formularies to health plan clients and making material
                      representations that the rebates negotiated from Sanofi saved those clients and
                      their members money;

                  (e) Making material misrepresentations that the benchmark prices that Sanofi
                      published approximated the actual prices of these insulin products and that
                      those prices were an accurate basis on which out-of-pocket payments should
                      be based; and

                  (f) Concealing the actual rebates earned from Sanofi from health plan clients and
                      the general public, and therefore concealing the actual, net price Sanofi
                      received for these insulin products.

          287.    Prime Therapeutics’ conduct and participation is essential to the success of the

  enterprise.    For Sanofi to maintain its net prices for these products, it required Prime

  Therapeutics to select the products based on the rebates offered, rather than on which ones had



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  the lowest benchmark price. It also required Prime Therapeutics to market to its health plan

  clients that the rebates Sanofi offered saved the clients and their members money to conceal the

  actual rebates paid by Sanofi. Prime Therapeutics’ participation allowed Sanofi to inflate its

  benchmark prices, offer larger rebates to Prime Therapeutics to maintain access to that portion of

  the market, and still earn additional profits from those who could not take advantage of those

  rebates.

         288.    Sanofi participated in, controlled, and conducted the affairs of the Sanofi-Prime

  Enterprise by, among other ways:

                 (a) Setting deceptive, misleading, and misrepresentative benchmark prices for its
                     Lantus, Apidra, and Toujeo insulin products;

                 (b) Marketing to Prime Therapeutics the rebates that it could earn for favorable
                     formulary placements of Lantus, Apidra, and Toujeo, including in some cases,
                     for omitting competing products from certain of its formularies;

                 (c) Including price protection terms in its contracts with Prime Therapeutics,
                     which allowed Prime Therapeutics to earn additional rebates when Sanofi
                     increased its benchmark prices;

                 (d) Paying rebates to Prime Therapeutics for each prescription filled for Lantus,
                     Apidra, and Toujeo by a Prime Therapeutics health plan member;

                 (e) Reporting to the general public and various price reporting services the
                     benchmark price of Lantus, Apidra, and Toujeo while claiming that such
                     prices represented the actual approximate price it received for those products;

                 (f) Inflating the benchmark price of Lantus, Apidra, and Toujeo to account for the
                     rebates that it paid to Prime Therapeutics; and

                 (g) Misrepresenting and concealing from the general public the magnitude of the
                     rebates that it paid to Prime Therapeutics.

  In so conducting the Sanofi-Prime Enterprise’s affairs, Sanofi engaged in unlawful conduct that

  it could not have accomplished without Prime Therapeutics—securing through fraud and

  deception favorable treatment on Prime Therapeutics’s formulary for its insulin products without




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  having to reduce or otherwise compete on price with rival insulin manufacturers, as Sanofi

  would have had to do in normal commercial circumstances.

         289.    The component entities are all willing and knowing participants in the Sanofi-

  Prime Enterprise. Sanofi negotiated rebates with Prime Therapeutics for favorable formulary

  placement and entered into contracts with Prime Therapeutics that concealed both the extent of

  those rebates and the price protection that Sanofi provided Prime Therapeutics.             Prime

  Therapeutics represented to its health plan clients that it secured significant savings because of

  those rebates and solicited those clients to select its formularies. All component entities of the

  Sanofi-Prime Enterprise reaped increased profits from Sanofi’s deceptive and misleading

  representations regarding its benchmark prices. Sanofi and Prime Therapeutics could not have

  successfully conducted the activities of the Sanofi-Prime Enterprise individually.

         290.    The Sanofi-Prime Enterprise is on-going and has been in existence for all times

  relevant to this Complaint. Prime Therapeutics continues to have contractual relationships with

  Sanofi; continues to negotiate rebates with Sanofi regarding Lantus, Apidra, and Toujeo; and

  continues to develop formularies that provide varying levels of preference to those products

  based on the rebates that Sanofi pays Prime Therapeutics. Prime Therapeutics also continues to

  make substantial profits on the rebates that it earns from sale of Sanofi’s products.

         291.    To accomplish this conduct, and to further the goals of the Sanofi-Prime

  Enterprise, Sanofi participated in a pattern of racketeering activity, including acts indictable as

  mail fraud, pursuant to 18 U.S.C. § 1341, and wire fraud, pursuant to 18 U.S.C. § 1343. Sanofi’s

  conduct included multiple uses of the U.S. Mail and interstate wire facilities with the intent to

  defraud the State, its residents, and the Minnesota Department of Corrections. Each such use

  constitutes “racketeering activity,” as defined by 18 U.S.C. § 1961(1), and collectively, these




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  uses amount to a “pattern of racketeering conduct,” as defined by 18 U.S.C. § 1961(5). The use

  of the U.S. Mail and interstate wire facilities was related to the same purpose (i.e., inflating the

  benchmark price of Lantus, Apidra, and Toujeo and deceptively and misleadingly publicly

  disseminating these inflated prices), involved the same victims, and involved similar actors and

  methods. It was carried out across state boundaries.

         292.    Through the use of the U.S. Mail and interstate wire facilities, Sanofi negotiated

  rebates for its Lantus, Apidra, and Toujeo products with Prime Therapeutics. Sanofi repeatedly

  communicated with Prime Therapeutics regarding Sanofi’s benchmark prices, the rebates that

  Sanofi would provide in exchange for favorable formulary placement, and price protection

  agreements to protect Prime Therapeutics from increases in Sanofi’s benchmark prices.

         293.    Sanofi then published deceptive, misleading, and misrepresentative benchmark

  prices of Lantus, Apidra, and Toujeo and used the U.S. Mail and interstate wire facilities to

  transmit information regarding those inflated prices to various price reporting services. Sanofi

  knew that other entities, including retail pharmacies, would rely on those benchmark prices to

  determine the price that many Minnesota residents and the Minnesota Department of Corrections

  would pay for Lantus, Apidra, and Toujeo. In making these transmissions, Sanofi did not

  disclose the existence, nature, or magnitude of the rebates that it paid Prime Therapeutics for

  favorable formulary placements, nor did it disclose the substantial difference between its inflated

  benchmark prices and net prices. Instead, by publishing only its benchmark prices, Sanofi

  represented that these prices constituted an accurate price for its Lantus, Apidra, and Toujeo

  products.

         294.    It was also foreseeable to Sanofi that Prime Therapeutics would use the U.S. Mail

  and interstate wire facilities to transmit information regarding the magnitude of the rebates that




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  Sanofi paid and to use the U.S. Mail and interstate wire facilities to market those rebates as a

  cost-savings benefit to its health plan clients.

          295.    The number of transmissions that Sanofi sent or caused to be sent numbers in the

  hundreds, if not thousands. They were made by numerous employees of Sanofi and Prime

  Therapeutics, working throughout the country and were repeatedly sent across state lines.

          296.    Through this pattern of racketeering conduct, Sanofi was able to publish and

  disseminate deceptive and misleading benchmark prices for Lantus, Apidra, and Toujeo, avoid

  competing on price with its competitors, and reap increased profits by deceiving those who could

  not take advantage of the rebates that Sanofi provided to Prime Therapeutics. This pattern of

  racketeering conduct is separate and distinct from the Sanofi-Prime Enterprise. Sanofi is a

  separate and distinct entity from the Sanofi-Prime Enterprise.

          297.    Sanofi continues to engage in this pattern of racketeering conduct and will

  continue to do so unless the Court enjoins such activity.

          298.    Sanofi’s pattern of racketeering activity has caused monetary harm both directly

  and indirectly to the State, its residents, and the Minnesota Department of Corrections, all of

  whom have paid deceptively inflated prices for insulin products.

          299.    As previously described, many patients pay all or a portion of their insulin costs

  out-of-pocket. Those with high-deductible health plans pay all of the drug’s cost until their

  deductible is satisfied and do not receive the benefit of the rebate their health plan negotiated.

  Uninsured patients also pay the entire cost of the drug out-of-pocket.        Those covered by

  Medicare Part D also must pay varying amounts out-of-pocket depending on the total amount

  spent. In addition, those with coinsurance pay a percent of their drug’s total cost out-of-pocket.

  Finally, the Minnesota Department of Corrections pays for pharmaceuticals on behalf of inmates




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  housed within the correctional system. Each amount that these persons pay is based directly on

  the deceptive and misleading benchmark price that Sanofi set and publicly disseminated. Sanofi

  also knew that payments by these persons were based directly on the benchmark price it set, and

  thus could foresee that such persons would pay more for its insulin products when it publicly

  disseminated its deceptive and misleading benchmark prices.

         300.    Because Sanofi published deceptive and misleading benchmark prices for the

  purpose of marketing larger, undisclosed rebates to Prime Therapeutics and inflated its

  benchmark prices to preserve the actual, net prices that it received for insulin, Minnesota

  residents and the Minnesota Department of Corrections paid more than they otherwise would

  have for Lantus, Apidra, and Toujeo. But for this conduct, Sanofi would be forced to compete

  with other analog insulin manufacturers on the actual price of their products and the price of

  insulin would decline for everyone.

         301.    The benchmark prices that Sanofi set did not drastically harm other components

  of the pharmaceutical supply chain (such as wholesalers, health plans, and retail pharmacies).

  Each of those entities could pass the deceptively inflated benchmark price on to patients.

         302.    Sanofi’s deceptive and misleading conduct, practices, and actions described in

  this Complaint constitute multiple, separate violations of 18 U.S.C. §§ 1961 et seq.

         303.    Sanofi is therefore liable for treble the damage suffered by the State’s residents

  and the Minnesota Department of Corrections, costs, and reasonable attorneys’ fees, and should

  be enjoined from further unlawful conduct as a result of its violations of 18 U.S.C. § 1962(c).




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                                       COUNT IX
                          RICO ACT VIOLATION; 18 U.S.C. § 1962(c)
                                   (AS TO ELI LILLY)

         304.    The State re-alleges all prior paragraphs of this Complaint.

         305.    Eli Lilly is a person as defined by 18 U.S.C. § 1961(3).

         306.    CVS is a person as defined by 18 U.S.C. § 1961(3).

         307.    The State, its residents, and the Minnesota Department of Corrections are all

  persons as defined by 18 U.S.C. § 1961(3) who were injured by Eli Lilly’s conduct.

         308.    At all times relevant to this Complaint, Eli Lilly and CVS constituted an

  enterprise as defined by 18 U.S.C. § 1961(4). For purposes of this count, this enterprise is

  referred to as the “Eli Lilly-CVS Enterprise.”

         309.    The Eli Lilly-CVS Enterprise consists of an association-in-fact between Eli Lilly,

  including its directors, employees, and other agents, and CVS, including its directors, employees,

  and other agents.

         310.    The shared and common purpose of the association is to arrange for the sale,

  purchase, and distribution of Eli Lilly’s HumaLog and Basaglar insulin products through the

  fraudulent scheme described in this Complaint of publishing deceptively inflated benchmark

  prices for these products that were not reasonably reflective of the secret, undisclosed net prices

  that Eli Lilly actually received for these products due to the rebates and other concessions made

  to CVS—including by arranging placements for these products on CVS’s formularies through

  the negotiation of rebates, price protection factors, and discounts for these products with CVS,

  and through the exclusion of competing insulin products from CVS’s formulary—so that both

  entities could profit, in violation of 18 U.S.C. § 1962(c). Perpetuating the use of such fraudulent

  pricing practices was in the common interest of Eli Lilly and CVS because they enhanced CVS’s




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  ability to demand—and Eli Lilly’s ability to offer—larger rebates off of Eli Lilly’s benchmark

  prices (to the financial benefit of CVS), while also allowing Eli Lilly to hold its net insulin prices

  relatively steady (to the financial benefit of Eli Lilly). In other words, Eli Lilly and CVS had

  both the mutual incentive to and the common purpose of perpetuating the fraudulent benchmark

  pricing practices described herein for the financial gain of both.

          311.    To accomplish the common purpose of the Eli Lilly-CVS Enterprise, the

  component entities, Eli Lilly and CVS, developed extensive relationships, both contractually and

  financially.   The component entities communicated regularly through the wires and mail

  regarding the deceptively and misleadingly inflated benchmark price of HumaLog and Basaglar,

  the rebates that Eli Lilly would provide CVS for favorable formulary placement, and the price

  protection terms CVS demanded to protect against any increase in the benchmark prices of

  HumaLog and Basaglar.

          312.    The Eli Lilly-CVS enterprise affected interstate commerce.            Through their

  respective negotiations, they determined the price of HumaLog and Basaglar sold throughout the

  United States and its territories.

          313.    CVS participated in the conduct of the Eli Lilly-CVS Enterprise in a variety of

  ways, including, but not limited to:

                  (a) Negotiating significant rebates from the benchmark prices set by Eli Lilly for
                      HumaLog and Basaglar;

                  (b) Developing formularies that provided Eli Lilly favorable placements for
                      HumaLog and Basaglar based on the rebates CVS would earn from the sale of
                      those products;

                  (c) Excluding competing insulin products from certain formularies in exchange
                      for increased rebates;




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                 (d) Marketing formularies to health plan clients and making material
                     representations that the rebates negotiated from Eli Lilly saved those clients
                     and their members money;

                 (e) Making material misrepresentations that the benchmark prices that Eli Lilly
                     published approximated the actual prices of these insulin products and that
                     those prices were an accurate basis on which out-of-pocket payments should
                     be based; and

                 (f) Concealing the actual rebates earned from Eli Lilly from health plan clients
                     and the general public, and therefore concealing the actual, net price Eli Lilly
                     received for these insulin products.

         314.    CVS’s conduct and participation is essential to the success of the enterprise. For

  Eli Lilly to maintain its net prices for these products, it required CVS to select the products based

  on the rebates offered, rather than on which ones had the lowest benchmark prices. It also

  required CVS to market to its health plan clients that the rebates Eli Lilly offered saved the

  clients and their members money to conceal the actual rebates paid by Eli Lilly. CVS’s

  participation allowed Eli Lilly to inflate its benchmark prices, offer larger rebates to CVS to

  maintain access to that portion of the market, and still earn additional profits from those who

  could not take advantage of those rebates.

         315.    Eli Lilly participated in, controlled, and conducted the affairs of the Eli Lilly-CVS

  Enterprise by, among other ways:

                 (a) Setting deceptive, misleading, and misrepresentative benchmark prices for its
                     HumaLog and Basaglar insulin products;

                 (b) Marketing to CVS the rebates that it could earn for favorable formulary
                     placements of HumaLog and Basaglar, including in some cases, for omitting
                     competing products from certain of its formularies;

                 (c) Including price protection terms in its contracts with CVS, which allowed
                     CVS to earn additional rebates when Eli Lilly increased its benchmark prices;

                 (d) Paying rebates to CVS for each prescription filled for HumaLog and Basaglar
                     by a CVS health plan member;




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                 (e) Reporting to the general public and various price reporting services the
                     benchmark price of HumaLog and Basaglar while claiming that such prices
                     represented the actual approximate price it received for those products;

                 (f) Inflating the benchmark price of HumaLog and Basaglar to account for the
                     rebates that it paid to CVS; and

                 (g) Misrepresenting and concealing from the general public the magnitude of the
                     rebates that it paid to CVS.

  In so conducting the Eli Lilly-CVS Enterprise’s affairs, Eli Lilly engaged in unlawful conduct

  that it could not have accomplished without CVS—securing through fraud and deception

  favorable treatment on CVS’s formulary for its insulin products without having to reduce or

  otherwise compete on price with rival insulin manufacturers, as Eli Lilly would have had to do in

  normal commercial circumstances.

         316.    The component entities are all willing and knowing participants in the Eli Lilly-

  CVS Enterprise. Eli Lilly negotiated rebates with CVS for favorable formulary placement and

  entered into contracts with CVS that concealed both the extent of those rebates and the price

  protection that Eli Lilly provided CVS. CVS represented to its health plan clients that it secured

  significant savings because of those rebates and solicited those clients to select its formularies.

  All component entities of the Eli Lilly-CVS Enterprise reaped increased profits from Eli Lilly’s

  deceptive and misleading representations regarding its benchmark prices. Eli Lilly and CVS

  could not have successfully conducted the activities of the Eli Lilly-CVS Enterprise individually.

         317.    The Eli Lilly-CVS Enterprise is on-going and has been in existence for all times

  relevant to this Complaint. CVS continues to have contractual relationships with Eli Lilly;

  continues to negotiate rebates with Eli Lilly regarding HumaLog and Basaglar; and continues to

  develop formularies that provide varying levels of preference to those products based on the




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  rebates that Eli Lilly pays CVS. CVS also continues to make substantial profits on the rebates

  that it earns from sale of Eli Lilly’s products.

         318.    To accomplish this conduct, and to further the goals of the Eli Lilly-CVS

  Enterprise, Eli Lilly participated in a pattern of racketeering activity, including acts indictable as

  mail fraud, pursuant to 18 U.S.C. § 1341, and wire fraud, pursuant to 18 U.S.C. § 1343. Eli

  Lilly’s conduct included multiple uses of the U.S. Mail and interstate wire facilities with the

  intent to defraud the State, its residents, and the Minnesota Department of Corrections. Each

  such use constitutes “racketeering activity,” as defined by 18 U.S.C. § 1961(1), and collectively,

  these uses amount to a “pattern of racketeering conduct,” as defined by 18 U.S.C. § 1961(5).

  The use of the U.S. Mail and interstate wire facilities was related to the same purpose (i.e.,

  inflating the benchmark price of HumaLog and Basaglar and deceptively and misleadingly

  publicly disseminating these inflated prices), involved the same victims, and involved similar

  actors and methods. It was carried out across state boundaries.

         319.    Through the use of the U.S. Mail and interstate wire facilities, Eli Lilly negotiated

  rebates for its HumaLog and Basaglar products with CVS. Eli Lilly repeatedly communicated

  with CVS regarding Eli Lilly’s benchmark prices, the rebates that Eli Lilly would provide in

  exchange for favorable formulary placement, and price protection agreements to protect CVS

  from increases in Eli Lilly’s benchmark prices.

         320.    Eli Lilly then published deceptive, misleading, and misrepresentative benchmark

  prices of HumaLog and Basaglar and used the U.S. Mail and interstate wire facilities to transmit

  information regarding those inflated prices to various price reporting services. Eli Lilly knew

  that other entities, including retail pharmacies, would rely on those benchmark prices to

  determine the price that many Minnesota residents and the Minnesota Department of Corrections




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  would pay for HumaLog and Basaglar. In making these transmissions, Eli Lilly did not disclose

  the existence, nature, or magnitude of the rebates that it paid CVS for favorable formulary

  placements, nor did it disclose the substantial difference between its inflated benchmark prices

  and net prices. Instead, by publishing only its benchmark prices, Eli Lilly represented that these

  prices constituted an accurate price for its HumaLog and Basaglar products.

          321.    It was also foreseeable to Eli Lilly that CVS would use the U.S. Mail and

  interstate wire facilities to transmit information regarding the magnitude of the rebates that Eli

  Lilly paid and to use the U.S. Mail and interstate wire facilities to market those rebates as a cost-

  savings benefit to its health plan clients.

          322.    The number of transmissions that Eli Lilly sent or caused to be sent numbers in

  the hundreds, if not thousands. They were made by numerous employees of Eli Lilly and CVS,

  working throughout the country and were repeatedly sent across state lines.

          323.    Through this pattern of racketeering conduct, Eli Lilly was able to publish and

  disseminate deceptive and misleading benchmark prices for HumaLog and Basaglar, avoid

  competing on price with its competitors, and reap increased profits by deceiving those who could

  not take advantage of the rebates that Eli Lilly provided to CVS. This pattern of racketeering

  conduct is separate and distinct from the Eli Lilly-CVS Enterprise. Eli Lilly is a separate and

  distinct entity from the Eli Lilly-CVS Enterprise.

          324.    Eli Lilly continues to engage in this pattern of racketeering conduct and will

  continue to do so unless the Court enjoins such activity.

          325.    Eli Lilly’s pattern of racketeering activity has caused monetary harm both directly

  and indirectly to the State, its residents, and the Minnesota Department of Corrections, all of

  whom have paid deceptively inflated prices for insulin products.




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         326.    As previously described, many patients pay all or a portion of their insulin costs

  out-of-pocket. Those with high-deductible health plans pay all of the drug’s cost until their

  deductible is satisfied and do not receive the benefit of the rebate their health plan negotiated.

  Uninsured patients also pay the entire cost of the drug out-of-pocket.         Those covered by

  Medicare Part D also must pay varying amounts out-of-pocket depending on the total amount

  spent. In addition, those with coinsurance pay a percent of their drug’s total cost out-of-pocket.

  Finally, the Minnesota Department of Corrections pays for pharmaceuticals on behalf of inmates

  housed within the correctional system. Each amount that these persons pay is based directly on

  the deceptive and misleading benchmark price that Eli Lilly set and publicly disseminated. Eli

  Lilly also knew that payments by these persons were based directly on the benchmark price it

  set, and thus could foresee that such persons would pay more for its insulin products when it

  publicly disseminated its deceptive and misleading benchmark prices.

         327.    Because Eli Lilly published deceptive and misleading benchmark prices for the

  purpose of marketing larger, undisclosed rebates to CVS and inflated its benchmark prices to

  preserve the actual, net prices that it received for insulin, Minnesota residents and the Minnesota

  Department of Corrections paid more than they otherwise would have for HumaLog and

  Basaglar. But for this conduct, Eli Lilly would be forced to compete with other analog insulin

  manufacturers on the actual price of their products and the price of insulin would decline for

  everyone.

         328.    The benchmark prices that Eli Lilly set did not drastically harm other components

  of the pharmaceutical supply chain (such as wholesalers, health plans, and retail pharmacies).

  Each of those entities could pass the deceptively inflated benchmark price on to patients.




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         329.    Eli Lilly’s deceptive and misleading conduct, practices, and actions described in

  this Complaint constitute multiple, separate violations of 18 U.S.C. §§ 1961 et seq.

         330.    Eli Lilly is therefore liable for treble the damage suffered by the State‘s residents

  and the Minnesota Department of Corrections, costs, and reasonable attorneys’ fees, and should

  be enjoined from further unlawful conduct as a result of its violations of 18 U.S.C. § 1962(c).

                                        COUNT X
                          RICO ACT VIOLATION; 18 U.S.C. § 1962(c)
                                   (AS TO ELI LILLY)

         331.    The State re-alleges all prior paragraphs of this Complaint.

         332.    Eli Lilly is a person as defined by 18 U.S.C. § 1961(3).

         333.    OptumRx is a person as defined by 18 U.S.C. § 1961(3).

         334.    The State, its residents, and the Minnesota Department of Corrections are all

  persons as defined by 18 U.S.C. § 1961(3) who were injured by Eli Lilly’s conduct.

         335.    At all times relevant to this Complaint, Eli Lilly and OptumRx constituted an

  enterprise as defined by 18 U.S.C. § 1961(4). For purposes of this count, this enterprise is

  referred to as the “Eli Lilly-Optum Enterprise.”

         336.    The Eli Lilly-Optum Enterprise consists of an association-in-fact between Eli

  Lilly, including its directors, employees, and other agents, and OptumRx, including its directors,

  employees, and other agents.

         337.    The shared and common purpose of the association is to arrange for the sale,

  purchase, and distribution of Eli Lilly’s HumaLog and Basaglar insulin products through the

  fraudulent scheme described in this Complaint of publishing deceptively inflated benchmark

  prices for these products that were not reasonably reflective of the secret, undisclosed net prices

  that Eli Lilly actually received for these products due to the rebates and other concessions made




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  to OptumRx—including by arranging placements for these products on OptumRx’s formularies

  through the negotiation of rebates, price protection factors, and discounts for these products with

  OptumRx, and through the exclusion of competing insulin products from OptumRx’s

  formulary—so that both entities could profit, in violation of 18 U.S.C. § 1962(c). Perpetuating

  the use of such fraudulent pricing practices was in the common interest of Eli Lilly and

  OptumRx because they enhanced OptumRx’s ability to demand—and Eli Lilly’s ability to

  offer—larger rebates off of Eli Lilly’s benchmark prices (to the financial benefit of OptumRx),

  while also allowing Eli Lilly to hold its net insulin prices relatively steady (to the financial

  benefit of Eli Lilly). In other words, Eli Lilly and OptumRx had both the mutual incentive to and

  the common purpose of perpetuating the fraudulent benchmark pricing practices described herein

  for the financial gain of both.

          338.    To accomplish the common purpose of the Eli Lilly-Optum Enterprise, the

  component entities, Eli Lilly and OptumRx, developed extensive relationships, both

  contractually and financially. The component entities communicated regularly through the wires

  and mail regarding the deceptively and misleadingly inflated benchmark price of HumaLog and

  Basaglar, the rebates that Eli Lilly would provide OptumRx for favorable formulary placement,

  and the price protection terms OptumRx demanded to protect against any increase in the

  benchmark prices of HumaLog and Basaglar.

          339.    The Eli Lilly-OptumRx enterprise affected interstate commerce. Through their

  respective negotiations, they determined the price of HumaLog and Basaglar sold throughout the

  United States and its territories.

          340.    OptumRx participated in the conduct of the Eli Lilly-Optum Enterprise in a

  variety of ways, including, but not limited to:




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                 (a) Negotiating significant rebates from the benchmark prices set by Eli Lilly for
                     HumaLog and Basaglar;

                 (b) Developing formularies that provided Eli Lilly favorable placements for
                     HumaLog and Basaglar based on the rebates OptumRx would earn from the
                     sale of those products;

                 (c) Excluding competing insulin products from certain formularies in exchange
                     for increased rebates;

                 (d) Marketing formularies to health plan clients and making material
                     representations that the rebates negotiated from Eli Lilly saved those clients
                     and their members money;

                 (e) Making material misrepresentations that the benchmark prices that Eli Lilly
                     published approximated the actual prices of these insulin products and that
                     those prices were an accurate basis on which out-of-pocket payments should
                     be based; and

                 (f) Concealing the actual rebates earned from Eli Lilly from health plan clients
                     and the general public, and therefore concealing the actual, net price Eli Lilly
                     received for these insulin products.

         341.    OptumRx’s conduct and participation is essential to the success of the enterprise.

  For Eli Lilly to maintain its net prices for these products, it required OptumRx to select the

  products based on the rebates offered, rather than on ones which had the lowest benchmark price.

  It also required OptumRx to market to its health plan clients that the rebates Eli Lilly offered

  saved the clients and their members money to conceal the actual rebates paid by Eli Lilly.

  OptumRx’s participation allowed Eli Lilly to inflate its benchmark prices, offer larger rebates to

  OptumRx to maintain access to that portion of the market, and still earn additional profits from

  those who could not take advantage of those rebates.

         342.    Eli Lilly participated in, controlled, and conducted the affairs of the Eli Lilly-

  Optum Enterprise by, among other ways:

                 (a) Setting deceptive, misleading, and misrepresentative benchmark prices for its
                     HumaLog and Basaglar insulin products;




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                 (b) Marketing to Eli Lilly the rebates that it could earn for favorable formulary
                     placements of HumaLog and Basaglar, including in some cases, for omitting
                     competing products from certain of its formularies;

                 (c) Including price protection terms in its contracts with OptumRx, which
                     allowed OptumRx to earn additional rebates when Eli Lilly increased its
                     benchmark prices;

                 (d) Paying rebates to OptumRx for each prescription filled for HumaLog and
                     Basaglar by a OptumRx health plan member;

                 (e) Reporting to the general public and various price reporting services the
                     benchmark price of HumaLog and Basaglar while claiming that such prices
                     represented the actual approximate price it received for those products;

                 (f) Inflating the benchmark price of HumaLog and Basaglar to account for the
                     rebates that it paid to OptumRx; and

                 (g) Misrepresenting and concealing from the general public the magnitude of the
                     rebates that it paid to OptumRx.

  In so conducting the Eli Lilly-Optum Enterprise’s affairs, Eli Lilly engaged in unlawful conduct

  that it could not have accomplished without OptumRx—securing through fraud and deception

  favorable treatment on OptumRx’s formulary for its insulin products without having to reduce or

  otherwise compete on price with rival insulin manufacturers, as Eli Lilly would have had to do in

  normal commercial circumstances.

         343.    The component entities are all willing and knowing participants in the Eli Lilly-

  Optum Enterprise.      Eli Lilly negotiated rebates with OptumRx for favorable formulary

  placement and entered into contracts with OptumRx that concealed both the extent of those

  rebates and the price protection that Eli Lilly provided OptumRx. OptumRx represented to its

  health plan clients that it secured significant savings because of those rebates and solicited those

  clients to select its formularies. All component entities of the Eli Lilly-Optum Enterprise reaped

  increased profits from Eli Lilly’s deceptive and misleading representations regarding its




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  benchmark prices. Eli Lilly and OptumRx could not have successfully conducted the activities

  of the Eli Lilly-Optum Enterprise individually.

         344.    The Eli Lilly-Optum Enterprise is on-going and has been in existence for all times

  relevant to this Complaint. OptumRx continues to have contractual relationships with Eli Lilly;

  continues to negotiate rebates with Eli Lilly regarding HumaLog and Basaglar; and continues to

  develop formularies that provide varying levels of preference to those products based on the

  rebates that Eli Lilly pays OptumRx. OptumRx also continues to make substantial profits on the

  rebates that it earns from sale of Eli Lilly’s products.

         345.    To accomplish this conduct, and to further the goals of the Eli Lilly-Optum

  Enterprise, Eli Lilly participated in a pattern of racketeering activity, including acts indictable as

  mail fraud, pursuant to 18 U.S.C. § 1341, and wire fraud, pursuant to 18 U.S.C. § 1343. Eli

  Lilly’s conduct included multiple uses of the U.S. Mail and interstate wire facilities with the

  intent to defraud the State, its residents, and the Minnesota Department of Corrections. Each

  such use constitutes “racketeering activity,” as defined by 18 U.S.C. § 1961(1), and collectively,

  these uses amount to a “pattern of racketeering conduct,” as defined by 18 U.S.C. § 1961(5).

  The use of the U.S. Mail and interstate wire facilities was related to the same purpose (i.e.,

  inflating the benchmark price of HumaLog and Basaglar and deceptively and misleadingly

  publicly disseminating these inflated prices), involved the same victims, and involved similar

  actors and methods. It was carried out across state boundaries.

         346.    Through the use of the U.S. Mail and interstate wire facilities, Eli Lilly negotiated

  rebates for its HumaLog and Basaglar products with OptumRx.                    Eli Lilly repeatedly

  communicated with OptumRx regarding Eli Lilly’s benchmark prices, the rebates that Eli Lilly




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  would provide in exchange for favorable formulary placement, and price protection agreements

  to protect OptumRx from increases in Eli Lilly’s benchmark prices.

          347.    Eli Lilly then published deceptive, misleading, and misrepresentative benchmark

  prices of HumaLog and Basaglar and used the U.S. Mail and interstate wire facilities to transmit

  information regarding those inflated prices to various price reporting services. Eli Lilly knew

  that other entities, including retail pharmacies, would rely on those benchmark prices to

  determine the price that many Minnesota residents and the Minnesota Department of Corrections

  would pay for HumaLog and Basaglar. In making these transmissions, Eli Lilly did not disclose

  the existence, nature, or magnitude of the rebates that it paid OptumRx for favorable formulary

  placements, nor did it disclose the substantial difference between its inflated benchmark prices

  and net prices. Instead, by publishing only its benchmark prices, Eli Lilly represented that these

  prices constituted an accurate price for its HumaLog and Basaglar products.

          348.    It was also foreseeable to Eli Lilly that OptumRx would use the U.S. Mail and

  interstate wire facilities to transmit information regarding the magnitude of the rebates that Eli

  Lilly paid and to use the U.S. Mail and interstate wire facilities to market those rebates as a cost-

  savings benefit to its health plan clients.

          349.    The number of transmissions that Eli Lilly sent or caused to be sent numbers in

  the hundreds, if not thousands. They were made by numerous employees of Eli Lilly and

  OptumRx, working throughout the country and were repeatedly sent across state lines.

          350.    Through this pattern of racketeering conduct, Eli Lilly was able to publish and

  disseminate deceptive and misleading benchmark prices for HumaLog and Basaglar, avoid

  competing on price with its competitors, and reap increased profits by deceiving those who could

  not take advantage of the rebates that Eli Lilly provided to OptumRx.               This pattern of




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  racketeering conduct is separate and distinct from the Eli Lilly-Optum Enterprise. Eli Lilly is a

  separate and distinct entity from the Eli Lilly-Optum Enterprise.

         351.    Eli Lilly continues to engage in this pattern of racketeering conduct and will

  continue to do so unless the Court enjoins such activity.

         352.    Eli Lilly’s pattern of racketeering activity has caused monetary harm both directly

  and indirectly to the State, its residents, and the Minnesota Department of Corrections, all of

  whom have paid deceptively inflated prices for insulin products.

         353.    As previously described, many patients pay all or a portion of their insulin costs

  out-of-pocket. Those with high-deductible health plans pay all of the drug’s cost until their

  deductible is satisfied and do not receive the benefit of the rebate their health plan negotiated.

  Uninsured patients also pay the entire cost of the drug out-of-pocket.        Those covered by

  Medicare Part D also must pay varying amounts out-of-pocket depending on the total amount

  spent. In addition, those with coinsurance pay a percent of their drug’s total cost out-of-pocket.

  Finally, the Minnesota Department of Corrections pays for pharmaceuticals on behalf of inmates

  housed within the correctional system. Each amount that these persons pay is based directly on

  the deceptive and misleading benchmark price that Eli Lilly set and publicly disseminated. Eli

  Lilly also knew that payments by these persons were based directly on the benchmark price it

  set, and thus could foresee that such persons would pay more for its insulin products when it

  publicly disseminated its deceptive and misleading benchmark prices.

         354.    Because Eli Lilly published deceptive and misleading benchmark prices for the

  purpose of marketing larger, undisclosed rebates to OptumRx and inflated its benchmark prices

  to preserve the actual, net prices that it received for insulin, Minnesota residents and the

  Minnesota Department of Corrections paid more than they otherwise would have for HumaLog




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  and Basaglar. But for this conduct, Eli Lilly would be forced to compete with other analog

  insulin manufacturers on the actual price of their products and the price of insulin would decline

  for everyone.

         355.     The benchmark prices that Eli Lilly set did not drastically harm other components

  of the pharmaceutical supply chain (such as wholesalers, health plans, and retail pharmacies).

  Each of those entities could pass the deceptively inflated benchmark price on to patients.

         356.     Eli Lilly’s deceptive and misleading conduct, practices, and actions described in

  this Complaint constitute multiple, separate violations of 18 U.S.C. §§ 1961 et seq.

         357.     Eli Lilly is therefore liable for treble the damage suffered by the State’s residents

  and the Minnesota Department of Corrections, costs, and reasonable attorneys’ fees, and should

  be enjoined from further unlawful conduct as a result of its violations of 18 U.S.C. § 1962(c).

                                        COUNT XI
                           RICO ACT VIOLATION; 18 U.S.C. § 1962(c)
                                    (AS TO ELI LILLY)

         358.     The State re-alleges all prior paragraphs of this Complaint.

         359.     Eli Lilly is a person as defined by 18 U.S.C. § 1961(3).

         360.     Express Scripts is a person as defined by 18 U.S.C. § 1961(3).

         361.     The State, its residents, and the Minnesota Department of Corrections are all

  persons as defined by 18 U.S.C. § 1961(3) who were injured by Eli Lilly’s conduct.

         362.     At all times relevant to this Complaint, Eli Lilly and Express Scripts constituted

  an enterprise as defined by 18 U.S.C. § 1961(4). For purposes of this count, this enterprise is

  referred to as the “Eli Lilly-Express Scripts Enterprise.”




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         363.    The Eli Lilly-Express Scripts Enterprise consists of an association-in-fact between

  Eli Lilly, including its directors, employees, and other agents, and Express Scripts, including its

  directors, employees, and other agents.

         364.    The shared and common purpose of the association is to arrange for the sale,

  purchase, and distribution of Eli Lilly’s HumaLog and Basaglar insulin products through the

  fraudulent scheme described in this Complaint of publishing deceptively inflated benchmark

  prices for these products that were not reasonably reflective of the secret, undisclosed net prices

  that Eli Lilly actually received for these products due to the rebates and other concessions made

  to Express Scripts—including by arranging placements for these products on Express Scripts’s

  formularies through the negotiation of rebates, price protection factors, and discounts for these

  products with Express Scripts, and through the exclusion of competing insulin products from

  Express Scripts’s formulary—so that both entities could profit, in violation of 18 U.S.C. §

  1962(c). Perpetuating the use of such fraudulent pricing practices was in the common interest of

  Eli Lilly and Express Scripts because they enhanced Express Scripts’ ability to demand—and Eli

  Lilly’s ability to offer—larger rebates off of Eli Lilly’s benchmark prices (to the financial benefit

  of Express Scripts), while also allowing Eli Lilly to hold its net insulin prices relatively steady

  (to the financial benefit of Eli Lilly). In other words, Eli Lilly and Express Scripts had both the

  mutual incentive to and the common purpose of perpetuating the fraudulent benchmark pricing

  practices described herein for the financial gain of both.

         365.    To accomplish the common purpose of the Eli Lilly-Express Scripts Enterprise,

  the component entities, Eli Lilly and Express Scripts, developed extensive relationships, both

  contractually and financially. The component entities communicated regularly through the wires

  and mail regarding the deceptively and misleadingly inflated benchmark price of HumaLog and




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  Basaglar, the rebates that Eli Lilly would provide Express Scripts for favorable formulary

  placement, and the price protection terms Express Scripts demanded to protect against any

  increase in the benchmark prices of HumaLog and Basaglar.

         366.    The Eli Lilly-Express Scripts enterprise affected interstate commerce. Through

  their respective negotiations, they determined the price of HumaLog and Basaglar sold

  throughout the United States and its territories.

         367.    Express Scripts participated in the conduct of the Eli Lilly-Express Scripts

  Enterprise in a variety of ways, including, but not limited to:

                 (a) Negotiating significant rebates from the benchmark prices set by Eli Lilly for
                     HumaLog and Basaglar;

                 (b) Developing formularies that provided Eli Lilly favorable placements for
                     HumaLog and Basaglar based on the rebates Express Scripts would earn from
                     the sale of those products;

                 (c) Excluding competing insulin products from certain formularies in exchange
                     for increased rebates;

                 (d) Marketing formularies to health plan clients and making material
                     representations that the rebates negotiated from Eli Lilly saved those clients
                     and their members money;

                 (e) Making material misrepresentations that the benchmark prices that Eli Lilly
                     published approximated the actual prices of these insulin products and that
                     those prices were an accurate basis on which out-of-pocket payments should
                     be based; and

                 (f) Concealing the actual rebates earned from Eli Lilly from health plan clients
                     and the general public, and therefore concealing the actual, net price Eli Lilly
                     received for these insulin products.

         368.    Express Scripts’s conduct and participation is essential to the success of the

  enterprise. For Eli Lilly to maintain its net prices for these products, it required Express Scripts

  to select the products based on the rebates offered, rather than on which ones had the lowest

  benchmark prices. It also required Express Scripts to market to its health plan clients that the



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  rebates Eli Lilly offered saved the clients and their members money to conceal the actual rebates

  paid by Eli Lilly. Express Scripts’s participation allowed Eli Lilly to inflate its benchmark

  prices, offer larger rebates to Express Scripts to maintain access to that portion of the market, and

  still earn additional profits from those who could not take advantage of those rebates.

         369.    Eli Lilly participated in, controlled, and conducted the affairs of the Eli Lilly-

  Express Scripts Enterprise by, among other ways:

                 (a) Setting deceptive, misleading, and misrepresentative benchmark prices for its
                     HumaLog and Basaglar insulin products;

                 (b) Marketing to Eli Lilly the rebates that it could earn for favorable formulary
                     placements of HumaLog and Basaglar, including in some cases, for omitting
                     competing products from certain of its formularies;

                 (c) Including price protection terms in its contracts with Express Scripts, which
                     allowed Express Scripts to earn additional rebates when Eli Lilly increased its
                     benchmark prices;

                 (d) Paying rebates to Express Scripts for each prescription filled for HumaLog
                     and Basaglar by a Express Scripts health plan member;

                 (e) Reporting to the general public and various price reporting services the
                     benchmark price of HumaLog and Basaglar while claiming that such prices
                     represented the actual approximate price it received for those products;

                 (f) Inflating the benchmark price of HumaLog and Basaglar to account for the
                     rebates that it paid to Express Scripts; and

                 (g) Misrepresenting and concealing from the general public the magnitude of the
                     rebates that it paid to Express Scripts.

  In so conducting the Eli Lilly-Express Scripts Enterprise’s affairs, Eli Lilly engaged in unlawful

  conduct that it could not have accomplished without Express Scripts—securing through fraud

  and deception favorable treatment on Express Scripts’ formulary for its insulin products without

  having to reduce or otherwise compete on price with rival insulin manufacturers, as Eli Lilly

  would have had to do in normal commercial circumstances.




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         370.     The component entities are all willing and knowing participants in the Eli Lilly-

  Express Scripts Enterprise. Eli Lilly negotiated rebates with Express Scripts for favorable

  formulary placement and entered into contracts with Express Scripts that concealed both the

  extent of those rebates and the price protection that Eli Lilly provided Express Scripts. Express

  Scripts represented to its health plan clients that it secured significant savings because of those

  rebates and solicited those clients to select its formularies. All component entities of the Eli

  Lilly-Express Scripts Enterprise reaped increased profits from Eli Lilly’s deceptive and

  misleading representations regarding its benchmark prices. Eli Lilly and Express Scripts could

  not have successfully conducted the activities of the Eli Lilly-Express Scripts Enterprise

  individually.

         371.     The Eli Lilly-Express Scripts Enterprise is on-going and has been in existence for

  all times relevant to this Complaint. Express Scripts continues to have contractual relationships

  with Eli Lilly; continues to negotiate rebates with Eli Lilly regarding HumaLog and Basaglar;

  and continues to develop formularies that provide varying levels of preference to those products

  based on the rebates that Eli Lilly pays Express Scripts. Express Scripts also continues to make

  substantial profits on the rebates that it earns from sale of Eli Lilly’s products.

         372.     To accomplish this conduct, and to further the goals of the Eli Lilly-Express

  Scripts Enterprise, Eli Lilly participated in a pattern of racketeering activity, including acts

  indictable as mail fraud, pursuant to 18 U.S.C. § 1341, and wire fraud, pursuant to 18 U.S.C. §

  1343. Eli Lilly’s conduct included multiple uses of the U.S. Mail and interstate wire facilities

  with the intent to defraud the State, its residents, and the Minnesota Department of Corrections.

  Each such use constitutes “racketeering activity,” as defined by 18 U.S.C. § 1961(1), and

  collectively, these uses amount to a “pattern of racketeering conduct,” as defined by 18 U.S.C. §




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  1961(5). The use of the U.S. Mail and interstate wire facilities was related to the same purpose

  (i.e., inflating the benchmark price of HumaLog and Basaglar and deceptively and misleadingly

  publicly disseminating these inflated prices), involved the same victims, and involved similar

  actors and methods. It was carried out across state boundaries.

         373.    Through the use of the U.S. Mail and interstate wire facilities, Eli Lilly negotiated

  rebates for its HumaLog and Basaglar products with Express Scripts. Eli Lilly repeatedly

  communicated with Express Scripts regarding Eli Lilly’s benchmark prices, the rebates that Eli

  Lilly would provide in exchange for favorable formulary placement, and price protection

  agreements to protect Express Scripts from increases in Eli Lilly’s benchmark prices.

         374.    Eli Lilly then published deceptive, misleading, and misrepresentative benchmark

  prices of HumaLog and Basaglar and used the U.S. Mail and interstate wire facilities to transmit

  information regarding those inflated prices to various price reporting services. Eli Lilly knew

  that other entities, including retail pharmacies, would rely on those benchmark prices to

  determine the price that many Minnesota residents and the Minnesota Department of Corrections

  would pay for HumaLog and Basaglar. In making these transmissions, Eli Lilly did not disclose

  the existence, nature, or magnitude of the rebates that it paid Express Scripts for favorable

  formulary placements, nor did it disclose the substantial difference between its inflated

  benchmark prices and net prices. Instead, by publishing only its benchmark prices, Eli Lilly

  represented that these prices constituted an accurate price for its HumaLog and Basaglar

  products.

         375.    It was also foreseeable to Eli Lilly that Express Scripts would use the U.S. Mail

  and interstate wire facilities to transmit information regarding the magnitude of the rebates that




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  Eli Lilly paid and to use the U.S. Mail and interstate wire facilities to market those rebates as a

  cost-savings benefit to its health plan clients.

          376.    The number of transmissions that Eli Lilly sent or caused to be sent numbers in

  the hundreds, if not thousands. They were made by numerous employees of Eli Lilly and

  Express Scripts, working throughout the country and were repeatedly sent across state lines.

          377.    Through this pattern of racketeering conduct, Eli Lilly was able to publish and

  disseminate deceptive and misleading benchmark prices for HumaLog and Basaglar, avoid

  competing on price with its competitors, and reap increased profits by deceiving those who could

  not take advantage of the rebates that Eli Lilly provided to Express Scripts. This pattern of

  racketeering conduct is separate and distinct from the Eli Lilly-Express Scripts Enterprise. Eli

  Lilly is a separate and distinct entity from the Eli Lilly-Express Scripts Enterprise.

          378.    Eli Lilly continues to engage in this pattern of racketeering conduct and will

  continue to do so unless the Court enjoins such activity.

          379.    Eli Lilly’s pattern of racketeering activity has caused monetary harm both directly

  and indirectly to the State, its residents, and the Minnesota Department of Corrections, all of

  whom have paid deceptively inflated prices for insulin products.

          380.    As previously described, many patients pay all or a portion of their insulin costs

  out-of-pocket. Those with high-deductible health plans pay all of the drug’s cost until their

  deductible is satisfied and do not receive the benefit of the rebate their health plan negotiated.

  Uninsured patients also pay the entire cost of the drug out-of-pocket.           Those covered by

  Medicare Part D also must pay varying amounts out-of-pocket depending on the total amount

  spent. In addition, those with coinsurance pay a percent of their drug’s total cost out-of-pocket.

  Finally, the Minnesota Department of Corrections pays for pharmaceuticals on behalf of inmates




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  housed within the correctional system. Each amount that these persons pay is based directly on

  the deceptive and misleading benchmark price that Eli Lilly set and publicly disseminated. Eli

  Lilly also knew that payments by these persons were based directly on the benchmark price it

  set, and thus could foresee that such persons would pay more for its insulin products when it

  publicly disseminated its deceptive and misleading benchmark prices.

         381.     Because Eli Lilly published deceptive and misleading benchmark prices for the

  purpose of marketing larger, undisclosed rebates to Express Scripts and inflated its benchmark

  prices to preserve the actual, net prices that it received for insulin, Minnesota residents and the

  Minnesota Department of Corrections paid more than they otherwise would have for HumaLog

  and Basaglar. But for this conduct, Eli Lilly would be forced to compete with other analog

  insulin manufacturers on the actual price of their products and the price of insulin would decline

  for everyone.

         382.     The benchmark prices that Eli Lilly set did not drastically harm other components

  of the pharmaceutical supply chain (such as wholesalers, health plans, and retail pharmacies).

  Each of those entities could pass the deceptively inflated benchmark price on to patients.

         383.     Eli Lilly’s deceptive and misleading conduct, practices, and actions described in

  this Complaint constitute multiple, separate violations of 18 U.S.C. §§ 1961 et seq.

         384.     Eli Lilly is therefore liable for treble the damage suffered by the State’s residents

  and the Minnesota Department of Corrections, costs, and reasonable attorneys’ fees, and should

  be enjoined from further unlawful conduct as a result of its violations of 18 U.S.C. § 1962(c).

                                        COUNT XII
                           RICO ACT VIOLATION; 18 U.S.C. § 1962(c)
                                    (AS TO ELI LILLY)

         385.     The State re-alleges all prior paragraphs of this Complaint.




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         386.    Eli Lilly is a person as defined by 18 U.S.C. § 1961(3).

         387.    Prime Therapeutics is a person as defined by 18 U.S.C. § 1961(3).

         388.    The State, its residents, and the Minnesota Department of Corrections are all

  persons as defined by 18 U.S.C. § 1961(3) who were injured by Eli Lilly’s conduct.

         389.    At all times relevant to this Complaint, Eli Lilly and Prime Therapeutics

  constituted an enterprise as defined by 18 U.S.C. § 1961(4). For purposes of this count, this

  enterprise is referred to as the “Eli Lilly-Prime Enterprise.”

         390.    The Eli Lilly-Prime Enterprise consists of an association-in-fact between Eli

  Lilly, including its directors, employees, and other agents, and Prime Therapeutics, including its

  directors, employees, and other agents.

         391.    The shared and common purpose of the association is to arrange for the sale,

  purchase, and distribution of Eli Lilly’s HumaLog and Basaglar insulin products through the

  fraudulent scheme described in this Complaint of publishing deceptively inflated benchmark

  prices for these products that were not reasonably reflective of the secret, undisclosed net prices

  that Eli Lilly actually received for these products due to the rebates and other concessions made

  to Prime Therapeutics—including by arranging placements for these products on Prime

  Therapeutics’ formularies through the negotiation of rebates, price protection factors, and

  discounts for these products with Prime Therapeutics, and through the exclusion of competing

  insulin products from Prime Therapeutics’ formulary—so that both entities could profit, in

  violation of 18 U.S.C. § 1962(c). Perpetuating the use of such fraudulent pricing practices was

  in the common interest of Eli Lilly and Prime Therapeutics because they enhanced Prime

  Therapeutics’ ability to demand—and Eli Lilly’s ability to offer—larger rebates off of Eli Lilly’s

  benchmark prices (to the financial benefit of Prime Therapeutics), while also allowing Eli Lilly




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  to hold its net insulin prices relatively steady (to the financial benefit of Eli Lilly). In other

  words, Eli Lilly and Prime Therapeutics had both the mutual incentive to and the common

  purpose of perpetuating the fraudulent benchmark pricing practices described herein for the

  financial gain of both.

          392.    To accomplish the common purpose of the Eli Lilly-Prime Enterprise, the

  component entities, Eli Lilly and Prime Therapeutics, developed extensive relationships, both

  contractually and financially. The component entities communicated regularly through the wires

  and mail regarding the deceptively and misleadingly inflated benchmark price of HumaLog and

  Basaglar, the rebates that Eli Lilly would provide Prime Therapeutics for favorable formulary

  placement, and the price protection terms Prime Therapeutics demanded to protect against any

  increase in the benchmark prices of HumaLog and Basaglar.

          393.    The Eli Lilly-Prime Enterprise affected interstate commerce.        Through their

  respective negotiations, they determined the price of HumaLog and Basaglar sold throughout the

  United States and its territories.

          394.    Prime Therapeutics participated in the conduct of the Eli Lilly-Prime Enterprise in

  a variety of ways, including, but not limited to:

                  (a) Negotiating significant rebates from the benchmark prices set by Eli Lilly for
                      HumaLog and Basaglar;

                  (b) Developing formularies that provided Eli Lilly favorable placements for
                      HumaLog and Basaglar based on the rebates Prime Therapeutics would earn
                      from the sale of those products;

                  (c) Excluding competing insulin products from certain formularies in exchange
                      for increased rebates;

                  (d) Marketing formularies to health plan clients and making material
                      representations that the rebates negotiated from Eli Lilly saved those clients
                      and their members money;




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                 (e) Making material misrepresentations that the benchmark prices that Eli Lilly
                     published approximated the actual prices of these insulin products and that
                     those prices were an accurate basis on which out-of-pocket payments should
                     be based; and

                 (f) Concealing the actual rebates earned from Eli Lilly from health plan clients
                     and the general public, and therefore concealing the actual, net price Eli Lilly
                     received for these insulin products.

         395.    Prime Therapeutics’ conduct and participation is essential to the success of the

  enterprise.   For Eli Lilly to maintain its net prices for these products, it required Prime

  Therapeutics to select the products based on the rebates offered, rather than on which ones had

  the lowest benchmark prices. It also required Prime Therapeutics to market to its health plan

  clients that the rebates Eli Lilly offered saved the clients and their members money to conceal the

  actual rebates paid by Eli Lilly. Prime Therapeutics’ participation allowed Eli Lilly to inflate its

  benchmark prices, offer larger rebates to Prime Therapeutics to maintain access to that portion of

  the market, and still earn additional profits from those who could not take advantage of those

  rebates.

         396.    Eli Lilly participated in, controlled, and conducted the affairs of the Eli Lilly-

  Prime Enterprise by, among other ways:

                 (a) Setting deceptive, misleading, and misrepresentative benchmark prices for its
                     HumaLog and Basaglar insulin products;

                 (b) Marketing to Eli Lilly the rebates that it could earn for favorable formulary
                     placements of HumaLog and Basaglar, including in some cases, for omitting
                     competing products from certain of its formularies;

                 (c) Including price protection terms in its contracts with Prime Therapeutics,
                     which allowed Prime Therapeutics to earn additional rebates when Eli Lilly
                     increased its benchmark prices;

                 (d) Paying rebates to Prime Therapeutics for each prescription filled for
                     HumaLog and Basaglar by a Prime Therapeutics health plan member;




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                 (e) Reporting to the general public and various price reporting services the
                     benchmark price of HumaLog and Basaglar while claiming that such prices
                     represented the actual approximate price it received for those products;

                 (f) Inflating the benchmark price of HumaLog and Basaglar to account for the
                     rebates that it paid to Prime Therapeutics; and

                 (g) Misrepresenting and concealing from the general public the magnitude of the
                     rebates that it paid to Prime Therapeutics.

         397.    The component entities are all willing and knowing participants in the Eli Lilly-

  Prime Enterprise. Eli Lilly negotiated rebates with Prime Therapeutics for favorable formulary

  placement and entered into contracts with Prime Therapeutics that concealed both the extent of

  those rebates and the price protection that Eli Lilly provided Prime Therapeutics.             Prime

  Therapeutics represented to its health plan clients that it secured significant savings because of

  those rebates and solicited those clients to select its formularies. All component entities of the

  Eli Lilly-Prime Enterprise reaped increased profits from Eli Lilly’s deceptive and misleading

  representations regarding its benchmark prices. Eli Lilly and Prime Therapeutics could not have

  successfully conducted the activities of the Eli Lilly- Prime Enterprise individually.

         398.    The Eli Lilly-Prime Enterprise is on-going and has been in existence for all times

  relevant to this Complaint. Prime Therapeutics continues to have contractual relationships with

  Eli Lilly; continues to negotiate rebates with Eli Lilly regarding HumaLog and Basaglar; and

  continues to develop formularies that provide varying levels of preference to those products

  based on the rebates that Eli Lilly pays Prime Therapeutics. Prime Therapeutics also continues

  to make substantial profits on the rebates that it earns from sale of Eli Lilly’s products.

         399.    To accomplish this conduct, and to further the goals of the Eli Lilly-Prime

  Enterprise, Eli Lilly participated in a pattern of racketeering activity, including acts indictable as

  mail fraud, pursuant to 18 U.S.C. § 1341, and wire fraud, pursuant to 18 U.S.C. § 1343. Eli




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  Lilly’s conduct included multiple uses of the U.S. Mail and interstate wire facilities with the

  intent to defraud the State, its residents, and the Minnesota Department of Corrections. Each

  such use constitutes “racketeering activity,” as defined by 18 U.S.C. § 1961(1), and collectively,

  these uses amount to a “pattern of racketeering conduct,” as defined by 18 U.S.C. § 1961(5).

  The use of the U.S. Mail and interstate wire facilities was related to the same purpose (i.e.,

  inflating the benchmark price of HumaLog and Basaglar and deceptively and misleadingly

  publicly disseminating these inflated prices), involved the same victims, and involved similar

  actors and methods. It was carried out across state boundaries.

         400.    Through the use of the U.S. Mail and interstate wire facilities, Eli Lilly negotiated

  rebates for its HumaLog and Basaglar products with Prime Therapeutics. Eli Lilly repeatedly

  communicated with Prime Therapeutics regarding Eli Lilly’s benchmark prices, the rebates that

  Eli Lilly would provide in exchange for favorable formulary placement, and price protection

  agreements to protect Prime Therapeutics from increases in Eli Lilly’s benchmark prices.

         401.    Eli Lilly then published deceptive, misleading, and misrepresentative benchmark

  prices of HumaLog and Basaglar and used the U.S. Mail and interstate wire facilities to transmit

  information regarding those inflated prices to various price reporting services. Eli Lilly knew

  that other entities, including retail pharmacies, would rely on those benchmark prices to

  determine the price that many Minnesota residents and the Minnesota Department of Corrections

  would pay for HumaLog and Basaglar. In making these transmissions, Eli Lilly did not disclose

  the existence, nature, or magnitude of the rebates that it paid Prime Therapeutics for favorable

  formulary placements, nor did it disclose the substantial difference between its benchmark prices

  and net prices. Instead, by publishing only its benchmark prices, Eli Lilly represented that these

  prices constituted an accurate price for its HumaLog and Basaglar products.




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          402.    It was also foreseeable to Eli Lilly that Prime Therapeutics would use the U.S.

  Mail and interstate wire facilities to transmit information regarding the magnitude of the rebates

  that Eli Lilly paid and to use the U.S. Mail and interstate wire facilities to market those rebates as

  a cost-savings benefit to its health plan clients.

          403.    The number of transmissions that Eli Lilly sent or caused to be sent numbers in

  the hundreds, if not thousands. They were made by numerous employees of Eli Lilly and Prime

  Therapeutics, working throughout the country and were repeatedly sent across state lines.

          404.    Through this pattern of racketeering conduct, Eli Lilly was able to publish and

  disseminate deceptive and misleading benchmark prices for HumaLog and Basaglar, avoid

  competing on price with its competitors, and reap increased profits by deceiving those who could

  not take advantage of the rebates that Eli Lilly provided to Prime Therapeutics. This pattern of

  racketeering conduct is separate and distinct from the Eli Lilly-Prime Enterprise. Eli Lilly is a

  separate and distinct entity from the Eli Lilly-Prime Enterprise.

          405.    Eli Lilly continues to engage in this pattern of racketeering conduct and will

  continue to do so unless the Court enjoins such activity.

          406.    Eli Lilly’s pattern of racketeering activity has caused monetary harm both directly

  and indirectly to the State, its residents, and the Minnesota Department of Corrections, all of

  whom have paid deceptively inflated prices for insulin products.

          407.    As previously described, many patients pay all or a portion of their insulin costs

  out-of-pocket. Those with high-deductible health plans pay all of the drug’s cost until their

  deductible is satisfied and do not receive the benefit of the rebate their health plan negotiated.

  Uninsured patients also pay the entire cost of the drug out-of-pocket.            Those covered by

  Medicare Part D also must pay varying amounts out-of-pocket depending on the total amount




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  spent. In addition, those with coinsurance pay a percent of their drug’s total cost out-of-pocket.

  Finally, the Minnesota Department of Corrections pays for pharmaceuticals on behalf of inmates

  housed within the correctional system. Each amount that these persons pay is based directly on

  the deceptive and misleading benchmark price that Eli Lilly set and publicly disseminated. Eli

  Lilly also knew that payments by these persons were based directly on the benchmark price it

  set, and thus could foresee that such persons would pay more for its insulin products when it

  publicly disseminated its deceptive and misleading benchmark prices.

         408.    Because Eli Lilly published deceptive and misleading benchmark prices for the

  purpose of marketing larger, undisclosed rebates to Prime Therapeutics and inflated its

  benchmark prices to preserve the actual, net prices that it received for insulin, Minnesota

  residents and the Minnesota Department of Corrections paid more than they otherwise would

  have for HumaLog and Basaglar. But for this conduct, Eli Lilly would be forced to compete

  with other analog insulin manufacturers on the actual price of their products and the price of

  insulin would decline for everyone.

         409.    The benchmark prices that Eli Lilly set did not drastically harm other components

  of the pharmaceutical supply chain (such as wholesalers, health plans, and retail pharmacies).

  Each of those entities could pass the deceptively inflated benchmark price on to patients.

         410.    Eli Lilly’s deceptive and misleading conduct, practices, and actions described in

  this Complaint constitute multiple, separate violations of 18 U.S.C. §§ 1961 et seq.

         411.    Eli Lilly is therefore liable for treble the damage suffered by the State’s residents

  and the Minnesota Department of Corrections, costs, reasonable attorneys’ fees, and should be

  enjoined from further unlawful conduct as a result of its violations of 18 U.S.C. § 1962(c).




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                                           COUNT XIII
                                       CONSUMER FRAUD
                                    (AS TO ALL DEFENDANTS)

         412.     The State of Minnesota re-alleges all prior paragraphs of this Complaint.

         413.     Minnesota Statutes section 325F.69, subdivision 1, provides that:

                  The act, use, or employment by any person of any fraud, false pretense,
                  false promise, misrepresentation, misleading statement or deceptive
                  practice, with the intent that others rely thereon in connection with the sale
                  of any merchandise, whether or not any person has in fact been misled,
                  deceived, or damaged thereby, is enjoinable as provided in section
                  325F.70.

         414.     The term “merchandise” within the meaning of Minnesota Statutes section

  325F.69 includes both goods and services. See Minn. Stat. § 325F.68, subd. 2.

         415.     Defendants have repeatedly violated Minnesota Statutes section 325F.69,

  subdivision 1, by engaging in the deceptive and fraudulent practices described in this Complaint

  with the intent that others rely thereon in connection with the sale of their respective insulin

  products.     Among other things, Defendants knowingly and purposefully increased their

  benchmark prices so that they could offer undisclosed larger rebates to PBMs, thereby allowing

  Defendants to retain preferred formulary access for their insulin products without reducing the

  actual, net price they received for their products.         Because of Defendants’ conduct, the

  undisclosed difference between their benchmark prices and their net prices is so substantial that

  their benchmark prices do not reasonably approximate the actual price Defendants receive for

  their insulin products.    By nevertheless publishing their falsely inflated benchmark prices,

  Defendants fraudulently represented that they were a reasonable approximation of the actual

  price they receive for their insulin products, and Defendants’ public dissemination of these

  misleading benchmark prices is thus a deceptive practice.




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         416.    Defendants knew, as described in this Complaint, that the prices they published

  would be used as a benchmark and to determine the price that Minnesota: (1) consumers without

  insurance; (2) consumers with high-deductible plans; (3) consumers who are Medicare Part D

  beneficiaries; (4) consumers who pay coinsurance as part of their health plan; and (5) the

  Minnesota Department of Corrections would pay for their insulin. Because of Defendants’

  deceptive and misleading pricing practices, these persons and entities paid more for insulin than

  they otherwise would have, thereby causing them harm and enriching Defendants.

         417.    Defendants’ conduct, practices, and actions described in this Complaint constitute

  multiple, separate violations of Minnesota Statutes section 325F.69, and the State is entitled to

  monetary relief, including damages, restitution, and/or disgorgement, civil penalties, costs,

  reasonable attorneys’ fees, and injunctive relief, as a result.

                                          COUNT XIV
                                 DECEPTIVE TRADE PRACTICES
                                   (AS TO ALL DEFENDANTS)

         418.    The State of Minnesota re-alleges all prior paragraphs of this Complaint.

         419.    Minnesota Statutes section 325D.44, subdivision 1, provides, in part:

                 A person engages in a deceptive trade practice when, in the course
                 of business, vocation, or occupation, the person:

                 ***

                 (11) makes false or misleading statements of fact concerning the
                 reasons for, existence of, or amounts of price reductions;

                 *** ; or

                 (13) engages in any other conduct which similarly creates a
                 likelihood of confusion or of misunderstanding.

         420.    Defendants have repeatedly violated Minnesota Statutes section 325D.44,

  subdivision 1, by engaging in the deceptive and fraudulent practices described in this Complaint



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  that caused a likelihood of confusion or misunderstanding among Minnesotans. Among other

  things, Defendants knowingly and purposefully increased their benchmark prices so that they

  could offer undisclosed larger rebates to PBMs, thereby allowing Defendants to retain preferred

  formulary access for their insulin products without reducing the actual, net price they received

  for their products. Because of Defendants’ conduct, the undisclosed difference between their

  benchmark prices and their net prices is so substantial that their benchmark prices do not

  reasonably approximate the actual price Defendants receive for their insulin products.       By

  nevertheless publishing their falsely inflated benchmark prices, Defendants fraudulently

  represented that they were a reasonable approximation of the actual price they receive for their

  insulin products, and Defendants’ public dissemination of these misleading benchmark prices is

  thus a deceptive practice. Defendants publishing of their falsely inflated benchmark prices was

  further a deceptive and misleading representation about the existence of and/or amount of the

  price reductions that Defendants provided for their insulin products when they were sold.

  Defendants’ publishing of their deceptive and misleading benchmark prices created a likelihood

  of confusion and misunderstanding among Minnesota persons and entities, including those

  referenced in the next paragraph, regarding the actual, net price that Defendants received for

  their insulin products.

         421.    Defendants knew, as described in this Complaint, that the prices they published

  would be used as a benchmark and to determine the price that Minnesota: (1) consumers without

  insurance; (2) consumers with high-deductible plans; (3) consumers who are Medicare Part D

  beneficiaries; (4) consumers who pay coinsurance as part of their health plan; and (5) the

  Minnesota Department of Corrections would pay for their insulin. Because of Defendants’




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  deceptive and misleading pricing practices, these persons and entities paid more for insulin than

  they otherwise would have, thereby causing them harm and enriching Defendants.

         422.    Defendants’ conduct, practices, and actions described in this Complaint constitute

  multiple, separate violations of Minnesota Statutes section 325D.44, and the State is entitled to

  monetary relief, including damages, restitution, and/or disgorgement, civil penalties, costs,

  reasonable attorneys’ fees, and injunctive relief, as a result.

                                           COUNT XV
                                      FALSE ADVERTISING
                                    (AS TO ALL DEFENDANTS)

         423.    The State of Minnesota re-alleges all prior paragraphs in this Complaint.

         424.    Minnesota Statutes section 325F.67 provides that:

                 Any person, firm, corporation, or association who, with intent to sell or in
                 anywise dispose of merchandise, securities, service, or anything offered by
                 such person, firm, corporation, or association, directly or indirectly, to the
                 public, for sale or distribution, or with intent to increase the consumption
                 thereof, or to induce the public in any manner to enter into any obligation
                 relating thereto, or to acquire title thereto, or any interest therein, makes,
                 publishes, disseminates, circulates, or places before the public, or causes,
                 directly or indirectly, to be made, published, disseminated, circulated, or
                 placed before the public, in this state, in a newspaper or other publication,
                 or in the form of a book, notice, handbill, poster, bill, label, price tag,
                 circular, pamphlet, program, or letter, or over any radio or television
                 station, or in any other way, an advertisement of any sort regarding
                 merchandise, securities, service, or anything so offered to the public, for
                 use, consumption, purchase, or sale, which advertisement contains any
                 material assertion, representation, or statement of fact which is untrue,
                 deceptive, or misleading, shall, whether or not pecuniary or other specific
                 damage to any person occurs as a direct result thereof, be guilty of a
                 misdemeanor, and any such act is declared to be a public nuisance and
                 may be enjoined as such.

         425.    Defendants have repeatedly violated Minnesota Statutes section 325F.67 by

  engaging in the deceptive and fraudulent practices described in this Complaint, including by

  causing their misleadingly inflated benchmark prices to be publicly disseminated and published




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  in Minnesota through price reporting services and in various promotional and marketing

  materials.    Among other things, Defendants knowingly and purposefully increased their

  benchmark prices so that they could offer undisclosed larger rebates to PBMs, thereby allowing

  Defendants to retain preferred formulary access for their insulin products without reducing the

  actual, net price they received for their products.          Because of Defendants’ conduct, the

  undisclosed difference between their benchmark prices and their net prices is so substantial that

  their benchmark prices do not reasonably approximate the actual price Defendants receive for

  their insulin products. By nevertheless publishing their inflated benchmark prices, Defendants

  fraudulently represented that they were a reasonable approximation of the actual price they

  receive for their insulin products, and Defendants’ public dissemination of these misleading

  benchmark prices is thus a deceptive practice.

         426.    Defendants knew, as described in this Complaint, that the prices they published

  would be used as a benchmark and to determine the price that Minnesota: (1) consumers without

  insurance; (2) consumers with high-deductible plans; (3) consumers who are Medicare Part D

  beneficiaries; (4) consumers who pay coinsurance as part of their health plan; and (5) the

  Minnesota Department of Corrections would pay for their insulin. Because of Defendants’

  deceptive and misleading pricing practices, these persons and entities paid more for insulin than

  they otherwise would have, thereby causing them harm and enriching Defendants.

         427.    Defendants’ conduct, practices, and actions described in this Complaint constitute

  multiple, separate violations of Minnesota Statutes section 325F.67, and the State is entitled to

  monetary relief, including damages, restitution, and/or disgorgement, civil penalties, costs,

  reasonable attorneys’ fees, and injunctive relief, as a result.




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                                          COUNT XVI
                                     UNJUST ENRICHMENT
                                   (AS TO ALL DEFENDANTS)

         428.    The State of Minnesota re-alleges all prior paragraphs in this Complaint.

         429.    A cause of action for unjust enrichment arises where a benefit is conferred upon a

  defendant who knowingly accepts it and who retains it under such circumstances that it would be

  inequitable for the defendant to keep it.

         430.    For the purposes of an unjust enrichment claim, a benefit is conferred upon

  another when one gives possession of money to the other or where one has extracted a benefit

  from another by fraud, conversion, or similar conduct.

         431.    Minnesota’s residents and the Minnesota Department of Corrections conferred a

  benefit on Defendants by purchasing their insulin products at a price based on the deceptively

  and misleadingly inflated benchmark prices that Defendants published for the products.

         432.    Defendants knowingly accepted and retained such benefits.

         433.    Defendants’ acceptance and retention of such benefits under the circumstances

  would be unjust and inequitable, given that the State’s residents and the Minnesota Department

  of Corrections paid prices far higher than the actual net price at which Defendants sold insulin.

         434.    Defendants’ conduct constitutes unjust enrichment under Minnesota common law,

  for which, as a matter of equity, they should not derive any gain and/or the State’s residents and

  the Minnesota Department of Corrections should be made whole.

         435.    Pursuant to the common law pertaining to unjust enrichment and the State’s

  inherent parens patriae authority, the State is entitled to injunctive relief, disgorgement and/or

  restitution, and other legal and/or equitable relief for Defendants’ conduct resulting in unjust

  enrichment.




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                                               RELIEF

         WHEREFORE, Plaintiff State of Minnesota, by its Attorney General, Keith Ellison,

  respectfully asks this Court to enter judgment against Defendants awarding the following relief:

         436.    Declaring that Defendants’ acts described in this Complaint constitute multiple,

  separate violations of 18 U.S.C. § 1962(c), Minnesota Statutes sections 325D.44, 325F.67, and

  325F.69, and unjustly enriched Defendants;

         437.    Enjoining, separately, under both federal RICO laws and Minnesota law,

  Defendants and their employees, agents, successors, assignees, affiliates, merged or acquired

  predecessors, parents or controlling entities, subsidiaries, and all other persons acting in concert

  or participation with them from engaging in the unlawful acts described in this Complaint or in

  any other way violating 18 U.S.C. § 1962(c) or Minnesota Statutes sections 325D.44, 325F.67,

  or 325F.69, including enjoining Defendants from publishing or otherwise disseminating false,

  deceptive, or misleading benchmark prices for their insulin products that do not reasonably

  approximate the actual price they receive for their insulin products after taking into account all

  rebates, discounts, and any other pricing-related concessions;

         438.    Awarding the State, its residents, and the Minnesota Department of Corrections

  monetary relief, including damages, restitution, disgorgement, and/or all other available legal

  and equitable monetary remedies available under 18 U.S.C. § 1964, Minnesota Statutes sections

  8.31, the parens patriae doctrine, Minnesota common law, and the general equitable powers of

  this Court, as necessary to remedy the harm from Defendant’s acts described in this Complaint;

         439.    Awarding civil penalties pursuant to Minnesota Statutes section 8.31 for each

  separate violation of Minnesota law;

         440.    Awarding the State its attorneys’ fees, litigation costs, and costs of investigation,

  as authorized by 18 U.S.C. § 1964(c) and Minnesota Statutes section 8.31; and


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         441.    Granting such further relief as provided by law or equity, or as the Court deems

  appropriate and just.




                                              LITE DEPALMA GREENBERG, LLC


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